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                                       Melissa Kaye

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1                           UNITED STATES DISTRICT COURT
2                           SOUTHERN DISTRICT OF NEW YORK
3        ________________________________
4        MELISSA KAYE,
5                        Plaintiff,
6                   v.                                    Case No.
7        NEW YORK CITY HEALTH AND HOSPITALS               1:18-cv-12137-
8        CORPORATION; ELIZABETH FORD;                     JPC-JLC
9        PATRICIA YANG; ABHISHEK JAIN; AND
10       JONATHAN WANGEL (said names being
11       fictitious, the persons intended
12       being those who aided and abetted
13       the unlawful conduct of the named
14       Defendants),
15                       Defendants.
16       ________________________________
17                   VIDEOCONFERENCE DEPOSITION OF MELISSA KAYE
18       DATE:                Monday, November 15, 2021
19       TIME:                10:03 a.m.
20       LOCATION:            Remote Proceeding
21                            Albuquerque, New Mexico
22       REPORTED BY:         Emmanuel Sabatino, Notary Public
23       JOB No.:             4897710
24
25

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1                                A P P E A R A N C E S
2        ON BEHALF OF PLAINTIFF, MELISSA KAYE:
3                   SPECIAL HAGAN, ESQUIRE (by videoconference)
4                   Law Offices of Special Hagan
5                   196-04 Hollis Avenue
6                   Saint Albans, New York 11412
7                   special@haganlawoffices.net
8                   (917) 337-2439
9
10       ON BEHALF OF DEFENDANTS, NEW YORK CITY HEALTH AND
11       HOSPITALS CORPORATION; ELIZABETH FORD; PATRICIA YANG;
12       ABHISHEK JAIN; AND JONATHAN WANGEL:
13                  DONNA CANFIELD, ESQUIRE (by videoconference)
14                  New York City Law Department
15                  100 Church Street
16                  New York, New York 10007
17                  dcanfiel@law.nyc.gov
18                  (212) 356-2461
19                  File #:   2019-032851
20                  Control #:   21-2743
21
22
23
24
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3                   By Ms. Canfield                                       6
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14                       QUESTIONS INSTRUCTED NOT TO ANSWER
15                          PAGE                           LINE
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1                              P R O C E E D I N G S
2                           THE REPORTER:           Good morning.    My name
3        is Emmanuel Sabatino; I am the reporter assigned by
4        Veritext to take the record of this proceeding.                   We
5        are now on the record at 10:03 a.m.
6                           This is the deposition of Dr. Melissa
7        Kaye taken in the matter of Melissa Kaye, Plaintiff
8        against New York City Health and Hospitals
9        Corporation; Elizabeth Ford; Patricia Yang; Abhishek
10       Jain; and Jonathan Wangle (said names being
11       fictitious, the persons intended being those who aided
12       and abetted the unlawful conduct of the name
13       Defendants), Defendants, on November 15, 2021, via
14       Zoom.
15                          I am a Notary authorized to take
16       acknowledgements and administer oaths in New York.
17       Parties agree that I will swear-in the witness
18       remotely outside of her presence.
19                          Additionally, absent an objection on
20       the record before the witness is sworn, all parties
21       and the witness understand and agree that any
22       certified transcript produced from the recording
23       virtually of this proceeding:
24                          - is intended for all uses permitted
25                          under applicable procedural and

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1                           evidentiary rules and laws in the same
2                           manner as a deposition recorded by
3                           stenographic means; and
4                           - shall constitute written stipulation
5                           of such.
6                           At this time will everyone in
7        attendance please identify yourself for the record.
8                           MS. CANFIELD:           Donna Canfield, counsel
9        for the defendants.        I consent to the foregoing
10       stipulations.
11                          MS. HAGAN:      Special Hagan, counsel for
12       Plaintiff.     I also consent to the foregoing
13       stipulation.      Counsel for Dr. Kaye.
14                          MS. KAYE:      Yes.       Melissa Kaye,
15       Plaintiff, and I stipulate to the conditions.
16                          THE REPORTER:           Thank you.
17                          Hearing no objection, I will now swear-
18       in the witness.
19       WHEREUPON,
20                                  MELISSA KAYE,
21       called as a witness, and having been first duly sworn
22       to tell the truth, the whole truth and nothing but the
23       truth, was examined and testified as follows:
24       //
25       //

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1                                      EXAMINATION
2        BY MS. CANFIELD:
3                   Q   Good morning, Dr. Kaye.          How are you?
4                   A   Good.
5                   Q   Can I ask where you're located this morning?
6        Are you in New York or are you in another state?
7                   A   I'm in another --
8                               MS. HAGAN:    Objection.
9        BY MS. CANFIELD:
10                  Q   You can answer.
11                  A   I'm in another state.
12                  Q   And what state are you located in now?
13                  A   New Mexico.
14                  Q   Okay.     And what city in New Mexico?
15                  A   Albuquerque.
16                  Q   Thank you.     Never been there.       I hear it's
17       beautiful.
18                      I wanted to know before we get started this
19       morning, do you have a cell phone or another
20       electronic device in front of you?               I just want to
21       make sure that while we're in the deposition today,
22       that I have your undivided attention and that you're
23       not going to be tempted to receive, like, any text
24       messages.
25                      I do understand that you have two children

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1        and if, you know -- if there was an emergency, that
2        you would have something for them to contact you, but
3        if you could put that aside just for purposes of the
4        deposition.
5                       Now, do you have a cell phone in front of
6        you?
7                   A   I have my cell phone in my house.
8                   Q   Okay.     It's not in front of you then?
9                               MS. HAGAN:    Objection.
10                              MS. CANFIELD:         Do you have -- I'm
11       sorry.
12                              MS. HAGAN:    She's going to have to have
13       her cell phone because her children are --
14                              MS. CANFIELD:         I understand that.     And
15       I agree.       I agree.     I just -- if it's just not right
16       in front of her, that'd be great.
17                              MS. HAGAN:    We haven't made those kind
18       of stipulations with your witness.                 I suggest, you
19       know, you afford my client the same courtesy.
20                              MS. CANFIELD:         I only do so because
21       during the other depositions, Dr. Kaye has, like -- I
22       can see her communicating and typing on the computer.
23                              I just want to make sure that while
24       she's answering questions, that she's not
25       communicating with anyone else.

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1                               MS. HAGAN:     If she can answer your
2        questions and if she knows she has a problem where she
3        needs to ask you to re-ask the question, she will do
4        so.
5                               MS. CANFIELD:         Okay.   All right.
6        BY MS. CANFIELD:
7                   Q   Do you have any other devices other than
8        your cell phone with you, Dr. Kaye?
9                               MS. HAGAN:     She would have to use her
10       laptop in order to engage you.                 That's what we're all
11       doing.
12                              MS. CANFIELD:         Okay.
13       BY MS. CANFIELD:
14                  Q   Other than your laptop?
15                              MS. HAGAN:     Objection.
16       BY MS. CANFIELD:
17                  Q   Dr. Kaye, you have to respond to my
18       question.
19                  A   Yes.     Yes, I have my laptop.
20                  Q   Okay.     Anything else other than your laptop
21       and your cell phone?
22                  A   I have a printer in the house.
23                  Q   Okay.     All right.     All right.       Thank you.
24       All right.       As you know, my name is Donna Canfield.
25       I'm an assistant corporation counsel with the New York

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1        City Law Department.        I represent the defendants, New
2        York City Health and Hospitals Corporation, Elizabeth
3        Ford, Patricia Yang, Abhishek Jain, Jonathan Wangel in
4        the case called Kaye vs. Health and Hospitals
5        Corporation, et al.        And that's pending in the
6        Southern District of New York.
7                       I'm going to ask you a couple questions
8        today and I ask that you answer them truthfully, okay?
9                   A   Yes.
10                  Q   Okay.   You understand that you're under oath
11       now, correct?
12                  A   Yes.
13                  Q   Okay.   The court reporter, Mr. Sabatino,
14       will take down what you say and what I say, and what
15       Ms. Hagan says.        If the court reporter asks you to
16       speak up or to slow down, will you please do that?
17                  A   Yes.
18                  Q   Okay.   Please tell me if you cannot hear my
19       questions or if there's a break in the internet
20       connection.       Will you do that, please?
21                  A   Yes.
22                  Q   Okay.   And please tell me if you don't
23       understand my question, okay?
24                  A   Yes.
25                  Q   Okay.   If I ask you a question and you

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1        answer it, I will understand that you heard and
2        understood my question, okay?
3                   A   Yes.
4                   Q   Okay.     And if you give me an answer -- oh,
5        and it's important that you don't start answering your
6        question until I have finished my question, okay?
7                   A   Yes.
8                   Q   If you give me an answer at one time today
9        and later on you want to add to it or change
10       something, please let me know, okay?
11                  A   Yes.
12                  Q   Please let me know if you want to take a
13       break to use the restroom or get something to drink.
14       That is fine.          These days can be long and you're going
15       to be talking, so I would understand if you would need
16       a short break.          The only thing I ask is that you
17       finish answering my question before we take the break.
18       Is that fair?
19                  A   Yes.
20                  Q   Okay.     Now it's difficult for the court
21       reporter to take down an uh-huh or a nod of the head
22       or -- because it's not verbal.               Because -- and we
23       can't read it either on the transcript.               So please use
24       yes or no instead of uh-huh or mm-hmm, okay?
25                  A   Yes.

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1                   Q   And then finally, when a question is
2        pending, you cannot speak to your lawyer except to
3        determine if a privilege applies.                    Do you understand
4        that?
5                   A   Yes.
6                   Q   Okay.     Now do you have any medical condition
7        or illness that affects your ability to hear me now?
8                               MS. HAGAN:     Objection.
9        BY MS. CANFIELD:
10                  Q   You can answer.
11                  A   No.
12                  Q   But --
13                              THE WITNESS:     I would like to take a
14       moment to turn the heat on.             It's very cold in here
15       and I need to -- I need to do that, if I may.
16                              MS. CANFIELD:         Yes, you may.
17                              THE WITNESS:     Thank you.
18                              MS. CANFIELD:         Now I seem to be able to
19       hear the heater.
20                              Mr. Sabatino, is that going to be
21       interfering with your ability to hear the witness?
22                              THE REPORTER:         If I can't hear
23       something, I will speak up, but I did just hear that
24       come on, yes.
25                              MS. CANFIELD:         Okay.     Okay.

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1                                   THE WITNESS:     Yes.         That is why I had
2        turned off the heat, but it's freezing in here.
3                                   MS. CANFIELD:         Okay.     Well, as Mr.
4        Sabatino said, if there's something that he doesn't
5        hear, he will just ask you to repeat it, and same with
6        me.        Okay.
7        BY MS. CANFIELD:
8                   Q       Do you have any condition that affects your
9        ability to answer my questions?
10                                  MS. HAGAN:     Objection.
11                                  THE WITNESS:     No.
12       BY MS. CANFIELD:
13                  Q       Have you taken any medication or substances
14       that would impair your ability to hear me?
15                  A       No.
16                  Q       Have you taken any medication or substances
17       that would impair your ability to understand me?
18                  A       No.
19                  Q       What about to answer my questions?
20                  A       No.
21                  Q       Okay.     Are you currently under a doctor's
22       care?
23                                  MS. HAGAN:     Objection.
24       BY MS. CANFIELD:
25                  Q       You can answer.

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1                   A   Yes.
2                              MS. HAGAN:     To the extent that you
3        understand.
4        BY MS. CANFIELD:
5                   Q   And what doctor are you seeing?
6                              THE REPORTER:         I'm sorry.
7                              Ms. Hagan, what did you just say?
8                              MS. HAGAN:     I said to the -- answer to
9        the extent that you understand her question.
10                             THE REPORTER:         Okay.
11                             I'm sorry.     Could you give that
12       question again also, Ms. Canfield?
13                             MS. CANFIELD:         I said, "Are you
14       currently under a doctor's care?"
15                             THE WITNESS:     Yes.
16                             MS. CANFIELD:         Okay.
17       BY MS. CANFIELD:
18                  Q   And what doctor?
19                             MS. HAGAN:     Objection to form.
20       BY MS. CANFIELD:
21                  Q   What is the name of the doctor that you're
22       seeing?
23                  A   Dr. Al Rashida.
24                  Q   Can you spell that please, for the record?
25                  A   It's A-L R -- R-A-I-S-H-I-D or A-D, I

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1        believe.
2                   Q   Mr. Al Raishid [sic]?
3                   A   She -- she's a woman.
4                   Q   Okay.     Dr. Al Rashida.        And what do you see
5        Dr. Al Rashida for?
6                   A   Elevated cholesterol.
7                   Q   And when did you first start seeing this
8        doctor?
9                   A   Last April.     April 2020.
10                  Q   And is Dr. Al Rashida located in New Mexico?
11                  A   Yes.
12                  Q   Are you currently under any other doctors'
13       care?
14                  A   Yes.
15                              MS. HAGAN:    Objection.
16       BY MS. CANFIELD:
17                  Q   I'm sorry.     I didn't hear your response?
18                  A   Yes.
19                  Q   Okay.     What is the name of the other doctor
20       that you're seeing?
21                  A   Dr. Gregory De Felice.
22                  Q   Can you spell Dr. De Felice's last name for
23       the record, please?
24                  A   D-I-F-I-L-I-C-E [sic] possibly.
25                  Q   Okay.     And for what reason do you see Dr. De

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1        Felice?
2                               MS. HAGAN:     Objection as to form.
3                               THE WITNESS:     For surgical follow-up.
4        BY MS. CANFIELD:
5                   Q   And what type of surgery did you have?
6                               MS. HAGAN:     Objection, form.
7                               THE WITNESS:     I had a shoulder surgery.
8        BY MS. CANFIELD:
9                   Q   For what reason?
10                              MS. HAGAN:     Objection.
11                              THE WITNESS:     I had calcified crystals
12       in the joint and a rotator cuff tear.
13       BY MS. CANFIELD:
14                  Q   Okay.     And how long ago did you have the
15       surgery?
16                              MS. HAGAN:     Objection.
17                              THE WITNESS:     July.
18       BY MS. CANFIELD:
19                  Q   July?
20                  A   July of this year.
21                  Q   And did you have any physical therapy
22       associated with your surgery?
23                              MS. HAGAN:     Objection.
24                              THE WITNESS:     Yes.
25       //

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1        BY MS. CANFIELD:
2                   Q   Okay.     And are you still attending physical
3        therapy for your surgery?
4                   A   Yes.
5                   Q   Okay.     Any other doctors that you're
6        currently seeing?
7                               MS. HAGAN:     Objection as to form.
8        BY MS. CANFIELD:
9                   Q   You can answer.
10                  A   No.
11                  Q   What other doctors, if any, have you seen in
12       the past five years?
13                              MS. HAGAN:     Objection, form.     Could you
14       be more specific?
15       BY MS. CANFIELD:
16                  Q   I'm asking, what other doctors have you
17       seen, if any, in the last five years --
18                              MS. HAGAN:     Answer --
19       BY MS. CANFIELD:
20                  Q   -- for specific medical care?
21                              MS. HAGAN:     Answer if you're able.
22                              THE WITNESS:     I've seen Dr. Peter Kim.
23       BY MS. CANFIELD:
24                  Q   And for what reason did you see Dr. Peter
25       Kim?

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1                                 MS. HAGAN:     Objection.
2                                 THE WITNESS:     For GI problems.
3        BY MS. CANFIELD:
4                   Q     And when did you first start seeing Dr. Kim?
5                   A     He was my internist in the early to mid-
6        2000s.         And then he gave up his primary care practice
7        and became a gastroenterologist, and I continued
8        seeing him for my GI problems.
9                   Q     Okay.     When did you start seeing him for
10       your GI problems?
11                  A     It's hard for me to pinpoint the date.
12                                THE REPORTER:         Please repeat the
13       answer.
14                                THE WITNESS:     It's hard for me to
15       pinpoint the date.
16       BY MS. CANFIELD:
17                  Q     Was it before or after 2015?
18                  A     Before.
19                  Q     Was it before or after 2012?
20                  A     I don't know.
21                  Q     So is it fair to say you started seeing him
22       sometime between 2012 and 2015?
23                  A     I started seeing him as a primary care
24       doctor probably before that.
25                  Q     Okay.

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1                   A      He changed his practice to specializing in
2        GI medicine only.
3                   Q      Okay.
4                   A      And at that point, I only saw him for GI
5        issues.
6                   Q      Okay.     And that's what I'm interested in
7        knowing.
8                          When did you first start seeing him for GI
9        issues?
10                                 MS. HAGAN:     Objection.      Asked and
11       answered.          She said she didn't know.            Next question,
12       please.
13                                 MS. CANFIELD:         No, you can answer.
14                                 MS. HAGAN:     Asked and answered.
15                                 THE WITNESS:     I'm trying to give you a
16       --
17                                 MS. HAGAN:     She said she didn't know.
18       She can't answer the question.                    She said she doesn't
19       know.
20                                 MS. CANFIELD:         Excuse me.
21                                 Dr. Kaye, please.
22                                 MS. HAGAN:     Again, she said she doesn't
23       know.          I'm going to instruct my client not to continue
24       unless she's going to give the same answer -- she
25       doesn't know.             You're asking her to give you an answer

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1        that she doesn't know the answer to.
2                               MS. CANFIELD:         That's not clear on the
3        record yet.
4        BY MS. CANFIELD:
5                   Q   Dr. Kaye, when did you first start seeing
6        Dr. Kim for your GI problems?
7                   A   I -- I can't pinpoint the time that his
8        practice changed from primary care to GI, so I -- it's
9        hard for me to -- to say when he became a GI
10       practitioner.
11                  Q   Okay.
12                  A   And --
13                  Q   Go ahead.     I'm sorry.
14                  A   No, that's okay.        I had seen him as my
15       primary care physician and then I received
16       notification that he was closing his primary care
17       practice and specializing in GI medicine and -- and
18       taking -- taking his patients -- accepting patients
19       that he was following as a primary care doctor as --
20       into his GI practice.          If --
21                  Q   Okay.
22                  A   -- if need be.
23                  Q   Okay.
24                  A   And that's what my situation was.            So I
25       don't recall exactly when that switchover happened,

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1        but I believe it was sometime in the early 2000s.
2                   Q    Okay.
3                   A    Maybe around, you know, some --
4                                MS. HAGAN:     Dr. Kaye, don't guess.         If
5        you don't remember, you don't know.
6                                THE WITNESS:     It just -- I don't
7        remember when that transition in his practice
8        occurred, but I do think it was sometime in the early
9        2000s.
10       BY MS. CANFIELD:
11                  Q    Okay.     Let me ask it another way.       When did
12       you begin to have issues with your GI requiring you to
13       see a specialist?
14                               MS. HAGAN:     Objection.
15                               You can answer.
16                               THE WITNESS:     I -- I was diagnosed with
17       irritable bowel syndrome and when I was under stress,
18       I would have flares.           And --
19       BY MS. CANFIELD:
20                  Q    And when were you first diagnosed with
21       irritable bowel syndrome?
22                  A    I know I -- I know I had it in medical
23       school.        I don't know if I was diagnosed prior to
24       that.
25                  Q    Okay.     So it's something that you've had for

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1        quite some time; is that fair to say?
2                   A   Well, yeah.     It's a chronic illness that
3        flares with stress.
4                   Q   Okay.     And are you still seeing someone for
5        your irritable bowel syndrome?
6                   A   Well, I would consider Dr. Kim my GI doctor.
7                   Q   Okay.     So do you not still see him or do you
8        see someone locally?
9                   A   No, I consider Dr. Kim my GI doctor.
10                  Q   Okay.     All right.     Fair enough.    All right.
11       Any other doctor that you saw for a medical condition
12       within the last five years, other than the three
13       doctors that you've testified to so far?
14                              MS. HAGAN:     Objection as to form.
15       Compound question.
16                              THE WITNESS:     I've seen a cardiologist.
17       BY MS. CANFIELD:
18                  Q   What is the name of the cardiologist you've
19       seen?
20                  A   Dr. Margaret Sullivan.
21                  Q   And when did you first see Dr. Sullivan?
22                  A   I have trouble pinning down the date.
23                  Q   Let me ask you this then.         Maybe this will
24       help you.
25                      For what issue related to your heart led you

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1        to see a cardiologist?
2                               MS. HAGAN:     Objection as to form.
3        BY MS. CANFIELD:
4                   Q   You can answer.
5                   A   I have -- I -- I have a genetic condition.
6                   Q   Okay.     And when did you learn of this
7        genetic condition?
8                   A   In the early 1990s.
9                   Q   Have you been seeing Dr. Sullivan since the
10       early 1990s?
11                  A   No.
12                  Q   Do you recall the last time you saw Dr.
13       Sullivan?
14                              MS. HAGAN:     Objection.
15                              You can answer.
16                              THE WITNESS:     I don't recall the exact
17       date, but I know it was before the pandemic.
18       BY MS. CANFIELD:
19                  Q   What about Dr. Kim?           When was the last time
20       you saw Dr. Kim?
21                  A   I had a colonoscopy right before the
22       pandemic.       I believe it was in January 2020.
23                  Q   Any other doctors, other than the four
24       doctors that you've testified to so far, that you have
25       seen for any type of treatment within the past five

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1        years?
2                   A   I saw a social worker.
3                   Q   What's the name of the social worker?
4                   A   Her name was Alessio -- last name's Alessio.
5                   Q   Can you spell that, please, for the record?
6                   A   I don't want to spell it incorrectly.            I
7        think it is something like A-L-I-E-S-S-O [sic].
8                   Q   Okay.     And is the social worker a male or a
9        female?
10                  A   Female.
11                  Q   Okay.     And what's the social worker's first
12       name?
13                  A   I think it's Paulina [sic] or -- I believe
14       it's Paola or Paulina.
15                  Q   Okay.     Do you know how to spell her first
16       name?
17                  A   I'm sorry.
18                  Q   Okay.     That's fine.
19                  A   She's Italian and I am not all that familiar
20       with --
21                  Q   Okay.
22                              MS. HAGAN:    You have the HIPAA release
23       for this doctor, Dr. Canfield.
24                              MS. CANFIELD:         Okay.
25       //

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1        BY MS. CANFIELD:
2                   Q   And when did you start first seeing Ms.
3        Alessio?
4                   A   I think I had -- I had reached out to her in
5        November or December -- early December of '18 I
6        believe.       I don't know when we were able to find the
7        schedule --
8                               THE REPORTER:         I'm sorry.   Repeat what
9        you just said.
10                              THE WITNESS:     I -- I reached out to her
11       in November, early December of 2018, but I don't
12       recall when we were able to schedule our first
13       appointment.
14       BY MS. CANFIELD:
15                  Q   Okay.     How long did you see Ms. Alessio?
16       Let me ask another way.
17                      Are you still seeing Ms. Alessio?
18                  A   No.
19                  Q   Okay.     When did you last see Ms. Alessio?
20                  A   I don't recall.
21                  Q   Okay.     Was it before or after the pandemic?
22                  A   Before.
23                      May I clarify something about her --
24                  Q   Yes.
25                  A   -- please?     She's a psychologist by training

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1        in Italy, but she's not a licensed psychologist in the
2        United States.          So --
3                   Q   Okay.
4                   A   -- she's a social worker by licensure in the
5        United States, but she is a psychologist.                    And so she
6        uses the title "doctor" for that reason.
7                   Q   She does?        Okay.
8                       And for what reason did you reach out to
9        start seeing I guess Dr. Alessio?
10                  A   I was stressed out about my work situation.
11                  Q   Can you be more specific?
12                  A   Well, I was being treated very poorly at
13       work and it was causing me a lot of strain and it was
14       affecting me and -- and my kids and I was really upset
15       about it.       It was causing me physical and emotional
16       distress.
17                      And Dr. Alessio is a therapist who does
18       what's called "body work," so I thought -- and she was
19       recommended, and I thought she could help me cope with
20       my stress.
21                  Q   Okay.     Now, Dr. --
22                              THE REPORTER:           Okay.   Just a sec.
23                              Dr. Kaye, I'm going to ask you to
24       please keep your voice up because I was having trouble
25       hearing you there.          So please keep your voice up a

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1        little louder, okay?
2                            THE WITNESS:       Yes.         Yes, I will.     Can
3        you please tell me what you need me to repeat?
4                            THE REPORTER:           Nothing there.        Just in
5        general in the future.
6                            THE WITNESS:       Yes, I will.         Thank you.
7                            MS. CANFIELD:           Yes.     Thank you.     You
8        are very softspoken and it is difficult to hear.
9                            THE WITNESS:       Yes.         I -- I'm sorry I
10       had to turn on the heat.           Hopefully it'll warm up in a
11       little bit and I can turn it off.
12                           MS. CANFIELD:           Yeah.     The heat doesn't
13       seem to be the problem.          I don't hear that humming in
14       the background anymore, but just keep your voice up.
15                           THE WITNESS:       I will.         Thank you.
16       BY MS. CANFIELD:
17                  Q   So a couple follow-up questions.              You said
18       that you were being treated very poorly at work.                      By
19       whom were you being treated poorly?
20                  A   Management, staff.
21                  Q   Can you identify any particular individuals?
22                  A   Elizabeth Ford, Andrea Swenson, Jonathan
23       Wangel, Ross Macdonald, Patricia Yang, Abhishek Jain,
24       some support staff.         It became more extensive over
25       time.

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1                   Q   Okay.
2                   A   And more individuals were participating in
3        activities that were hurtful and -- to me -- and
4        stressful.
5                   Q   Okay.     And when did this -- when did you
6        first start feeling stressed out by your work
7        situation?
8                               MS. HAGAN:     Objection as to form.
9                               You can answer if you understand.
10                              THE WITNESS:     I think that it started
11       in late -- I mean, it -- it -- it was a crescendo that
12       started when CHS decided to get involved with the
13       city-wide court clinics.
14                              THE REPORTER:         What kind of clinics?
15                              THE WITNESS:     They're city-wide court
16       clinics.
17                              THE REPORTER:         Thank you.
18                              THE WITNESS:     You're welcome.
19       BY MS. CANFIELD:
20                  Q   All right.     Well, I'll definitely have some
21       follow-up questions with that, but I want to close the
22       loop on medical professionals.
23                      Any other doctors that you've seen for any
24       type of medical care other than the five I guess
25       you've named so far in your testimony that you have

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1        seen in the last five years?
2                   A      So you're -- you're asking me that I've seen
3        since 2016?
4                   Q      Correct.     2015, 2016, yes.
5                   A      Does that include nurse practitioners?
6                   Q      Sure.
7                   A      I saw a nurse practitioner for a routine GYN
8        exam.          And that was also around the time I saw Dr. Al
9        Rashida.          I would say April 2020.          I do not remember
10       her name.
11                  Q      Okay.
12                  A      And does that include physical therapists?
13                  Q      You had talked about receiving physical
14       therapy.          Is that different than your physical therapy
15       for your shoulder surgery?
16                  A      No.     It's been ongoing since the surgery.
17                  Q      Okay.     Okay.     Now you've mentioned the
18       physical therapy.             Okay.
19                  A      Yeah.     And I saw two doctors -- I don't
20       recall their names -- in July of 2021.                  An
21       anesthesiologist and an internist.                  I saw them at HSS.
22                  Q      Is this related to your shoulder surgery?
23                  A      Yeah.
24                  Q      Okay.
25                  A      It was the pre-op --

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1                   Q   Right.
2                   A   -- clinical clearance screening.
3                   Q   Okay.     Okay.   I'm going to go back to the
4        social worker that you saw.             Are you currently under
5        any type of treatment from a mental health
6        professional, whether it be a social worker,
7        psychologist or psychiatrist?
8                   A   No.
9                               MS. HAGAN:     Objection.
10       BY MS. CANFIELD:
11                  Q   Okay.     Are you currently taking any
12       medication for your elevated cholesterol?
13                  A   Yes, sir.
14                              MS. HAGAN:     Objection.
15       BY MS. CANFIELD:
16                  Q   And what is that?
17                  A   Lipitor.
18                  Q   Okay.     Anything else?
19                  A   Well, it's not really medication, but I -- I
20       take Q -- Coenzyme Q which is something that you're
21       supposed to take with Lipitor to combat the side
22       effects.
23                              THE REPORTER:         Could you say that word
24       again?
25                              THE WITNESS:     Q -- Coenzyme Q.      It's a

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1        -- it's a supplement that helps prevent side effects
2        from Lipitor.
3        BY MS. CANFIELD:
4                   Q   And how long have you been taking Lipitor?
5                   A   I believe Dr. Sullivan started me on that
6        because of my genetic condition.
7                   Q   I'm sorry.    Repeat that?
8                   A   Dr. Sullivan started me on the Lipitor
9        because of my genetic condition.
10                  Q   The question was when did you start it --
11       taking it?
12                  A   I don't know.     I don't know.
13                  Q   Before or after the pandemic?
14                  A   Before.
15                  Q   Were you still employed at CHS when you
16       started taking it?
17                  A   I was -- it was probably pre-CHS.           It
18       probably was when I was employed for -- at Bellevue.
19                  Q   And what are the side effects of Lipitor for
20       you?
21                           MS. HAGAN:      Objection.
22                           THE WITNESS:       I don't have any -- I
23       don't have any side effects, but it can deplete
24       enzymes in your system.          So it's just recommended for
25       safety purposes to replace those.

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1        BY MS. CANFIELD:
2                   Q   Okay.     Is that why you take the Q Coenzyme?
3                   A   Yeah.
4                   Q   Okay.     So you've had no side effects from
5        the Lipitor; is that correct?
6                   A   No.
7                   Q   Okay.
8                   A   That's correct, yes.
9                   Q   Okay.     And for the GI issues that you were
10       seeing Dr. Kim for, were you taking any medications or
11       are you currently taking any medications for the GI
12       issues you experience?
13                  A   No.
14                  Q   Okay.     Have you taken medication in the
15       past?
16                              MS. HAGAN:    Objection.       Form.
17                              Answer if you can.
18                              Could you be more specific?
19                              MS. CANFIELD:         Yes, I can.
20       BY MS. CANFIELD:
21                  Q   Within the past five years, or from 2015 to
22       the present, have you taken medication for your GI
23       issues?
24                  A   Yes.
25                  Q   And what have you taken?

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1                   A   They're called proton-pump inhibitors.              I
2        don't remember which ones I was prescribed.                  Dexilant
3        I think was the one I was taking.                 Called Dexilant.
4                   Q   Can you spell that, please?
5                       You didn't know you were going to be
6        participating in a spelling bee today, did you?
7                   A   Yeah.     I think it's D-E-X-A-L-A-N-T [sic].
8                   Q   Okay.
9                   A   -- know.
10                  Q   Okay.
11                  A   It's a proton-pump inhibitor.
12                              THE REPORTER:         I'm sorry.   Could you
13       repeat what you said after you spelled it?
14                              THE WITNESS:     I'm not certain if that's
15       the spelling of it, but I do know it's a -- it's --
16       it's for one of my GI problems.
17       BY MS. CANFIELD:
18                  Q   Okay.     But you no longer take it?
19                  A   I'm not taking it now, no.
20                  Q   Okay.     And how long were you taking it when
21       you were taking Dexilant?
22                  A   I would take it on and off over the years.
23                  Q   And are there any side effects that you
24       experienced from taking the Dexilant?
25                  A   No.

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1                   Q     What about for the cardiologist that you
2        were seeing?            Were you taking any medication to
3        address the genetic condition that you have?
4                   A     Yes.
5                   Q     And what were you taking?
6                   A     Lipitor.
7                   Q     Lipitor.     Okay.    And who prescribed the
8        Lipitor for your genetic condition related to your
9        heart?         Dr. Sullivan or Dr. Rashida?
10                  A     Al Rashida?     I -- I -- it's not just Lipitor
11       that I've taken.            I've taken other statins.      I don't
12       remember the names, but they've both prescribed
13       statins for me.
14                  Q     Okay.
15                  A     I was seeing Dr. Sullivan for the
16       cholesterol and for cardiac irregularities --
17       palpitations.
18                  Q     And when you were seeing Dr. Alessio, I
19       understand that she's a psychologist by trade, but did
20       she recommend that you take any medication?
21                  A     No.
22                                MS. HAGAN:    Objection.
23       BY MS. CANFIELD:
24                  Q     Did she recommend that you see a
25       psychiatrist about medication?

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1                               MS. HAGAN:     Objection.
2                               THE WITNESS:     She did not.      She -- she
3        -- she did not recommend that.
4        BY MS. CANFIELD:
5                   Q   Okay.     Did you believe that you could
6        benefit from a medication?
7                               MS. HAGAN:     Objection.      She's not
8        treating herself.
9                               MS. CANFIELD:         It's just a question.
10       BY MS. CANFIELD:
11                  Q   You can answer.
12                  A   I believe medications can be helpful, yes.
13                  Q   Okay.     Did you take any medications that
14       were helpful?          I know that you are a psychiatrist.
15                  A   No.
16                  Q   Other than what you testified to this
17       morning, any other doctors or health professionals
18       have you seen for a health condition from 2015 to the
19       present?
20                  A   Hello?
21                  Q   Yes.
22                  A   I -- I don't know the exact cutoff of -- of
23       2015 as to if I -- I may have seen a Dr. Rho, R-H-O.
24                  Q   For what purpose?
25                  A   He's a physical medicine and rehab doctor.

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1        It -- it would have been for my shoulder.
2                   Q   Okay.     And how did you injure your shoulder?
3                   A   It's unclear when -- it's unclear when the
4        -- well, I can explain what was told to me.
5                   Q   Okay.
6                   A   I have risk factors for calcified crystals.
7        It's called -- I think it's called calcified
8        tendonitis.       There's a -- there's an acronym for it.
9        I don't remember what it is, but it's when calcium
10       crystals develop in the joint.                 And I -- I had the
11       risk factors.          And the risk factors are being female,
12       being over 40 and having previous trauma to the
13       shoulder.       So I have all of those risk factors.
14                  Q   Okay.     All right.     And you had prior trauma
15       to the shoulder?
16                  A   Yes.
17                  Q   Okay.     And how long ago did that occur?
18                  A   Well, that's the -- that's the unclear part
19       because there'd been multiple traumas to the shoulder
20       over many, many years.
21                              MS. HAGAN:     Can I stop you for a
22       second?
23                              Ms. Canfield, I don't have any of your
24       exhibits for Dr. Kaye.
25                              MS. CANFIELD:         I'm going to email them

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1        to you as I use them.
2                            MS. HAGAN:      I was supposed to be
3        getting them in advance of the deposition, not as you
4        use them, as per the Court's order.                 So if you can
5        send me the -- if you can send me all of the exhibits
6        that you may use today before we proceed, I'd like
7        that.
8                            MS. CANFIELD:           I'm going to share them
9        with you contemporaneous as we would if we were in a
10       conference room together.
11                           MS. HAGAN:      I don't know how that would
12       work, Ms. Canfield.
13                           MS. CANFIELD:           I'm going to email them
14       to you and I will email them to you prior to showing
15       the exhibit.      That's what I'm going to do.
16                           MS. HAGAN:      That's not as per the
17       Court's order.
18                           MS. CANFIELD:           Okay.
19                           MS. HAGAN:      The Court -- you got the
20       exhibits before the deposition with all of the
21       depositions.      I'm expecting that same courtesy, Ms.
22       Canfield.
23                           MS. CANFIELD:           I will send them to you
24       as I use them.
25                           MS. HAGAN:      We're going to have to call

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1        the Court.
2                            MS. CANFIELD:           That's fine.
3                            MS. HAGAN:      Because I had to -- we're
4        going to have to call the Court because I should have
5        them.
6                            MS. CANFIELD:           That's fine.   You can
7        call the Court if you want.
8                            Can we go off the record, please?
9                            THE REPORTER:           The time is 10:46 a.m.
10       We're off the record.
11                                 (Off the record.)
12                           THE REPORTER:           The time is 10:52 a.m.
13       We're back on the record.
14                           MS. CANFIELD:           Okay.
15       BY MS. CANFIELD:
16                  Q   Dr. Kaye, what did you do, if anything, to
17       prepare for your deposition today?
18                           MS. HAGAN:      Objection.
19                           THE WITNESS:       I talked to my attorney.
20       BY MS. CANFIELD:
21                  Q   Did you review any documents?
22                           MS. HAGAN:      Objection as to form.
23                           You can answer.
24                           THE WITNESS:       I -- I'm sorry.        I didn't
25       hear the question.

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1        BY MS. CANFIELD:
2                   Q   I said did you review any documents to
3        prepare for this deposition?
4                   A   I looked at some of the discovery emails.
5                   Q   When you say "discovery emails," what do you
6        mean by that?
7                               MS. HAGAN:     Objection.
8                               To the extent that you can understand
9        the question.
10                              THE WITNESS:     I -- the emails that we
11       obtained in discovery.
12       BY MS. CANFIELD:
13                  Q   Okay.     The emails that I produced to your
14       attorney as part of discovery?               Is that what you're
15       referring to?
16                  A   Yes.
17                  Q   Okay.     And do you remember in particular
18       what you reviewed?
19                              MS. HAGAN:     Objection as to form.
20                              THE WITNESS:     I don't.    I just skimmed
21       through some of them.          I -- I didn't get through all
22       of them.
23       BY MS. CANFIELD:
24                  Q   Okay.     Do you recall the subject matter of
25       the emails that you were able to get through?

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1                               MS. HAGAN:    Objection.
2        BY MS. CANFIELD:
3                   Q   You can answer.
4                   A   Well, I remember looking at the one where
5        Elizabeth Ford said that they were going to manage me
6        out.
7                       I recall the exchanges between me and Dr.
8        Jain about my shift change.
9                       I recall one where Dr. Ford told Dr. Jain to
10       ignore my email about my brother's death and my
11       request to have my shift restored to what it had been
12       prior.
13                      I remember emails that categorized me as the
14       reason and the problem for CHS getting itself into
15       trouble with the Court by defying court orders.
16       That's -- that's pretty much what I recall.
17                  Q   Okay.     Thanks.    Now I want to take these one
18       at a time.
19                      The email that you first mentioned was the
20       email where Dr. Ford, you said, had the words "manage
21       me out."       Do you recall the date of that email?
22                  A   I think it was in early February.            I think
23       it was early February 2018.
24                  Q   Okay.
25                              MS. CANFIELD:         Do you need to take a

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1        message?
2                                THE WITNESS:     No.         I just got a -- can
3        I -- can I -- this is about someone picking up my
4        kids.
5                                MS. CANFIELD:         Yeah.     You can --
6                                THE WITNESS:     Can I take a break for a
7        second?        I'm sorry.
8                                MS. CANFIELD:         Yes.
9                                THE WITNESS:     For this?
10                               MS. CANFIELD:         Yes, of course.
11                               THE REPORTER:         The time is 10:57 a.m.
12       We're off the record.
13                                    (Off the record.)
14                               THE REPORTER:         The time is 10:59 a.m.
15       We're back on the record.
16                               MS. CANFIELD:         All right.     Thank you.
17       BY MS. CANFIELD:
18                  Q    The email you believe was February 2018; is
19       that correct?
20                  A    I'm not certain.        I -- I -- that's -- that's
21       just my recollection.
22                  Q    Okay.     Well, the document will speak for
23       itself.
24                       Do you know when you read that email or that
25       time period, had you transitioned to CHS or were you

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1        still an employee of Bellevue?
2                               MS. HAGAN:     Objection.
3                               If you recall, you can answer.
4                               THE WITNESS:     I know that CHS contacted
5        Bellevue for -- yeah.          I was contacted by Bellevue in
6        December 2017 and told that CHS was taking over
7        management of the court clinics.
8                               THE REPORTER:         Taking over management
9        of what?
10                              THE WITNESS:     The court clinics.       I was
11       told by Bellevue -- my chain of command at Bellevue in
12       December 2017 that CHS was taking over management of
13       the court clinics.
14       BY MS. CANFIELD:
15                  Q   Okay.     And do you recall exactly when you
16       transitioned under CHS and left the employment at
17       Bellevue?
18                              MS. HAGAN:     Objection.
19                              MS. CANFIELD:         You can answer.
20                              MS. HAGAN:     To the extent that she can
21       answer the question.
22                              THE WITNESS:     That is -- the answer to
23       that question would depend on how you would define the
24       transition.
25       //

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1        BY MS. CANFIELD:
2                   Q   Okay.     Let me ask you this.          In February
3        2018, who did you report to?
4                   A   I reported to Jeremy Colley, M.D.
5                   Q   So you did not report to Dr. Ford at that
6        time?
7                               MS. HAGAN:     Objection.
8                               THE WITNESS:     No.      Not yet.
9        BY MS. CANFIELD:
10                  Q   Okay.     Why do you believe Dr. Ford --
11                              MS. CANFIELD:         Do you need to look at
12       those messages?
13                              THE WITNESS:     No.
14                              MS. CANFIELD:         Okay.   Is there any way
15       you can put that on vibrate -- your phone?
16                              THE WITNESS:     I -- I can try.        I'm not
17       really that -- I'm not really that tech -- tech savvy,
18       but I can try.          I don't know.
19                              MS. CANFIELD:         Are you receiving emails
20       or is that your phone that's making a noise?
21                              MS. HAGAN:     Objection.
22                              THE WITNESS:     Pictures.       Someone's
23       sending me pictures.          Sorry.         I only have one phone,
24       so I'm not really sure what to do.
25                              MS. CANFIELD:         My question was the

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1        dinging, is that coming from your computer or your
2        phone?
3                            THE WITNESS:       I don't know.          I don't
4        know.
5                            MS. CANFIELD:           Did you receive a
6        message on your computer or did you receive a message
7        on your phone?
8                            MS. HAGAN:      She said she didn't know.
9        Let's move on.
10                           MS. CANFIELD:           That's a different
11       question.     Please.
12                           THE WITNESS:       I -- when I get a -- my
13       computer and my phone are linked.                   So when I get a
14       message on one, it comes on the other also.
15                           MS. CANFIELD:           Okay.     Okay.   It's just
16       very disruptive of the deposition.                   If you can somehow
17       turn it off or turn down the volume?
18                           THE WITNESS:       Yeah.         When we take a
19       break, I'll call -- I'll call the school and see if I
20       can let them know that I am not available or
21       something.      I -- I don't know.            I'll figure out
22       something.      I'll figure out something.               I'll call the
23       kids' school and I'll let -- I'll call the nurse's
24       office and let them know that I'm unavailable.
25                           MS. CANFIELD:           Okay.     If you feel

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1        comfortable doing that.             Just if there's some way --
2                               THE WITNESS:     I mean, I don't know what
3        else to do because I -- you know, they do call me from
4        the school here and again, so I don't know what to
5        say.
6                               MS. CANFIELD:         Okay.   Okay.
7        BY MS. CANFIELD:
8                   Q   The email that you reviewed from Dr. Ford
9        where she used the phrase "manage me out," do you
10       believe that that phrase was motivated by
11       discrimination?
12                  A   Yes.
13                  Q   Okay.     What type of discrimination?
14                              MS. HAGAN:     Objection as to form.          It
15       calls for a legal conclusion.
16                              Answer if you can.
17                              THE WITNESS:     I believe it was sex
18       discrimination.
19       BY MS. CANFIELD:
20                  Q   Why do you believe Dr. Ford, as a woman, was
21       discriminating against you based on your sex?
22                  A   Well, she was treating me differently than
23       my male colleagues.
24                  Q   How did she treat you differently?
25                  A   She -- she retaliated against me over an

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1        issue that I shared.          My -- my male colleagues agreed
2        with me and were involved in the issue as much or more
3        than I was, and I got scapegoated for the issue.
4                       They were taken seriously and respected for
5        their opinion about the issue and I was deemed a
6        problem and a cyclone and I was targeted.
7                   Q   What is "the issue" that you're referring
8        to?
9                   A   The issue is using redacted versus
10       unredacted records in conducting forensic assessments
11       of criminal defendants.
12                  Q   Prior to that issue, do you believe that Dr.
13       Ford discriminated against you based on your gender?
14                  A   Yes.
15                  Q   Okay.     And why do you believe that?
16                  A   I discovered when -- I reported to Dr. Kaye
17       -- I mean, I'm sorry.          I don't report to myself.
18                      I reported to Dr. Ford when I worked at
19       Bellevue.       She was the director of the Division of
20       Forensic Psychiatry.
21                  Q   Mm-hmm.
22                  A   And she was my direct report-to.           I
23       discovered in -- around 2013 or 2014, I discovered
24       that I was on a lower title and getting paid less than
25       my male comparator.

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1                   Q   And who was that -- your male comparator?
2                   A   That was Steven Ciric, M.D.
3                   Q   And how did you learn that you were being
4        paid less?
5                   A   I -- someone made a mistake and disseminated
6        an email with all of the doctors working at Bellevue
7        -- their -- all their information, including their --
8        their titles and their salaries.
9                       And I looked at that email.         I didn't know
10       it was by mistake.        It was only later expunged from
11       the system or everyone was later denied access to that
12       email, but it had gone out.            And I saw the email and I
13       was, you know, taken aback, and I contacted my union.
14                  Q   Okay.   And who at your union did you contact
15       in particular?
16                  A   I believe at the time, the union
17       representative was Lori Davidson I think was her name.
18                  Q   Do you recall the year that you contacted
19       her?
20                  A   It was around 2014.
21                  Q   Okay.   All right.      And what did you say to
22       Lori Davidson when you contacted her?
23                  A   I told her the situation.
24                  Q   And what exactly did you tell her?
25                  A   I said, you know, "I'm getting paid less

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1        than my male comparator.           He's on -- he's on a
2        physician specialist line and he's getting paid
3        significantly more than I am, and I'm only on an
4        attending three line.         And I'm actually more of a
5        physician specialist than he is.                I have more
6        fellowships under my belt than he does."                And she just
7        responded by shrugging it off and she said, "Oh, yeah.
8        Well, be glad you're not in surgery.                Be glad you're
9        in psychiatry because the psychiatrists only get paid
10       $40,000 a year less than -- less than -- the female
11       surgeons get paid $60,000 less.                So just be glad
12       you're a psychiatrist and not a surgeon or it'd be
13       worse."        She said something like that to me.
14                       And I was taken aback and I asked her, you
15       know, if they could help me and she said no.                   That
16       that's not -- they don't get into that with -- that's
17       not part of the collective bargaining, pay -- pay
18       issues.
19                  Q    Did you confirm that by looking at the
20       Collective Bargaining Agreement?
21                            MS. HAGAN:     Objection.
22                            THE WITNESS:      I -- she told me that
23       it's not something the union could help me with, so I
24       just accepted that was -- I figured if they could help
25       me, they -- they would have I -- I thought.                   And she

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1        -- she said it's just pervasive.               This paying female
2        physicians less than male physicians is just the
3        pervasive practice of HHC, which stands for Health and
4        Hospitals Corporation.          She told me that was just the
5        pervasive culture there and kind of basically said
6        suck it up.
7                            So I -- at the time, Elizabeth Ford was
8        my report-to.       And it was -- I think it was in 2014 --
9        early 2014 and I had -- I went to her and I -- I told
10       her about it and I asked her for my line to be changed
11       from attending three to physician specialist and be
12       paid equal to or more than Steve Ciric, because I was
13       more qualified and I had more seniority than him.                     And
14       she kind of gave -- well, she totally gave me the
15       runaround and she kept saying that she would look into
16       it and that she would talk to Dr. Mary Anne Badaracco
17       who was -- I think still is the chief of psychiatry at
18       Bellevue, and that she'd get back to me.               And I -- you
19       know, she'd always kind of put me off.
20                           And I would, you know, periodically
21       follow-up with her and she would send me the emails.
22       And I remember one of the emails said, "Oh, you know,
23       getting anything done around here is like moving
24       elephants."      And she just basically never did anything
25       about it.     And, you know, she just had this kind of

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1        queen bee mentality where, you know, she was very hard
2        on women.       And, you know, it wasn't -- it was obvious.
3        It was obvious to me and it was obvious to other
4        people who -- who, you know, had to work under her --
5        other women.
6        BY MS. CANFIELD:
7                   Q   How was she hard on other women?
8                   A   Just not as -- not as supportive.           Not
9        professionally supportive.            Quick -- you know, quick
10       on the draw, you know?          Shoot first, ask questions
11       later-kind of style.         And, you know, like failing to
12       consider my pay parity concerns seriously.
13                  Q   Let me ask you a question.         Who are the
14       other women that she was not as supportive of?
15                  A   Well, I know that Melanie Farkas and I --
16       please, I'm not sure -- don't ask me how to spell it.
17       I -- I'm not sure.        I think it's F-A-R-K-U-S [sic].
18       I'm not sure.
19                  Q   Okay.
20                  A   You know --
21                  Q   What was her title?
22                  A   She was a psychologist on the inpatient unit
23       at Bellevue.
24                  Q   Was she doing forensic psychology or was she
25       doing -- seeing patients and --

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1                   A      The inpatient forensic unit was a treatment
2        unit.          I did not work in treatment capacity during my
3        time at HHC.          I worked as a forensic evaluator at the
4        Bronx Court Clinic.             But Bellevue did oversee the
5        Bronx and Manhattan Court Clinics which were forensic
6        --
7                                  THE REPORTER:         Bronx and what?
8                                  THE WITNESS:     The -- the Bellevue
9        Hospital oversaw the Manhattan and Bronx Court
10       Clinics, which were forensic evaluation centers in the
11       --
12       BY MS. CANFIELD:
13                  Q      Okay.
14                  A      -- in the courthouses.
15                  Q      How is it that you know that Melanie Farkas
16       was treated differently or poorly by Dr. Ford?
17                  A      She -- she told me.
18                  Q      Okay.     But you didn't work with her, did
19       you?
20                                 MS. HAGAN:     Objection.
21                                 THE WITNESS:     I had -- there were
22       overlaps in our professional activities.
23       BY MS. CANFIELD:
24                  Q      Where was your office during the time that
25       you -- during the time that you're describing now with

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1        Dr. Ford and learning that you were paid less than Dr.
2        Ciric?
3                   A   My office is in the Bronx courthouse.
4                   Q   Okay.   And where was Melania Farkas' office,
5        if at all?
6                   A   At Bellevue.
7                   Q   Okay.
8                   A   The 19th floor.
9                   Q   Okay.   So you would not see her on a regular
10       basis; is that fair to say?
11                  A   I would be down at Bellevue not infrequently
12       back in those days.         I would go down to Bellevue and
13       do forensic assessments for inmates that were admitted
14       either to the medical prison unit.             It really wasn't a
15       prison, it was a jail, but it was the -- if they were
16       too medically ill or compromised or undergoing some
17       kind of treatment, acute treatment, they would not be
18       at Rikers.       They would be at Bellevue on the medical
19       service.       And if there was a 730 ordered, I -- you
20       know, I would sometimes go down there and do the exam
21       down there just to move the case forward.
22                      Similarly with the inpatient psychiatric
23       unit, I would see defendants -- they were defendants
24       to me, they were patients for them.              But I would see
25       the incarcerated individual at Bellevue.

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1                       There were staffing issues in the Bronx, so
2        sometimes I would meet another evaluator from the
3        Manhattan Court Clinic or someone else to do the exam
4        at Bellevue.
5                   Q   Okay.     So there were some staffing issues in
6        the Bronx as early as 2014?
7                   A   No, I wouldn't say it was that early.             Well,
8        I'd have to -- let me think.                 When did -- there were
9        periodic staffing issues.             There were staffing issues
10       between 2005 and 2008.           And then definitely that --
11       then.
12                      The other reason I would see cases at
13       Bellevue or my other overlap --
14                  Q   Hold on a second.        I want to know if there
15       were staffing issues in 2014.
16                              MS. HAGAN:     Objection.
17                              THE WITNESS:     No, I don't think there
18       were.
19       BY MS. CANFIELD:
20                  Q   Okay.     All right.     I'm going to move on
21       because we're going to talk about this, but I don't
22       want to get too far off the path.
23                      Anyone other than Melanie Farkas that you
24       believe was another female that Dr. Ford treated less
25       favorably as compared to the male doctors?

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1                   A   Yes.
2                   Q   Who else?
3                   A   Dr. Erica Weissman.           She was a JD PsyD.
4                   Q   And how did Dr. Ford treat her less
5        favorably?
6                   A   She was just very -- Dr. Ford was very hard
7        on Dr. Weissman.        Very critical of her -- of her and
8        she had told me when -- when she got hired, Dr. Ford
9        had told me that she was going to manage her out, and
10       she did.
11                  Q   Dr. Ford told you that she was going to
12       manage Dr. Weissman out?
13                  A   Yes.
14                  Q   When did she say that, if you can recall?
15                  A   It was around -- I do recall and I recall
16       specifically because it was in the context of me --
17       Dr. Ford had just been hired to be the director of the
18       forensic psychiatry unit at Bellevue.                 It was around
19       2009 -- early 2009.          And I had wanted to meet with Dr.
20       Ford and I sent her an email.                I wanted to tell her
21       that I was pregnant with twins.                 I wanted to tell her
22       that just to give her the heads up, you know?                 That
23       this was going to -- this was going to be, you know,
24       the situation.        And I also wanted to clarify some
25       business matters about the -- the court clinic.

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1                       And what Dr. Weissman's role was going to be
2        because it had shifted during the period of time Dr.
3        Weissman was at Bellevue and I just wanted some
4        clarification of, you know, like this -- what --
5        specifically, if I were to want to refer a defendant
6        for longitudinal observation to help complete his 730
7        exam, there were some unclear kind of administrative
8        algorithms about how that was done.
9                   Q   Let me interrupt you right here.           Dr.
10       Weissman -- was Dr. Weissman also part of the
11       inpatient treatment -- treating staff?
12                  A   Yes.     Her -- well, yes.       Yes and --
13                  Q   Okay.
14                  A   -- and additionally, she was administration
15       and treatment.          She was -- her title was clinical
16       director.
17                  Q   Okay.     But she was not conducting forensic
18       examinations, correct?
19                              MS. HAGAN:     Objection.
20                              THE WITNESS:     I cannot say that she did
21       not hear and again conduct a 730 exam.               I don't know
22       about --
23       BY MS. CANFIELD:
24                  Q   Okay.
25                  A   But that was not the primary job.

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1                   Q   Okay.     So tell me -- I want to know
2        specifically how Dr. Ford treated her less favorably.
3        That was the question.
4                   A   When I communicated with Dr. Ford about
5        this, she was just very -- spoke very unfavorably
6        about Dr. Weissman and was kind of dismissive of what
7        I was asking.          And she just told me that, "Well, we're
8        going to manage her out.            We're going to manage her
9        out."
10                      She clearly didn't like Dr. Weissman and she
11       said, "We're going to manage her out."
12                  Q   Okay.     Now did Dr. Weissman tell you that
13       she believed that Dr. Ford was treating her poorly?
14                              MS. HAGAN:     Objection.
15                              THE WITNESS:     I didn't have that
16       discussion with Dr. Weissman.
17       BY MS. CANFIELD:
18                  Q   Okay.     How about Dr. Farkas?      Did she tell
19       you that she believed that Dr. Ford was treating her
20       less favorably?
21                              MS. HAGAN:     Objection.
22                              THE WITNESS:     She felt she -- yeah, she
23       had some unfavorable comments about Dr. Ford and --
24       and her treatment of -- the way that she was treated,
25       yes.

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1        BY MS. CANFIELD:
2                   Q      Okay.
3                   A      She said some unfavorable things to me.
4                   Q      And what did she say?
5                   A      Well, the one thing that I remember, she --
6        she thought Dr. Ford was a sociopath.
7                   Q      Okay.
8                   A      And that, you know, she didn't support the
9        staff.          And there was a lot of complaints about Dr.
10       Ford's schedule.          Dr. Ford had worked out this -- you
11       know, mind you, Dr. Ford was in charge of an inpatient
12       treatment unit, okay?          This was clinical work.         And
13       she had worked out some schedule where she would come
14       in -- ostensibly come in at some very early hour, like
15       6:30.          She ostensibly worked 6:30 in the morning till
16       2:30 in the afternoon, four days a week, and then had
17       Thursdays off is what I recall.
18                         And so, you know, on an inpatient unit where
19       you have all the clinical activity happening during
20       business hours, you know, there's no social workers
21       and activity therapists at the hospital at 6:30 in the
22       morning.          And 2:30 in the afternoon is pretty early to
23       -- to be leaving work when you're in charge of an
24       inpatient unit, so she was very much resented about
25       that.

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1                       There was this --
2                   Q   Oh, excuse me.       Hold on.       Who was very much
3        resented?       Dr. Ford?
4                   A   All the -- the treatment staff that -- that
5        were working under her at the time.
6                   Q   Okay.     So not just Dr. Farkas, but all the
7        treatment staff were resentful of her schedule?
8                   A   There was rumbling and chattering about it,
9        yeah.
10                  Q   Okay.     Okay.   And how else did -- what else
11       did Dr. Farkas tell you about why she was treated less
12       favorably?
13                  A   She just felt that she wasn't supported.
14       Her professional development wasn't supported.                   She
15       wasn't respected as a psychologist.                 She just felt
16       devalued.
17                  Q   Okay.     And did she --
18                  A   I'm not going to say those were the exact
19       words, but that was the feeling I -- that was the
20       impression that I had leaving the conversation.
21                  Q   Okay.
22                              THE REPORTER:         I'm sorry.   "Leaving the
23       conversation"?          Did you say anything after that?
24                              THE WITNESS:     That was my takeaway
25       impression of the -- of her complaint and I do

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1        remember her saying that she thought Ford was a
2        sociopath.
3        BY MS. CANFIELD:
4                   Q   Okay.     Other than Dr. Farkas and Dr.
5        Weissman, any other females who felt that they were
6        treated less favorably by Dr. Ford because of their
7        sex?
8                               MS. HAGAN:     Objection.
9                               To the extent you can answer.
10                              THE WITNESS:     I don't recall any other
11       --
12                              MS. CANFIELD:         Okay.   Okay.     That's
13       fine.
14                              THE REPORTER:         I'm sorry.      Please
15       repeat the answer.
16                              THE WITNESS:     I don't recall any other
17       specific incidents.
18                              THE REPORTER:         Thank you.
19       BY MS. CANFIELD:
20                  Q   Okay.     Now after learning that you were paid
21       less than Dr. Ciric, other than raising the issue with
22       your union and raising the issue with Dr. Ford, did
23       you raise the issue with anyone else?
24                  A   Yes.
25                  Q   Who?

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1                   A       Dr. Jeremy Colley.
2                   Q       And what did you say to Dr. Colley?
3                   A       Well, Dr. Ford left to go work for CHS at
4        DOH MH in -- I don't know -- 2014 or '15.                 I think
5        '15.           And Dr. Jeremy Colley took over that role as the
6        director of forensic -- the director of the Division
7        of Forensic Psychiatry at Bellevue.
8                   Q       Okay.   So what did you say to him about the
9        pay equity issue?
10                  A       He came up to the Bronx to just -- right
11       after he got hired, he came up to the Bronx to meet
12       with me and Dr. Barry Winkler.                 And he just wanted to
13       check in and ask questions and ask about any problems.
14       And during that meeting, I told him about the pay
15       parity issue.
16                  Q       What exactly did you say?
17                  A       I said I'm getting paid less than my male
18       colleagues and Ford said she would look into it and
19       take care of it, and nothing ever happened.
20                  Q       Okay.   So you said "male colleagues."        Did
21       you believe that you were being paid less than more
22       than one male colleague?
23                  A       I know that it was -- that Steve Ciric was
24       on the physician specialist line and that is a higher
25       paying line.           And then there was another -- I believe

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1        there was another male -- I considered Steve Ciric my
2        comparator because we were both medical directors of
3        our respective court clinics.                But there was another
4        male psychiatrist, I don't even remember the name, who
5        was part-time at the Manhattan Court Clinic who also
6        had a physician specialist line.
7                   Q   Okay.     And how was it that you know that
8        this psychiatrist who worked part-time was paid more
9        than you?
10                  A   Because I saw the spreadsheet.
11                  Q   It was a spreadsheet, and that was the email
12       that you testified to earlier that was inadvertently
13       sent around?
14                  A   Yes.
15                  Q   Okay.
16                  A   It was erroneously sent out to everyone.
17                  Q   Okay.     And what did Dr. Colley say, if
18       anything, in response?
19                  A   Well, he seemed to take my complaint
20       seriously and said he would talk to Dr. Mary Anne
21       Badaracco who was the chief of psychiatry for
22       Bellevue.
23                  Q   Okay.     Do you know if he spoke with Dr.
24       Badaracco?
25                  A   He did.

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1                   Q   Okay.   And how do you know that?
2                   A   Because she called me into her office
3        shortly thereafter.
4                   Q   Okay.   And for what reason did she call you
5        into her office?
6                   A   She was concerned about my complaint
7        regarding pay parity.
8                   Q   And how do you know that?
9                   A   Because she told me.
10                  Q   What did she say?
11                  A   She said, "Oh, yeah.         Well, this is -- you
12       know, this is something we need to address.                This is
13       an EEOC issue."
14                      It was clear to me from my interaction with
15       her that Ford had never talked to her.              That this was
16       the first time she was hearing about it.
17                  Q   Okay.   And how is it that you were led to
18       believe that Dr. Ford had not met with Dr. Badaracco
19       about the pay issue?
20                  A   Because she was interacting with me as if
21       this was the first she was hearing about it from
22       Jeremy Colley.
23                  Q   Okay.   And other than saying "this is an
24       EEOC issue," what else did she say, if anything?
25                  A   She said she would look into it.

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1                   Q   Okay.     Did she tell you specifically what
2        she would do when she said she would look into it?
3                               MS. HAGAN:     Objection.      Form.
4                               THE WITNESS:     I don't know if she told
5        me specifically at that time, but I did learn over the
6        course of addressing this with Dr. Colley and Dr.
7        Badaracco that she was interacting with central office
8        -- HHC central office.
9        BY MS. CANFIELD:
10                  Q   And I'm sorry, how do you know that she was
11       interacting with HHC central office?
12                  A   I don't know if Jeremy -- Dr. Colley or Dr.
13       Badaracco told me that they were talking to central
14       office or just over the course of a couple months when
15       this was being dealt with -- being attempted to deal
16       with it, I just know I got the information that
17       central office was involved.                 I don't know if it was
18       from Dr. Colley or Dr. Badaracco or both of them.
19                  Q   Okay.     Other than learning that central
20       office was involved, did you learn anything else about
21       what was being done to address your complaints that
22       you were being paid less?
23                  A   I was told that it was -- it was being
24       looked into.
25                  Q   Anything else?

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1                   A      Well, yes.   About -- and I don't know the
2        exact timeframe, but it seemed like maybe two or three
3        months, I don't know, or longer.                  Maybe it was longer?
4        Maybe six -- six months?             It was more -- a while
5        later, and I'm sorry I can't specify the time, but
6        there are emails about this in GroupWise if -- if we
7        want to ever look at those.              They're old.
8                          But basically at one point I was told that
9        -- and I think I met with Dr. Badaracco again and
10       maybe Dr. Colley, too.            And I was told that basically
11       "you die in your line."            And that my line could not be
12       changed -- could not, would not, I don't remember the
13       exact wording, but my line was not going to be changed
14       from attending three to physician specialist.
15                  Q      Did they say why it would not be changed
16       from physician three -- or attending physician three
17       to physician specialist?
18                              THE REPORTER:          Please repeat the
19       question.
20       BY MS. CANFIELD:
21                  Q      Did they say why your line would not be
22       changed from attending physician to physician
23       specialist?
24                  A      They told me that you could not change your
25       line.          That a line could not be changed.          That's what

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1        they told me.
2                   Q     Okay.     And who told you that?
3                   A     Dr. Badaracco and -- and Jeremy Colley.
4                   Q     Okay.     And how did they tell you that?          In
5        person or in writing?
6                   A     I don't -- I know I had a meeting with them
7        and I don't know if they told me at the meeting?                    And
8        I got emails about it because it continued on, so they
9        said, but -- your line can't be changed, but each
10       corporate pay title has a -- there's different tiers.
11       There's a gradation of pay and there's a range of pay,
12       right?         So they said, "We can -- or central office can
13       push you to the top pay range for attending three.                       We
14       can do that for you."
15                  Q     And did that happen?
16                  A     Yes, it did happen.
17                  Q     Okay.
18                  A     But it did not come near to closing the pay
19       gap between me and Steve Ciric.                   It amounted to about
20       a $2,000 a year increase in my salary and it didn't --
21       and I think he was getting paid about $38,000 a year
22       more than me.            So it brought -- maybe it brought the
23       pay difference down to 35 or 36,000, but it didn't
24       correct the problem.
25                  Q     Okay.     And after you met with Dr. Badaracco

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1        and Dr. Colley, did you ever go back to your union
2        about the issue?
3                   A   No.
4                             MS. HAGAN:     Objection.
5                             THE WITNESS:      No.     I -- my union had
6        told me they can't help or get involved in an issue
7        like that.
8        BY MS. CANFIELD:
9                   Q   Let me back up because I know we're going
10       down to some of the substance of your complaint, but I
11       want to go make sure I cover everything that I wanted
12       to cover beforehand.
13                      Other than reviewing the documents -- the
14       emails that you testified to earlier -- and speaking
15       with your attorney, did you do anything else to
16       prepare for today's deposition?
17                            MS. HAGAN:     Objection.
18                            You can answer.
19                            THE WITNESS:      I mean, it depends on
20       when you -- I want to answer that accurately.                 I mean,
21       I've done things regarding my lawsuit over a period of
22       time, whether it's for direct preparation for this
23       deposition, I -- I guess that's up -- that's up for,
24       you know, debate.
25                            I mean, it -- I've -- I've looked at --

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1        I looked at some of the deposition transcripts from a
2        while back -- a while back I looked at them.                 So I
3        guess you could consider -- I guess you could consider
4        that preparation.          I don't know.
5        BY MS. CANFIELD:
6                   Q   Okay.     Whose deposition transcripts did you
7        review?
8                   A   I looked at -- this was quite some time ago.
9        I think it was maybe a year or more -- more than a
10       year ago.       Feels like two years ago.            I don't know.
11       But I looked at Dr. Yang's deposition transcript, and
12       more recently but also a while ago, I looked at Ms.
13       Patsos' deposition transcript.
14                              THE REPORTER:         Could you please spell
15       that?
16                              THE WITNESS:     P-A-T-S-O-S.
17       BY MS. CANFIELD:
18                  Q   Anyone else?
19                              MS. HAGAN:     Objection.
20                              THE WITNESS:     I skimmed -- I skimmed
21       through Dr. Ford's, but I didn't -- I skimmed through
22       Dr. Ford's.
23       BY MS. CANFIELD:
24                  Q   Is that it of the deposition transcripts?
25                  A   Yeah.

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1                   Q   Is that a yes?       Yes?
2                   A   I think.     Yeah, yeah.         I think that's it.
3                   Q   Okay.     When you spoke with your attorney,
4        did you do so by telephone or in person?
5                               MS. HAGAN:     Objection.
6                               THE WITNESS:     On the phone.
7        BY MS. CANFIELD:
8                   Q   Okay.     Was anyone else present during the
9        meeting?
10                              MS. HAGAN:     Objection.
11                              You can't --
12                              She's not going to answer that.          It's
13       attorney-client privilege.
14                              MS. CANFIELD:         If someone was there,
15       then there is no privilege.
16       BY MS. CANFIELD:
17                  Q   Was anyone in attendance at the time you
18       spoke with your attorney by telephone?
19                  A   No.
20                  Q   Other than your attorney, did you speak with
21       anyone else about your deposition today?
22                              MS. HAGAN:     Objection.
23                              THE WITNESS:     Well, I -- I told people
24       it was happening.
25       //

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1        BY MS. CANFIELD:
2                   Q   Who did you tell?
3                   A   The people that I asked to help me with my
4        kids.
5                   Q   Okay.     Were these family members or
6        babysitters?
7                   A   Family member and parents of -- of students
8        that go to school with my -- my children.
9                   Q   Besides the current action, have you ever
10       been a plaintiff or defendant in any other lawsuit?
11                  A   I've not been a defendant and I don't know
12       how to answer the question about being a plaintiff.
13                  Q   Have you ever sued anyone before prior to
14       this litigation?
15                  A   Yes.
16                  Q   Who have you sued?
17                              MS. HAGAN:     Objection.
18                              You can answer.
19                              THE WITNESS:     New York City Department
20       of Education.
21       BY MS. CANFIELD:
22                  Q   And for what reason did you sue the New York
23       City Department of Education?
24                  A   It was on the behalf of my minor child -- my
25       son.

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1                   Q   Was this in relation to an individualized
2        education plan?
3                   A   Yes.
4                   Q   And what was the result of that litigation?
5                   A   It was granted.        Modifying -- I'm sorry.
6        May I correct that?          It was modified as requested and
7        granted.       The IEP was modified as requested.
8                   Q   Okay.     And what was the IEP for your son?
9                               MS. HAGAN:     Objection.      That's not
10       relevant.       We're not going to actually -- she's not
11       going to answer that question.
12                              MS. CANFIELD:         I can ask it a different
13       way later.       That's fine.
14       BY MS. CANFIELD:
15                  Q   Have you ever given a deposition or did you
16       give a deposition in relation to the lawsuit you filed
17       against the Department of Education?
18                              MS. HAGAN:     Objection as to form.
19                              You can "ask" if you understand.
20                              THE WITNESS:     I was not deposed in the
21       Department of Education matters.
22       BY MS. CANFIELD:
23                  Q   Were you represented by counsel in that
24       matter?
25                  A   Yes.

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1                   Q      And who represented you?
2                   A      It was Nicole Saldana [ph] and she had
3        temporarily a partner, but they split up and I stayed
4        with Nicole.          I don't remember the partner's name.
5                   Q      Do you remember the name of the firm?
6                                  MS. HAGAN:     Objection.
7                                  THE WITNESS:     I don't know if it was a
8        firm.          They were just two women working together.
9        BY MS. CANFIELD:
10                  Q      Okay.     In what year did you sue the DOE?
11                  A      It was two years in a row.          One year was
12       2016.          And I don't remember if the first year was 2015
13       or if the -- so I don't remember if it was 2015-2016,
14       or 2016-2017.
15                  Q      Okay.     And have you ever signed an affidavit
16       or a declaration in connection with the litigation
17       against the DOE?
18                                 MS. HAGAN:     Objection to form.
19                                 THE WITNESS:     I think I did sign
20       something.          I don't remember what it was, but I
21       remember when the case -- the DOE case was resolving
22       and they were going to modify his IEP, that I did have
23       to sign a lot of papers.               And I don't know if it was
24       called a declaration, but I signed a lot of papers.
25       //

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1        BY MS. CANFIELD:
2                   Q      Okay.     Any other -- go ahead.           I'm sorry.
3                                  THE WITNESS:     I'm getting, like, texts
4        about my -- something about my kids' stuff and I was
5        wondering if there was any way we could take a break
6        soon?          Just a short break?
7                                  MS. CANFIELD:         Yes.   Let's take a five-
8        minute break now.
9                                  THE WITNESS:     I can -- okay.        All
10       right.          Thank you.
11                                 THE REPORTER:         The time is 11:42 a.m.
12       We're off the record.
13                                      (Off the record.)
14                                 THE REPORTER:         The time is 11:49 a.m.
15       We're back on the record.
16                                 MS. HAGAN:     I'm ready to proceed.
17                                 MS. CANFIELD:         Thank you.
18       BY MS. CANFIELD:
19                  Q      Dr. Kaye, you're represented here by Special
20       Hagan; is that correct?
21                  A      Yes.
22                  Q      When did you first contact Special Hagan
23       regarding the issues in this litigation?
24                                 MS. HAGAN:     Objection.       She's not going
25       to answer that.

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1                               MS. CANFIELD:         That's not privileged
2        when she first contacted you.                 I'm not going to ask
3        her what she said, I just want to know when she first
4        contacted you.
5                               THE WITNESS:     I want to give -- I can
6        give you a timespan, but I can't give you a date.
7        BY MS. CANFIELD:
8                   Q   Okay.     Whatever you can provide.
9                   A   I would -- I would say September/October
10       2018.
11                  Q   Okay.     And what led you to contact Special
12       Hagan regarding the litigation?
13                              MS. HAGAN:     Objection.
14                              THE WITNESS:     I needed to find a new
15       lawyer.
16       BY MS. CANFIELD:
17                  Q   And had you contacted other attorneys or law
18       firms prior to contacting Special Hagan?
19                  A   I was represented by another law firm.
20                  Q   Okay.     And what was the name of that law
21       firm?
22                              MS. HAGAN:     Objection.
23                              THE WITNESS:     I think it was Bentley &
24       Levy.
25       //

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1        BY MS. CANFIELD:
2                   Q   Did you have a retainer agreement with that
3        firm?
4                   A   Yes.
5                   Q   And do you recall when you entered into a
6        retainment agreement with Bentley & Levy?
7                               MS. HAGAN:     Can I correct it?       It was
8        Bantle & Levy.          So it was B-A-N-T-L-E.
9                               MS. CANFIELD:         Okay.   Thank you.
10                              THE REPORTER:         And can you spell Levy?
11                              MS. HAGAN:     L-E-V-Y.
12                              THE WITNESS:     I don't recall when --
13       when I entered into the -- when I signed the retainer.
14       BY MS. CANFIELD:
15                  Q   Do you recall when you first contacted them
16       about the issues in this litigation?
17                  A   I don't.
18                  Q   Do you know if it was in 2018?
19                  A   Yes.     Yes, it was in 2018.
20                  Q   Okay.     Was it while you were working at
21       Bellevue?
22                              MS. HAGAN:     Objection.
23                              THE WITNESS:     Am I supposed to answer?
24                              MS. HAGAN:     Yes.
25                              MS. CANFIELD:         Yes.

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1                               THE WITNESS:     Yes.
2        BY MS. CANFIELD:
3                   Q   Okay.     So is it your best recollection that
4        it was early in 2018 when you contacted or reached out
5        to Bantle & Levy?
6                   A   Yes.
7                               MS. HAGAN:     Objection.
8        BY MS. CANFIELD:
9                   Q   Okay.     In 2013 and 2014, when you learned
10       that you were being paid less than Dr. Steven Ciric,
11       did you reach out to any attorneys at that time?
12                              MS. HAGAN:     Objection.
13                              THE WITNESS:     I don't recall.
14       BY MS. CANFIELD:
15                  Q   Okay.     When you learned that you were being
16       paid less than Dr. Steven Ciric, did you file any type
17       of administrative complaint?                 Meaning did you file a
18       complaint with the EEOC or the State Division of Human
19       Rights or the City Commission of Human Rights?
20                              MS. HAGAN:     Objection.
21                              You can answer.
22                              THE WITNESS:     No.
23                              MS. CANFIELD:         Okay.
24                              THE REPORTER:         Was the answer no?
25                              THE WITNESS:     The answer is no.

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1        BY MS. CANFIELD:
2                   Q   When you learned that you were being paid
3        less than Dr. Steven Ciric, did you file an internal
4        complaint with Bellevue?
5                               MS. HAGAN:     Objection.
6                               THE WITNESS:     I complained to Dr. Ford
7        and later I complained to Dr. Colley.
8        BY MS. CANFIELD:
9                   Q   Okay.     But did you file a complaint with the
10       EEO office of Bellevue?
11                  A   No.
12                  Q   Do you know if they filed a complaint with
13       the EEO office of Bellevue?
14                  A   I don't know.
15                  Q   Why did you not contact legal counsel in
16       2014, 2015 when you learned that you were being paid
17       less than Dr. Steven Ciric?
18                              MS. HAGAN:     Objection.
19                              You can answer.
20                              THE WITNESS:     My supervisor was Dr.
21       Ford and then Dr. Colley were telling me it was going
22       to be addressed.
23       BY MS. CANFIELD:
24                  Q   Okay.     What led to you reaching out to
25       Bantle & Levy in early 2018?

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1                               MS. HAGAN:     Objection.
2                               You can answer.
3                               THE WITNESS:     When CHS decided to take
4        over the court clinics and started -- they started
5        unofficially doing that in early 2018.              And I learned
6        that the psychologists working at the court clinics
7        were getting their line -- their lines changed from
8        psychology two to psychology three so that they would
9        get a raise.
10                              And so I was also aware that CHS was
11       set up to be part of HHC, but also as separate from
12       HHC, and that different rules applied to CHS.                 And so
13       I thought, well, maybe at HHC proper, you have to die
14       in your line and they couldn't change my line from
15       attending three to physician specialist, but clearly,
16       that's not true at CHS.
17                              So I then decided that I was going to
18       pursue that change in my corporate title to bring my
19       pay -- make my pay comparable to Dr. Ciric and other
20       physician specialists at the court clinics.
21       BY MS. CANFIELD:
22                  Q   Okay.     So I'm not quite clear.       The question
23       was what led you to reach out to attorneys -- Bantle &
24       Levy -- in early 2018.           And the response was because
25       you learned these three things?

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1                   A   I learned that the lines could in fact be
2        changed, which I was told they couldn't.                  I asked -- I
3        reached out to Dr. Yang and I asked for the change in
4        title, and I explained the whole situation to her.
5        She passed me off.          It was in May, even though I was
6        -- I was slated to switchover, you know, in a month or
7        so -- a month and a half.             And they had already taken
8        over the Brooklyn and Queens clinic and the
9        psychologist lines were changed to increase their
10       salaries.
11                      I reached out to Dr. Yang early on when I
12       found out about this and she kind of passed -- passed
13       me off to Bill Hicks at Bellevue.                 And it was like the
14       runaround and they said they would get back to me and
15       they never did.          So that's when I decided to file an
16       EEOC complaint.
17                              THE REPORTER:         Did you say Bill Hicks?
18                              THE WITNESS:     Yes.
19                              THE REPORTER:         Thank you.
20       BY MS. CANFIELD:
21                  Q   Okay.     So let's back up a little bit.           You
22       said that you learned that there were some
23       psychologists whose lines were -- their levels were
24       being increased from a level two to a level three; is
25       that what your testimony was?

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1                   A   My testimony is that there's corporate
2        titles -- I believe they're called corporate titles,
3        which are titles that are linked to those pay ranges I
4        talked about before.
5                       And the pay range for a psychologist two is
6        less than the pay range for a psychologist three.                     So
7        the psychologists that were being brought on board
8        from the court clinics that were all -- all four court
9        clinics were being merged under CHS.              The
10       psychologists who were working at the court clinics
11       were getting their titles changed from a psychology
12       two to psychology three so they could get paid more.
13       So they were -- so they were getting an increase in
14       their salary with this bump-up in their corporate
15       title from psychology two to psychology three.
16                  Q   Okay.     So their lines weren't being changed.
17       They were just moving up a level in their line?
18       Similar to how you were -- you probably held a
19       position attending physician two before you held the
20       position attending physician three; is that correct?
21                  A   No.
22                              MS. HAGAN:     Objection as to form.
23                              THE WITNESS:     That's not correct
24       because a line is a line.             So if you're in a line -- a
25       psychology two line, that's your line.              If you're in a

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1        psychology three line, that's your line.                If you're an
2        attending three or attending -- or a physician
3        specialist, that's your line.                And I was told none of
4        those lines could be changed.
5                               So not --
6        BY MS. CANFIELD:
7                   Q   Okay.     Who told you that a psychology two is
8        a line different from psychology three, rather than
9        just an internal bump-up within that line or within
10       that scale?       Who told you that?
11                  A   It's in the Collective Bargaining Agreement.
12       If you look at the -- the designated city lines,
13       they're discrete and -- and separate.                They're not --
14       it's not a part of the same -- the definition of the
15       work isn't exactly the same.
16                      I think -- I know for an attending three
17       line, I can speak to -- that is -- includes some
18       administrative responsibilities and that was my line.
19                      I don't know the details about the
20       definition of these lines, but the lines are discrete
21       and separate.          It's not like the -- the bumping up in
22       -- in the range of a specific line with your pay is
23       different than actually changing the corporate title.
24                  Q   Okay.
25                  A   And if the title changes from -- from

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1        psychology two to psychology three, or -- or attending
2        three to physician specialist, it's a -- it's a change
3        in the corporate title.             So I -- I was told that you
4        cannot have a change in your line, a change in your
5        corporate title at HHC.             And that's why I couldn't
6        have that equal pay to my male colleague.                  That's why
7        I couldn't be a physician specialist.                 But then I
8        learned otherwise that those same rules, if they are
9        in fact true -- and I don't know, but that's what I
10       was told and I believed at the time -- that I -- I
11       just accepted that at the time, but then when I
12       learned that at CHS that that rule doesn't apply, I
13       wanted to correct this longstanding pay discrepancy.
14       And I sought to -- to do that.
15                  Q   Okay.     I'm going to stop you there.          Who are
16       the psychologists that you saw getting their line
17       changed?
18                              MS. HAGAN:     Wait, wait, wait.       She
19       needs to finish her -- stop, stop.
20                              THE REPORTER:         I'm sorry.   Please speak
21       one at a time.
22                              MS. HAGAN:     Wait a second.
23                              Dr. Kaye, did you finish your answer
24       from the previous question?
25                              THE WITNESS:     Well, I -- I mean, I was

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1        just talking about, you know, whatever I was -- I was
2        just --
3                               MS. HAGAN:     Ms. Canfield, I'm going to
4        just ask that you allow Dr. Kaye to finish her answers
5        before you start with the next question.
6                               MS. CANFIELD:         I will do my best.     I'm
7        just trying to move the deposition along and just
8        trying to get answers to the questions.
9                               I apologize if I interrupted you, Dr.
10       Kaye.
11                              THE WITNESS:     I'm sorry.        I'll try to
12       be more succinct.          I'm -- I --
13                              MS. CANFIELD:         Thank you.    Thank you.
14       BY MS. CANFIELD:
15                  Q   What are the names of the psychologists that
16       you said moved from psych two to psych three --
17       psychology three?
18                  A   I don't know their exact names for sure, but
19       I was told that all the psychologists in Queens and
20       Brooklyn, or many of them, got a bump-up in their
21       corporate title from psychology two to psychology
22       three so they could get a raise.
23                  Q   Okay.     Who told you that?
24                  A   Dr. Barry Winkler.
25                  Q   Dr. Winkler said that?            Okay.    Did Dr.

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1        Winkler say that he was given a raise?
2                   A   He did not say.       He -- well, he -- he was --
3        he took a different job.
4                   Q   Okay.     And what job did he take?
5                   A   And yes, I -- I'm sorry, Ms. Canfield.             And
6        yes, he did -- he did get a raise with his -- his new
7        position.
8                   Q   Okay.     And what was his new position that he
9        took?
10                  A   He left the Bronx Court Clinic in April 2018
11       to become the director of the Brooklyn Court Clinic.
12                  Q   Okay.     And do you know at the time when he
13       was -- prior to him becoming the director of the
14       Brooklyn Court Clinic, do you know what title he held?
15                  A   Well, his -- I think -- and I believe it's
16       called "functional title" if I'm not mistaken, which
17       just means it's not linked to the corporate pay title.
18       But he was deputy director of the Bronx Court Clinic.
19       That was what he was, but that was -- yeah.                That was
20       --
21                  Q   What was his civil service title?
22                  A   He was not in civil service.         He switched
23       out of civil service.
24                  Q   Okay.     And when did he do that?
25                              MS. HAGAN:    Objection.

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1                               If you know the answer.
2                               THE WITNESS:     I would say it was in the
3        first three or so years that he was working at the
4        Bronx Court Clinic.
5        BY MS. CANFIELD:
6                   Q   Okay.
7                   A   And he started working there in 2008, so
8        maybe 2011 around, plus or minus.
9                   Q   Do you know if Dr. Winkler, when he was
10       working at the Bronx Court Clinic, was a member of the
11       union?
12                              MS. HAGAN:     Objection.
13                              THE WITNESS:     When -- when he was in
14       the civil service title, he was.                I -- yes.
15       BY MS. CANFIELD:
16                  Q   Okay.     So is it your belief that prior to --
17       immediately prior to going to Brooklyn, he was not in
18       -- represented by a Collective Bargaining Unit when he
19       was working in Bronx?
20                              MS. HAGAN:     Objection.
21                              THE WITNESS:     That's my understanding.
22       BY MS. CANFIELD:
23                  Q   Okay.     And the psychologist that you were
24       told received the change from psychologist two to
25       psychologist three, do you know if they were members

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1        of a Collective Bargaining Unit?
2                   A   Yes.
3                   Q   Okay.     And how do you know that?
4                   A   Because the psychologists at the court
5        clinics are -- they were all part of the Collective
6        Bargaining Unit.
7                   Q   Okay.     Do you know what Collective
8        Bargaining Unit they were a part of?
9                   A   Is it DC 37?
10                              MS. HAGAN:     Objection.
11                              Don't guess if you don't know.
12                              THE WITNESS:     Whatever the largest
13       Collective Bargaining Unit is in -- in -- for
14       healthcare workers.          I think it's called DC 37.
15                              MS. HAGAN:     Objection.
16       BY MS. CANFIELD:
17                  Q   Okay.
18                  A   I'm not a hundred percent sure about that --
19                  Q   Okay.
20                  A   -- but I believe it's DC 37.
21                  Q   And during the time that you were employed
22       at Bellevue and at CHS, were you a member of a
23       Collective Bargaining Unit?
24                  A   Yes.
25                  Q   And what was the name?

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1                   A   Doctors Council.
2                   Q   Okay.     And so is it your testimony that
3        Doctors Council does not represent psychologists?
4                               MS. HAGAN:     Objection.
5                               If you know the answer to that
6        question.
7                               THE WITNESS:     Correct.      They do not.
8        BY MS. CANFIELD:
9                   Q   Okay.     Now who did you speak to at CHS about
10       getting your line changed?             You said you spoke to Dr.
11       Yang?
12                  A   And Dr. Ford, and Dr. --
13                              THE REPORTER:         And who was the third
14       name?
15                              THE WITNESS:     Dr. Jain.      That's J-A-I-
16       N.
17       BY MS. CANFIELD:
18                  Q   And what did you say to Dr. Yang?
19                  A   I wrote her -- well, I first talked to Dr.
20       Ford and Dr. Jain in April because, I mean, CHS had
21       unofficially taken over the court clinics by then.                    I
22       mean, they were involved way back since 2015, but they
23       then became very actively involved in 2018.
24                      And we were having meetings downtown with
25       CHS and there was a lot of -- they had pretty much

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1        taken over the management of the clinics by -- by
2        April.
3                   Q   I'm sorry to interrupt, Dr. Kaye.           My
4        question was is what did you say to Dr. Yang?
5                   A   So we --
6                            MS. HAGAN:      Can you please let her
7        finish her answer?
8                            THE WITNESS:       I'm sorry, Ms. Canfield.
9        I'm going to try to be tight because I -- I did speak
10       to Dr. Jain and Dr. Ford at a CHS court clinic-related
11       matter down on Water Street in April of 2018 about the
12       pay parity issues.        I was ushered off to speak to Mr.
13       Wangel and Jessica Laboy about -- about that and my --
14       and the conditions of my work should I accept --
15       formally accept the transfer that was scheduled for
16       July.
17                           And so I -- I verbally complained to
18       them and then I asked Dr. Ford -- especially given my
19       history with her, knowing that she never did anything
20       about it at Bellevue, I didn't -- and then she was
21       trying to push me to -- saying the only way I could
22       have a pay raise is if I left the union and I didn't
23       think that was reasonable.            You know, Steve Ciric was
24       in the union as a physician specialist, so I didn't
25       feel like, you know -- if my male comparator who was

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1        getting paid more than me was allowed to me in the
2        union, I didn't feel I should have to be pushed out of
3        the union just to get equal pay and -- and -- and then
4        lose everything -- you know, give something up for
5        that.
6                                  So she sent me an email I think that
7        said -- was vague and cryptic.                  And I asked her about,
8        you know, giving up the union benefits if I wanted to
9        be considered for equal pay.
10                                 And so I asked her if I could reach out
11       to Dr. Yang.          And so she said yes.           And I wrote Dr.
12       Yang a long, detailed description of my -- my pay
13       parity issues at HHC.             And that was in -- I don't
14       know.          Probably right after that meeting.           Maybe
15       beginning of May or something, around there.                   End of
16       April, beginning of May of 2018.                   And she passed me
17       off -- bumped me back to Bellevue -- to Bill Hicks at
18       Bellevue and they were kind of giving me a lot of lip
19       service, but they never followed up with them.
20                                 They said they would follow-up with me,
21       but neither one of them ever followed up with me.
22       BY MS. CANFIELD:
23                  Q      Okay.     Let me ask you a question.        When you
24       spoke to Dr. Ford and she said that you would have to
25       give up your union, explain to me what she explained

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1        to you.
2                   A    Well, we didn't speak.         She just --
3                             MS. HAGAN:     Objection as to form.
4                             You can answer.
5                             THE WITNESS:      We didn't -- she -- Dr.
6        Ford kept me at an arm's length.               I only met -- once
7        Bellevue -- I only met face to face with Dr. Ford once
8        during my employment at -- well, twice actually.                  I'm
9        going to correct that.
10                            She only -- she kept me at an arm's
11       length.        I met with her once at a meeting that I
12       insisted upon having.         She tried to get out of it, but
13       I insisted upon having a meeting.               November 30th was
14       the meeting of 2018.         And so she didn't call or meet
15       with me, so she would just, you know -- she would send
16       these kind of -- these emails.              And the email was,
17       "Well, yeah."        I don't remember exactly what the email
18       said, but it basically was, "Yeah, well, I could
19       support, you know, pay parity and things being fair,
20       but I you want pay parity, you'd have to give up your
21       union and other benefits."
22                            And I was like, this is -- you know,
23       this is ridiculous.         This isn't -- you know, pay
24       parity doesn't mean that you have to be punished for
25       being -- or lose something for getting paid the same

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1        as your male colleagues.            So I was -- I rejected that.
2        BY MS. CANFIELD:
3                   Q   Let me ask you, so --
4                               MS. HAGAN:     You need to let her finish
5        her answer.
6                               Are you finished with your answer, Dr.
7        Kaye?
8                               THE WITNESS:     I just rejected the
9        concept that correcting my pay parity with Steve
10       Ciric, who was in the -- who was a union member.
11       BY MS. CANFIELD:
12                  Q   Did Steve Ciric come over with the CHS
13       oversight of the court clinics?
14                  A   No.     Steve Ciric -- I'm trying to think.            I
15       believe Steve Ciric resigned -- I'm trying to
16       remember.       I think it was -- it was before the
17       official takeover.          I -- I think it was --
18                              MS. HAGAN:     If you're not sure, just
19       say so.
20                              THE WITNESS:     I think it was around the
21       end of 2017, beginning of 2018 that Dr. Ciric
22       resigned.
23       BY MS. CANFIELD:
24                  Q   Okay.     Do you know why he resigned?
25                              MS. HAGAN:     Objection.

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1                                   THE WITNESS:     He moved to Buffalo to be
2        near his wife's family.
3        BY MS. CANFIELD:
4                   Q       Okay.     And do you know who stepped in his
5        position to oversee the Manhattan Court Clinic?
6                   A       There was no one formally in the position.
7        Dr. Jeremy Colley who was, on paper you know anyway,
8        still in charge of the Bronx and Manhattan Court
9        Clinics until July 1, 2018.                 He was acting as the
10       interim director of the Manhattan Court Clinic in his
11       capacity as the director of the Division of Forensic
12       Psychology at Bellevue.
13                  Q       Okay.     Who eventually took over Dr. Ciric's
14       position as the head of the Manhattan Court Clinic?
15                  A       CHS hired a new director, Daniel S. Mundy,
16       M.D.           M-U-N-D-Y is the spelling I believe.
17                  Q       And do you -- was Dr. Mundy a psychiatrist
18       or a psychologist?
19                  A       Psychiatrist.
20                  Q       Psychiatrist?      Okay.      And do you know if Dr.
21       Mundy was a member of a Collective Bargaining Unit
22       when he was hired?
23                  A       He was part-time psychiatrist evaluator at
24       the Manhattan Court Clinic under Bellevue.                   And at
25       that time, he was a member of the Collective

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1        Bargaining Unit.
2                       I know that he was made -- he was -- there
3        were numerous stipulations that were given to him
4        about taking -- being offered and taking the job as
5        the director, and one of those was that he would have
6        to leave the Collective Bargaining Unit.
7                   Q   Okay.     And how do you know this?
8                   A   He told me.
9                   Q   Okay.     One of the stipulations was leaving
10       the Collective Bargaining Unit?
11                  A   Right.
12                  Q   Okay.     Did he indicate that was something he
13       did not want to do?
14                  A   He -- he had concerns about it.          He wasn't
15       -- it was an uneasy decision for him.              He talked to me
16       a lot about it.
17                  Q   What did he say?
18                  A   He didn't want to -- he didn't want to have
19       to leave -- he didn't want to have to give up being a
20       member of the union.          He was concerned.
21                  Q   What were his concerns?
22                              MS. HAGAN:     Objection.
23                              THE WITNESS:     Loss of benefits.      Loss
24       of protection.
25       //

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1        BY MS. CANFIELD:
2                   Q     But he eventually agreed to leave the
3        Collective Bargaining Unit and become what's called a
4        managerial employee; is that your understanding?
5                                 MS. HAGAN:     Objection.
6                                 THE WITNESS:     I don't know what it's
7        called, but I know that he agreed to take the job
8        without being a member of the union.
9        BY MS. CANFIELD:
10                  Q     Okay.     And you as head of the Bronx Court
11       Clinic, you were able to take the job without giving
12       up your union benefits; is that correct?
13                                MS. HAGAN:     Objection.
14                                THE WITNESS:     Well, what happened was
15       that when -- when CHS announced the takeover in early
16       2018, the unions got involved.                 And my union, Doctors
17       Council, had multiple meetings with CHS leadership,
18       including Jonathan Wangel, Elizabeth Ford, Patsy Yang.
19       And basically said that the doctors from Bellevue --
20       and I believe this was done in conjunction with I
21       think it's DC 37 -- that the -- whether they were M.D.
22       physician doctors or whether they were PhD, PsyD,
23       psychology doctors, they were going to be rolled over
24       as-is.         Or I know that Dr. Yang decided to give the
25       psychologists a raise, but that their working

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1        conditions weren't going to change.               Everything would
2        stay exactly the same.           And that was reiterated again
3        and again in this agreement and there were certain
4        other agreements related to a pending retention bonus
5        that was going to be given to all the physician M.D.
6        evaluators, which would have been me and I think three
7        or four part-time male psychiatry physician examiners
8        at the Manhattan Court Clinic.
9                               So there was all this detail worked out
10       about that, but specifically was that everyone that
11       was in the Collective Bargaining Unit that was rolling
12       over in their same positions would stay in the
13       Collective Bargaining Unit.             So that included me.
14       BY MS. CANFIELD:
15                  Q   Okay.     So you were able to stay in the
16       Collective Bargaining Unit?
17                  A   Correct.
18                  Q   Okay.     And what are the benefits that you
19       had in the Collective Bargaining Unit as compared to
20       someone who's a managerial employee?
21                              MS. HAGAN:    Objection.
22                              To the extent that you know the answer
23       to that question.
24       BY MS. CANFIELD:
25                  Q   I would think that you would know because

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1        you did not want to give them up.                So what were those
2        benefits?
3                   A   Well, the benefits that -- I think the
4        benefit is that, you know, I think in general,
5        employees, you know, in unions have a -- have a voice
6        that is speaking for the collective.                And whether that
7        be negotiating cost of living pay raises or, you know,
8        trying to buffer or mitigate any kind of managerial
9        abuse or the ability to have some checks and balances
10       as far as any kind of changes in -- or disciplinary
11       actions or any kind of bad behavior on the part of
12       management, if you have a union, you're possibly in a
13       better situation than being in a -- in a job that is
14       at-will and you can be fired without cause.                That type
15       of thing.
16                      So given the hostility that was clearly
17       directed to me, before even the official takeover of
18       CHS -- of the court clinics -- I was -- I felt that
19       the offer to ostensibly get a pay raise if I gave up
20       my union was a ploy to fire me.                And I wasn't going to
21       fall for that.
22                  Q   Why did you -- let me ask you a question.
23       Why did you think that the request to -- if this is a
24       way that we could raise your pay, why did you see that
25       as really something disguised as an attempt to fire

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1        you?
2                             MS. HAGAN:     Objection as to form of the
3        question.
4                             You can answer.
5                             THE WITNESS:      Dr. Ford had shown, you
6        know, to be -- herself to be unsupportive and less
7        than honest with me in the past.                And there was an
8        incident where, you know, I had complained or I had
9        been involved in numerous -- with numerous clinicians
10       -- physicians and psychologists -- and Dr. Winkler is
11       a psychologist and an attorney.                Dr. Ciric, Dr.
12       Colley.
13                            There was this issue about using
14       redacted records versus unredacted records in
15       conducting a forensic exam.            And it really wasn't my
16       issues.        It was, you know, a professional discussion
17       amongst the senior evaluators and --
18       BY MS. CANFIELD:
19                  Q    Right.
20                  A    -- that just -- the people I just named.
21       And, you know, the judges -- some very senior judges
22       in the Bronx -- Judge John S. Moore, he's a -- he was
23       a bureau chief under Robert Morgenthau.                Then he
24       became a -- a Criminal Court judge in the Bronx, and
25       then a Supreme Court judge.            And he was an institution

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1        -- like, he -- he ran the sex offender and the youth
2        part of the courts in the Bronx.                 And he then
3        transitioned into being involved in Mental Health
4        Court.
5                       I mean, this was a seasoned, knowledgeable,
6        experienced judge in the matters of mental health and
7        criminal law, and the intersection between those two
8        bodies of knowledge and professional activity.                    And he
9        -- you know, he had issued -- and it wasn't just him.
10       It was Judge Lieb -- Judith Lieb and -- and --
11                  Q   Dr. Kaye?
12                  A   Yeah.
13                  Q   Dr. Kaye, I'm just trying to -- I'm trying
14       to -- we need to stay on track or we're never going to
15       get --
16                  A   I'm sorry.
17                  Q   -- we're never going to finish.
18                  A   So --
19                              MS. CANFIELD:         Can you read the
20       question back again just --
21                              MS. HAGAN:    No, no.       She needs to
22       finish her answer.
23                              Did you finish your train of thought,
24       Dr. Kaye?
25                              MS. CANFIELD:         We're going to have to

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1        come back if --
2                            THE WITNESS:       I'm sorry.
3                            MS. HAGAN:      What is your answer?
4                            You can't cut her off.           You cannot cut
5        her off, Ms. Canfield.
6                            THE WITNESS:       I'm sorry.      What is the -
7        - if you read back the question, I'm sorry, Ms.
8        Canfield.     I'm going to be succinct, but I feel like
9        there's a lot of -- there was --
10                           Please read back the question if -- if
11       --
12                           THE REPORTER:           Just a second.
13                           (The reporter played the record as
14                           requested.)
15                           THE WITNESS:       Thank you.
16                           So the issue of using redacted records
17       or not using redacted records was a legitimate
18       professional issue amongst informed professionals --
19       legal professionals, forensic evaluators who were
20       professionals in their own rights.                And it wasn't a
21       personal issue of mine, Dr. Ford --
22                           THE REPORTER:           It wasn't a what, ma'am?
23                           THE WITNESS:       It wasn't a personal --
24       personal issue of mine.          I mean, certainly I wanted to
25       do quality work and -- and provide neutral, objective,

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1        thorough exams and -- and -- and make diagnoses with
2        -- with professional responsibility, but the courts
3        were ordering -- you know, it -- it --
4                            The courts were ordering unredacted
5        records.       And they -- this was in conjunction -- the
6        Chief Administrative Judge Torres ended up getting
7        involved because CHS was defying these court orders
8        for unredacted medical records.                They were just
9        snubbing the Court and they would just provide
10       redacted medical records and just make the -- you
11       know, decide that they would have -- that they didn't
12       have to answer to the Court.                And it was --
13                           MS. CANFIELD:           Dr. Kaye?
14                           MS. HAGAN:      Oh, you have to let her
15       finish.
16                           MS. CANFIELD:           No, no.
17       BY MS. CANFIELD:
18                  Q   Dr. Kaye, why -- how did you tie the issue
19       of your challenge to the redacted records -- how is it
20       that that led you to believe that you were at risk of
21       losing your job or that's the motivation behind
22       wanting to make you a managerial employee?
23                           MS. HAGAN:      First and foremost --
24                           MS. CANFIELD:           That's the question.
25                           MS. HAGAN:      No.       You have to let her

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1        finish the answer that she was in the -- of giving.
2                            THE WITNESS:       You know, so it was that
3        issue and it was the issue of just gratuitously having
4        all criminal -- it was a constitutional issue for the
5        rights of defendants.         And it was -- and, you know,
6        Patsy Yang and a bunch of very high-ranking people,
7        including Dr. Ford, basically stormed my office in
8        January 2018 and were making all of these -- proposing
9        all of these changes that had constitution -- in my
10       opinion as a non-lawyer.           I mean, this was just my
11       opinion as a non-lawyer had constitutional issues
12       regarding the rights of criminal defendants and I was
13       concerned.
14                           I mentioned it at the meeting that
15       there was a -- you know, my concerns about using --
16       gratuitously using -- having criminal defendants
17       signing HIPAA releases pro forma at arraignment was
18       problematic on many levels.            And at that point, I was
19       threatened.      I was openly threatened, and there were
20       many people in the room.
21                           Patsy Yang said to me, "If you don't
22       like the way we do things, there's the door."                 And she
23       gestured to the door.         And she said, "We got all the
24       money.     We can hire whoever we want."           Just because I
25       was trying to voice my concerns about the

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1         constitutional rights of criminal defendants.
2                               And then similarly, with the redacted
3         record issue, Ford basically felt that I was -- that
4         was problematic that I had a concern about it, but she
5         wasn't concerned that Barry Winkler or Steve Ciric or
6         Jeremy Colley had a concern about it.              Just me.
7         BY MS. CANFIELD:
8                   Q   How do you know that?
9                   A   Because it was discussed.         It -- we were
10        interacting with her.         She worked for CHS at that
11        point and we were -- we were interacting with CHS
12        about these medical records via emails, via phone
13        calls.
14                  Q   How do you know -- how do you know --
15        because you said in the deposition of Dr. Winkler, Dr.
16        Winkler also testified that he objected to the use of
17        redacted records.
18                      How do you know that you are the target when
19        you say that everyone had the same objections?
20                  A   Because --
21                  Q   What leads you to the conclusion that you
22        alone were singled out?
23                  A   Because after this meeting when it came up,
24        it was me who was getting retaliated against.
25                  Q   Okay.     And how were you retaliated against?

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1                   A   Dr. Winkler got a promotion and I got -- I
2         started getting excluded and marginalized.                     I --
3                   Q   Okay.     Hold on.     Hold on.      Let's start with
4         -- Dr. Winkler got a promotion.                Okay.
5                       You told me that Dr. Winkler, he was hired
6         into the Brooklyn medical director, or Brooklyn
7         director position, right?
8                   A   He was hired as --
9                   Q   Is that the promotion you're talking about?
10                              MS. HAGAN:     Objection.        You got to let
11        her answer the question.           You're --
12                              MS. CANFIELD:         I'm just trying to move
13        things along.
14                              MS. HAGAN:     Well, she has to answer the
15        question.      You're asking these questions, so let her
16        answer the question, please.
17                              THE WITNESS:     Dr. Winkler was promoted
18        from deputy director at the Bronx Court Clinic to
19        director of the Brooklyn Court Clinic.                  And he got --
20        that was a promotion.
21        BY MS. CANFIELD:
22                  Q   Okay.     That is a promotion.           Okay.     So
23        because he got a promotion, you believe that -- what?
24                  A   Well, I'm just saying I was treated very
25        differently because then after that meeting when they

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1         stormed my office and I was threatened, I -- there was
2         this -- CHS under Dr. Ford in particular had put
3         together this so called 730 workgroup where they
4         wanted to talk about ways to improve the 730
5         evaluation process and, you know, what the problems
6         are, how they could be addressed.                And I was very into
7         that.         I really wanted to be part of the -- the modern
8         -- the court clinics and making things better.                 And I
9         -- I was all in for that.             And --
10                  Q      And you were invited to participate in that
11        workgroup, weren't you not?
12                  A      I was --
13                              MS. HAGAN:      Objection.
14                              THE WITNESS:       I was not.    I was not.      I
15        specifically -- after that meeting when they -- it was
16        Bill Hicks, Sarah Gillian [ph], Beth Ward [ph], Jeremy
17        Colley, LaKeisha Prasad [ph] -- who was our
18        administrator up there -- Dr. Yang, Dr. Winkler.                 I --
19        I don't remember who else was in that meeting.                 Bill
20        Hicks.         And they were all in that meeting when they
21        stormed our office.           And after that meeting, people
22        were -- we kind of left my office.                We were waiting
23        for Department of Corrections -- DOC -- to come up and
24        open our bullpen because they wanted to see where we
25        did these evaluations.            Where we did these forensic

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1         evaluations.
2                            And I asked Dr. Ford -- she was leaning
3         against the wall and I said, "I really want to be part
4         of the 730 workgroup."         And so she just like -- she
5         looks down at the ground -- she shuffles her feet,
6         looks down at the ground, turns her back on me and
7         starts trying to get someone else walking passed her
8         in the hall to talk to her.           Just like --
9         BY MS. CANFIELD:
10                  Q   Weren't you invited to the workgroup?
11        Didn't Mr. Bloom testify that you were in fact invited
12        to the workgroup, but that your email address was
13        wrong and that --
14                  A   No, that's --
15                           MS. HAGAN:      Objection.       Assumes that
16        she knows what Mr. Winkler said.               And --
17                           MS. CANFIELD:           I'm talking about Mr.
18        Bloom, and she attended Mr. Bloom's deposition.
19                           MS. HAGAN:      Objection.
20                           Go ahead.
21                           THE WITNESS:       May I talk?
22                           MS. HAGAN:      Yes.
23                           THE WITNESS:       So those are totally
24        separate 730 workgroups.          Mr. Bloom was talking about
25        the MOCJ workgroups, which were run and managed by

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1         City Hall, which was completely different than this
2         internal CHS 730 taskforce brainstorming group.                 I
3         mean, I don't know if it was -- workgroup my -- you
4         know, it was this 730, you know, improvement,
5         strategic taskforce.           That's not the official name,
6         but it was under Dr. Ford and it was only relevant and
7         focused on CHS.           And the only people invited were
8         people that either worked for CHS or were going to
9         work for CHS.           And Dr. Winkler was invited and
10        attended, and I was excluded.
11        BY MS. CANFIELD:
12                  Q     Okay.     So it's your testimony that you never
13        received an invitation either from Dr. Ford or Dr.
14        Colley to join a 730 workgroup?
15                                MS. HAGAN:     Objection.   She didn't say
16        she didn't receive an invitation from Dr. Colley or
17        Dr. Ford.        She said she didn't receive an invitation
18        from Dr. Ford's strategic taskforce.
19                                THE WITNESS:     I -- I -- I don't know if
20        the name of it was strategic taskforce.               She had this
21        -- this internal CHS workgroup which was separate and
22        distinct from the MOCJ ongoing workgroup that had been
23        going on and on -- on and on, off and on for years --
24        years.        But that was a separate -- that was a separate
25        agenda, separate issues and it was initiated by a

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1         separate agency.
2                            I am testifying that I specifically
3         asked to join that group and I was -- I was shunned.
4         I mean, she literally refused to answer me and turned
5         her back on me.
6                            So, you know, and it -- and it was --
7         you know, and I had -- had the history where I knew
8         she had lied to me about trying to do something about
9         my pay disparity when she was -- when I reported
10        directly to her at Bellevue.               I knew how she was.     I
11        knew she was -- she had queen bee tendencies and I
12        knew she was, you know, not including me in this
13        workgroup even though I was the most senior and
14        experienced forensic evaluator in New York City, and I
15        wanted to participate.
16        BY MS. CANFIELD:
17                  Q   All right.    Let me show you this document.
18                           MS. CANFIELD:           And, Ms. Hagan, I am
19        going to email it to you right now.
20                           MS. HAGAN:      I'm going to need an
21        opportunity to look at the document.
22                           THE REPORTER:           Please repeat what you
23        said, Ms. Hagan.
24                           MS. HAGAN:      I said I'm going to need an
25        opportunity to look at the document before Dr. Kaye

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1         has an opportunity to respond.
2                            Thank you.      I'm sorry.
3                            MS. CANFIELD:           That's fine.    Whatever
4         you need to do.
5                            MS. HAGAN:      Mm-hmm.
6                            THE REPORTER:           And if you could please
7         email it to me as well.
8                            MS. CANFIELD:           I will.
9                            MS. HAGAN:      I guess we'll need a break
10        so we can read it.
11                           MS. CANFIELD:           No, no.   We don't need a
12        break.
13                           MS. HAGAN:      Mm-hmm.       Because I still
14        haven't had it -- I still don't have it.
15                           MS. CANFIELD:           You will have it.      You
16        don't need a break though.
17                           MS. HAGAN:      Mm-hmm.
18        BY MS. CANFIELD:
19                  Q   All right, Dr. Kaye.           I'm going to show you
20        this email.
21                           MS. HAGAN:      Wait a second.         I'd like to
22        look at it first.
23                           MS. CANFIELD:           We can look at it at the
24        same time.      That's what we did when I was -- when I
25        was defending depositions.

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1                               MS. HAGAN:    -- exact document that you
2         just emailed me --
3                               THE REPORTER:         I'm sorry.
4                               MS. CANFIELD:         This is the exact --
5                               THE REPORTER:         Repeat what you said,
6         Ms. Hagan.         And try not to talk at the same time.            I'm
7         sorry.
8                               MS. HAGAN:    I'm trying to -- first off,
9         I'm not even sure how this happened.                I'm trying to
10        look at the email that Ms. Canfield sent.                Then now it
11        seems like my entire screen has been taken over by
12        this Zoom thing.         I don't know.
13                              MS. CANFIELD:         It's the same document
14        and I was able to navigate between my hardcopies that
15        were sent to me and the Zoom, so you should be able to
16        do that, too.
17                              MS. HAGAN:    I'm looking --
18                              MS. CANFIELD:         Maybe just minimize the
19        Zoom?
20                              MS. HAGAN:    I'm trying to do that.
21                              MS. CANFIELD:         All right.
22        BY MS. CANFIELD:
23                  Q      Dr. Kaye, if you could just take a look at
24        this.         This document identified by the Bates stamp
25        numbers NYC_000053.

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1                               MS. HAGAN:    And what exhibit is this,
2         Ms. Canfield?         Because you sent an Exhibit A, which
3         was the Amended Complaint.            Is this Exhibit A or
4         Exhibit B?
5                               MS. CANFIELD:         This will be Exhibit A.
6                               (Exhibit A was marked for
7                               identification.)
8                               MS. HAGAN:    And Exhibit A, for purposes
9         of the record, is NYC 53?           And was this produced when?
10                              MS. CANFIELD:         This was produced a year
11        ago.
12                              For purposes of the record, beginning
13        at the very beginning of the thread, it's an email
14        from Elizabeth Ford to Jeremy Colley asking evaluators
15        from the Bronx clinic and one to two psychiatrists
16        from the Manhattan clinic who will be able to -- able
17        willing to participate in a workgroup to think about a
18        standardized clinical approach to the exams.                That's
19        dated January 18, 2018.
20        BY MS. CANFIELD:
21                  Q   Do you see that, Dr. Kaye?
22                  A   I do.
23                  Q   Okay.     And do you see where Dr. Colley
24        forwards this email to Dr. Harper, Dr. Solanki, Dr.
25        Mundy, Dr. Weiss, yourself and Dr. Winkler?

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1                   A     Yes.
2                   Q     It says, "See below - let me know if you're
3         interested"?
4                   A     Yes.
5                   Q     Dr. Mundy responds and says, "Certainly
6         interested.        Please keep me in the loop."              Then you
7         also respond and say, "Let me know dates and I'll try
8         to work it in."
9                   A     Mm-hmm.
10                  Q     Do you recall receiving and sending this
11        email?
12                  A     I don't recall.
13                  Q     Okay.     So it does appear that you were in
14        fact invited to participate in the workgroup.
15                                MS. HAGAN:    And for purposes of the
16        record, I'd like to note that there are question marks
17        before the text in at least two of the emails.                      The
18        email from Dr. Mundy, there's a question mark that
19        says "?Certainly interested, please keep me in the
20        loop."        And then from Dr. Kaye's alleged response,
21        there's a question mark, "?Let me know dates, and I'll
22        try to work it in."           Just for purposes of the record.
23                                MS. CANFIELD:         That's fine.    I can see
24        that those question marks are there.                  I don't know why
25        they are, but they appear in a number of emails.                      It's

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1         the way that the emails were collected.                And if there
2         are quotations there, that's -- I don't know.
3                               MS. HAGAN:    Mm-hmm.
4                               MS. CANFIELD:         Okay.
5         BY MS. CANFIELD:
6                   Q   Okay.     So the fact that you were not -- you
7         didn't believe that you were invited to the workgroup
8         caused you to believe that you were on the chopping
9         block, I guess so to speak, when you were offered a
10        managerial title.         But as I just showed you, you were
11        in fact invited to the workgroup.
12                              MS. HAGAN:    Objection.
13        BY MS. CANFIELD:
14                  Q   What other reasons do you believe that you
15        were --
16                              MS. HAGAN:    Objection.
17                              MS. CANFIELD:         You can object.   I can
18        still ask her my question.
19                              MS. HAGAN:    And then you're inserting
20        facts that are not -- that she didn't testify to in
21        your question.
22                              MS. CANFIELD:         She just testified that
23        she saw that email.         The document speaks for itself.
24                              MS. HAGAN:    She said she wasn't sure if
25        she saw it.

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1                                  MS. CANFIELD:         Okay.   You can make your
2         argument in opposition to our motion for summary
3         judgment.
4                                  MS. HAGAN:     Mm-hmm.
5         BY MS. CANFIELD:
6                   Q      What other reasons --
7                   A      Well --
8                   Q      -- do you believe that you were being
9         targeted for termination by the fact that you were
10        being offered a managerial title?
11                  A      Okay.
12                                 MS. HAGAN:     Objection.
13                                 THE WITNESS:     So Dr. Ford did not send
14        me that email.            Dr. Colley sent me that email.
15        BY MS. CANFIELD:
16                  Q      As well as the other --
17                  A      Yes.
18                  Q      -- psychologists and psychiatrists, correct?
19                  A      Dr. Colley forwarded that email that was
20        sent to him.            So I -- that email came from not Dr.
21        Ford.         Dr. -- Dr. Colley.        And I then shortly
22        thereafter specifically asked her when they came up to
23        the Bronx to inform us they were taking us over.                     And
24        I asked her specifically to be part of the group and
25        she shunned me.            And that was on the heels of Dr. Yang

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1         threatening to fire me.         So --
2                   Q    Okay.
3                   A    -- that was -- I'm sorry.
4                   Q    Did you ever follow-up in writing to Dr.
5         Ford about participating -- or Dr. Colley about
6         participating in the 730 workgroup --
7                   A    I don't --
8                   Q    -- after receiving this email?
9                   A    I -- I don't recall.        I don't even -- I
10        mean, I wrote what is said there, but I don't recall
11        every email I sent in 2018.
12                       If you could refresh my memory, I would be
13        able to know that.
14                  Q    Okay.   Okay.   With respect to the pay equity
15        issue, is it your belief that after the transition to
16        CHS, that you remained to be paid less than your male
17        comparators?
18                  A    My male comparator was Steve Ciric.           That's
19        who was my male comparator when I discovered the pay
20        discrepancy.       That's who was the male comparator when
21        I asked for it to be corrected, both informally or --
22        you know, internally I should say, at Bellevue when I
23        asked Dr. Ford and -- and -- and Dr. Colley to address
24        it.       And then again, when I went to Dr. Yang and it
25        was sent to Dr. Hicks.         And then when I filed an EEOC

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1         complaint, it -- it was about my lack of pay parity
2         with Steve Ciric.
3                      Now when my salary is assessed, it's -- it
4         can -- you can -- it can be misrepresented unless one
5         considers that because of my longevity pay, because I
6         was hired by HHC in 1999 and I had a significant
7         amount of longevity pay, that could be construed as
8         part of my base salary, which it is not.               And I was
9         talking about a pay discrepancy and title discrepancy
10        relative to my base salary, not having my longevity --
11        my earned longevity pay because I had been a
12        longstanding public servant to be folded into my base
13        salary and then have that number being used to compare
14        me to other people.        That wasn't fair because that was
15        not -- that was not the issue.
16                     The issue was my base salary was lower and
17        my title was lower.        And if I did happen to be at
18        Health and Hospitals for 20 years and I had longevity
19        pay, I don't feel like the longevity pay, which was
20        earned separate from -- it would have been the same if
21        I was a physician specialist or anything else.                 My
22        longevity pay should not have been folded in to be
23        considered as part of my base salary, to then deny me
24        equal pay or to say that I was already getting equal
25        pay, because with my longevity pay, that brought me up

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1         to a more comparable pay equity.
2                   Q   Okay.     So let's go through this.         You
3         already testified that Dr. Mundy was hired to oversee
4         the Manhattan Court Clinics, correct?
5                   A   Correct.
6                   Q   Okay.     And we already established that Dr.
7         Winkler -- are you taking notes, Dr. Kaye?
8                   A   No, I'm not.
9                   Q   That Dr. Winkler was hired to oversee the
10        Brooklyn Court Clinic, correct?
11                  A   Correct.
12                  Q   You were overseeing the Bronx Court Clinic,
13        correct?
14                  A   Correct.
15                  Q   Okay.     And who was overseeing the Queens
16        Court Clinic?
17                              THE WITNESS:     Ow.     Sorry.   That's what
18        I'm doing.      I'm dealing with this cat.
19                  A   It was Elizabeth Owen.
20                  Q   Okay.     Okay.   And then Dr. Winkler also
21        oversaw the Staten Island court clinics; is that
22        correct?
23                  A   Staten Island Court Clinic was under --
24        well, there was no -- no, that's not correct.                   No.
25        There was no -- there is no Staten Island Court

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1         Clinic.
2                   Q   Okay.     Okay.   Now do you believe that -- and
3         Dr. Mundy is a psychologist or a psychiatrist?
4                   A   Psychiatrist.
5                   Q   And do you believe that he was compensated
6         more than you at the time that you were head of the
7         Bronx Court Clinic?
8                   A   I believe that -- yes, I believe that my
9         longevity pay and my retention bonus were included in
10        my base salary to compare me to Dr. Mundy to make it
11        look like we had comparable salaries when we did not.
12                  Q   Okay.     And when you were offered a
13        managerial position, were you told how much you would
14        be compensated?
15                  A   No details were offered.         It was a nebulous
16        email I got from Dr. Ford.
17                  Q   Okay.
18                  A   Basically telling me she would consider --
19        she would consider, you know, looking into pay parity
20        if I got out of the union -- union and gave up
21        benefits.
22                  Q   Okay.     Did anyone else suggest that you take
23        on a managerial title in relation to the pay parity
24        issue of which you were complaining?
25                  A   No.     That was the only communication I had

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1         at all about the situation.
2                   Q   Okay.
3                   A   -- talked to me about it.
4                   Q   Okay.
5                               THE REPORTER:         I'm sorry.   Repeat what
6         you said after "situation."
7                               THE WITNESS:     No one else talked to me
8         about it.
9                               THE REPORTER:         Thank you.
10        BY MS. CANFIELD:
11                  Q   When you spoke or emailed Dr. Yang, did you
12        raise the issue of becoming a managerial employee with
13        her?
14                              THE WITNESS:     Sorry, I have to -- this
15        cat is chewing a wire.          Sorry.
16                              MS. HAGAN:     I'm sorry.
17                              THE WITNESS:     I apologize.
18                              MS. CANFIELD:         Do you mind reading back
19        the question, please?
20                              THE REPORTER:         Just a moment.
21                              (The reporter read the record as
22                              requested.)
23                              THE WITNESS:     No.
24        BY MS. CANFIELD:
25                  Q   Why not?

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1                               MS. HAGAN:     Objection.
2                               THE WITNESS:     For the reasons I've
3         discussed previously.
4         BY MS. CANFIELD:
5                   Q   That you were interested in becoming a
6         managerial employee?
7                   A   No, that I was not.            I wanted to be
8         comparable to my male comparator, which was Steve
9         Ciric, and I wanted to continue to be in the
10        Collective Bargaining Agreement.
11                  Q   Okay.     If a managerial position had been
12        offered to you, would you have taken it?
13                              MS. HAGAN:     Objection.      It's a
14        hypothetical.         It wasn't offered to her.
15                              THE REPORTER:         Please repeat what you
16        said, Ms. Hagan.
17                              MS. HAGAN:     I said objection.        It's a
18        hypothetical.         It was not offered to her.
19                              MS. CANFIELD:         You're testifying.
20                              THE WITNESS:     I was not talked to about
21        any negotiations.         This issue was never followed up
22        with anybody other than that one vague email from Dr.
23        Ford.
24                              I can't say what I would have agreed to
25        or not agreed to, but Dr. Yang didn't speak to me.

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1         Mr. Hicks didn't speak to me.               I got that nebulous
2         email from Dr. Ford that said there would have to be a
3         quid pro quo and I would have to give up something to
4         get pay parity -- i.e. give up my union in order to
5         have comparable pay.        And no --
6         BY MS. CANFIELD:
7                   Q   So Dr. Yang did follow-up with you and said
8         that -- did have a conversation with you about
9         becoming a managerial employee?
10                  A   No.
11                            MS. HAGAN:     Objection.        Testifying.
12        That's not what she said.
13                            THE WITNESS:      That's false.       Dr. Yang
14        never spoke to me about it.           Never.       No one ever spoke
15        to me in person or on the phone about it, ever.
16                            And Dr. Yang told me that she was going
17        to forward my concerns to Bill Hicks at -- she didn't
18        tell me because I never spoke to her, but she sent me
19        an email that said she was going to forward my
20        concerns to Bill Hicks at Bellevue and that he would
21        get back to me.       And he did send a -- an email to me
22        that he would look into it and get back to me and
23        never did.
24                            And that is why --
25                            MS. CANFIELD:          Okay.

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1                               MS. HAGAN:     Would you let her finish?
2                               THE WITNESS:     That is why I chose to go
3         to the EEOC because I could tell very clearly that it
4         wasn't being taken seriously and I was getting the
5         runaround.
6         BY MS. CANFIELD:
7                   Q   Okay.     But the complaint about Steve Ciric,
8         there was something about pay in the past.                That was
9         backpay issue.         I'm talking about going forward from
10        the time that you transitioned over to CHS.                When Dr.
11        Mundy, Dr. Winkler, Dr. Kaye and Dr. Owen were ahead
12        of the court clinics.
13                              MS. HAGAN:     Objection as to the form.
14        And it's --
15                              MS. CANFIELD:         I haven't even finished
16        my question.
17                              MS. HAGAN:     Oh.
18        BY MS. CANFIELD:
19                  Q   I'm talking about the time after the
20        transition over to CHS.
21                              MS. HAGAN:     If you understand the
22        question.
23                              THE WITNESS:     I need -- I need you to
24        re-ask the question, please.
25        //

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1         BY MS. CANFIELD:
2                   Q   The complaint that you made to Dr. Yang,
3         that concerned your pay as compared to Steve Ciric,
4         correct?
5                   A   It concerned a pay parity issue that I had
6         at HHC that had never been satisfactory -- it had
7         never been resolved in a satisfactory manner.
8                   Q   Right.     And you testified earlier that the
9         comparator was Dr. Ciric; is that correct?
10                  A   Yes.
11                  Q   Okay.     But you also testified that Dr. Ciric
12        resigned.      So he was no longer being paid more than
13        you going forward from the date that he resigned;
14        isn't that correct?
15                              MS. HAGAN:     Objection.
16                              THE WITNESS:     My complaint was that
17        throughout my 20 years at HHC, I was paid less than my
18        male comparator, that -- that affects my pension.
19        That affected my day-to-day life as far as, you know,
20        what my income was, and that my understanding -- and
21        I'm not a lawyer, so I'm not speaking about this as a
22        lawyer -- but my understanding is that, you know, if
23        someone is paid less for the same job based on sex,
24        which I was, that that needs to be corrected by the
25        institution.         And HHC needed to correct that and the

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1         correction is retroactive.           It's a six-year
2         retroactive correction with triple damages.                 So that's
3         my understanding when I read on Google what -- what it
4         was.      It wasn't about, oh, if you make a pay
5         complaint, that that means you're going to be -- that
6         means that whatever happened in the past doesn't
7         matter anymore.       It matters the most because that's
8         what the pay complaint was based on.                 It wasn't based
9         on the future or the present, it was based on what had
10        happened to me and what I'd been complaining about
11        since 2014.
12                           MS. CANFIELD:           Okay.    All right.     We're
13        going to shift off this topic for a while.                 We're
14        going to get through some other topics just briefly
15        and then we'll take a lunch break, if that's okay with
16        everyone.
17                           That works?       Okay.
18                           THE WITNESS:       Yeah.        I would like to
19        request, if it's okay, that maybe just 30 minutes so
20        we can try not to go overtime.
21                           MS. CANFIELD:           That's fine.    That's
22        fine.      And if we -- I will do my best to ask all of
23        the questions that I have.           If for some reason we need
24        to go beyond 6:00, we'll just have to schedule another
25        time to bring you back.

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1                            THE WITNESS:       I can go beyond 6:00, but
2         I will need a break to arrange for childcare --
3                            MS. CANFIELD:           Okay.
4                            THE WITNESS:       -- pick-up kind of
5         situation.
6                            THE REPORTER:           Repeat what you said
7         after "pick-up."
8                            THE WITNESS:       I will need to arrange
9         for a childcare pick-up-kind of situation if we go
10        beyond 6:00.      And I'll need a little break to do that
11        if it looks like we're --
12                           And some lead time would be better.
13                           MS. CANFIELD:           Okay.   That's fine.
14                           MS. HAGAN:      Can we figure out how much
15        time we've consumed so far?           Just for the record.
16                           MS. CANFIELD:           Why don't we do that
17        during our break instead of now, because we've only
18        been going since 10:00 and we took two -- three five-
19        minute breaks, so --
20                           MS. HAGAN:      So that would be two hours
21        and thirty minutes.
22                           MS. CANFIELD:           Yeah.
23                           MS. HAGAN:      Two hours and thirty-three
24        minutes then.
25                           MS. CANFIELD:           Let's just -- if you

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1         could calculate the time during lunch, that'd be
2         great.
3                               All right.    Let's just move forward so
4         that we do get through all this today.
5                               MS. HAGAN:    Mm-hmm.
6         BY MS. CANFIELD:
7                   Q   Dr. Kaye, are you currently employed?
8                   A   No.
9                   Q   Have you been employed at any point during
10        this year?      And I'm talking about 2021.
11                  A   Yes.
12                  Q   And where were you working?
13                  A   I was doing per diem work at Gracie Square
14        Hospital in New York City.
15                  Q   And when did you stop doing that work?
16                  A   First -- I think the first or second week of
17        August.
18                  Q   And how long had you been employed at Gracie
19        Square?
20                  A   I had -- I've had admitting privileges at
21        Gracie Square on and off since 1996.             And I worked
22        there in different capacities.
23                  Q   Okay.     Let's go through those capacities.
24                      When you started in 1996, what was your
25        capacity at Gracie Square?

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1                   A   I was a voluntary attending and I did
2         attending coverage.
3                   Q   Okay.   And how long did you do that?
4                   A   I did that on and off until around 2004.
5                   Q   Okay.   And did your role change at Gracie
6         Square in 2004?
7                   A   My role didn't change.           I just stopped
8         wanting to work on the weekends and stopped -- and so
9         I -- I stopped doing the voluntary attending coverage
10        for a while.      So I just -- it was per diem work.             I
11        just decided that -- I just stopped doing it for a
12        while.
13                  Q   Okay.   And did you resume that work at any
14        point?
15                  A   In 2010, I went back.           It was around 2010 I
16        think, I went back and I started doing some overnight
17        moonlighting shifts.        And I also then at some point
18        started doing the weekend attending coverage
19        sometimes.      Periodically.
20                  Q   What were your job responsibilities as a
21        voluntary attending?
22                  A   A voluntary attending?
23                  Q   Yeah, attending.
24                  A   I would go see the patient and talk to the
25        staff and review the chart, and address any medical

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1         issues pertaining to the psychiatric treatment and
2         write a note.
3                   Q   Okay.
4                               THE REPORTER:         Did you say "write a
5         note"?
6                               THE WITNESS:     Write a note in the
7         chart.
8         BY MS. CANFIELD:
9                   Q   Was that consistent between 1996 and 2004
10        when you were performing that work as a voluntary
11        attending?
12                  A   I was a volunteer attending, and that just
13        meant that they didn't pay me.                I didn't get a salary,
14        but I had admitting privileges and my privilege is at
15        the hospital to work there, to going there and see
16        patients and treat patients.                That's all that meant.
17        And I was unpaid, but I was the medical staff.
18                      And yeah, the coverage for -- the coverage
19        for these patients was always the same thing.                I would
20        see the -- round on the patient, address the issues,
21        write a note.
22                  Q   And what was the advantage of performing
23        that work when you weren't being paid?
24                              MS. HAGAN:     Objection as to form.
25                              THE WITNESS:     I -- I was covering for

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1         other attendings, and so I would get paid for the
2         services that I rendered for those patients.
3         BY MS. CANFIELD:
4                   Q   Okay.     So you were getting paid?        It was not
5         a total -- it was --
6                   A   I was not getting paid by Gracie Square
7         Hospital.
8                   Q   So who was paying you?
9                   A   Whatever insurance the patients had.
10                  Q   Okay.     And when you went back in 2010 --
11                  A   Well, let me just clarify.          I was getting
12        paid -- I -- in order to be the volunteer attending, I
13        would -- I -- I was -- a billing service was doing the
14        billing through the primary volunteer attending's
15        practice.      So I wasn't really involved in that.             And
16        then I would get paid based on what they collected
17        from insurance, from the billing.              But I wasn't -- I
18        was not directly billing the insurance company.                 I was
19        involved in like a -- as part of -- like, I would work
20        for the PC -- the professional corporation of the
21        attendings who wanted coverage.
22                  Q   Okay.     What was the name of that
23        professional corporation?           Do you remember?
24                  A   There's been many over the years.
25                              MS. HAGAN:    If you don't know, then --

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1                                 THE WITNESS:     Yeah.      I don't know.         I
2         think it was called Yorkville PC or something.                      And
3         then there was one that was Medical Healthcare.                      I
4         mean, I don't remember --
5         BY MS. CANFIELD:
6                   Q     Okay.
7                   A     -- what they called their PCs.            I just --
8                   Q     Okay.     And then when you went back in 2010,
9         you said that you were moonlighting overnight shifts
10        as a weekend attending.              Were your job
11        responsibilities the same?
12                  A     It wasn't quite the same as being --
13                                MS. HAGAN:     Objection.      It assumes
14        facts that she didn't testify to.                  She didn't say that
15        she was moonlighting overnight shifts.                  She didn't
16        testify to any of that.
17                                MS. CANFIELD:         She did, but go ahead.
18                                THE WITNESS:     I -- when I did -- it was
19        like I was the house doctor.                  So I would do
20        admissions.        I would take care of all the psychiatric
21        emergencies that would come up throughout the -- the
22        shift.        And I would renew medications, review charts
23        to, you know, see if medications were expiring and if
24        they should be renewed or changed.                  I would deal with
25        issues that would come up in the units with patients

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1         or, you know, questions with staff.             I would, of
2         course, document everything in the chart.               And
3         sometimes when patients had to be sent out, I would,
4         like, have to talk to doctors or nurses in emergency
5         rooms where the patients were about what happened or
6         what was going to happen.
7                               And, you know, so it was -- it was --
8         Gracie Square was across the street from where I
9         lived, so sometimes they would, you know -- I would
10        just go over there and help out when they needed me,
11        if I could.      And it might not have been a specific
12        moonlighting shift.         Like, if they had 23 admissions
13        or something like that, sometimes they would ask me if
14        I could come help.
15        BY MS. CANFIELD:
16                  Q   Okay.     Approximately how many hours -- if
17        you could estimate, how many hours would you work
18        there per week?
19                  A   Wow, that's very variable.         Are you saying
20        during the attending coverage or during the house
21        doctor overnight shifts, or some kind of combination
22        thereof?
23                  Q   A combination.
24                  A   It was very variable and it was contingent
25        on childcare and other issues if -- going on.                 But I

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1         don't know.      Maybe it could be 12 hours or, you know,
2         if I -- if I happen to do a 24-hour shift of being a
3         house doctor, I mean, it could be 24 hours, but I was
4         allowed to work, you know -- stay at home because I
5         lived across the street and even the call room wasn't
6         in the hospital.       It was down the street.
7                       So I don't know.       There were times where I
8         took 24-hour shifts on -- on Saturday or Sunday.
9                   Q   Okay.   And when did you stop -- you said
10        that you stopped the second week -- the first or
11        second week of August working at Gracie Square.                 I'm
12        assuming you mean this year, 2021?
13                  A   Yeah.   I stopped doing the overnight shifts
14        I think in 2014 or so.         And I then did the per diem.
15        I was a per diem -- so the other thing that I started
16        -- they started hiring me in a bit of a different
17        capacity.      Instead of just doing attending coverage
18        and rounding on patients -- private patients, they had
19        transitioned their care model in I think it was 2014.
20        And private attending psychiatrists who were admitting
21        patients to Gracie were no longer -- like, they
22        weren't doing that model where private attending
23        psychiatrists would have their own patients and follow
24        their own patients.        They -- they got more closely
25        affiliated with NYP and they started having full-time,

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1         salaried attendings.         And then --
2                   Q   I'm sorry.     Did you say NYPD?
3                   A   NYP Hospital.
4                   Q   Oh, NYP?     Okay.
5                   A   New York Presbyterian Hospital.
6                   Q   Okay.   Right.
7                   A   And so they no longer had that attending
8         where the attendings would come in and round on their
9         patients and then, you know, go to their private
10        offices.
11                      They -- they never had, like, salaried
12        attendings there with a patient load.              And they
13        switched to that model.
14                      I never worked as a salaried employee, but I
15        did work this summer in that model as a per diem
16        attending.      So I was a per diem attending at Gracie --
17        at Gracie Square.
18                  Q   Okay.   Beginning in 2014?
19                  A   Yeah.   Maybe off and on as I -- I don't know
20        when they -- there was a phaseout with the private
21        attendings.      And as they pulled in more salaried
22        doctors and phased out the private attendings, I'm not
23        so sure -- I think that took a couple years.                So I
24        don't know that it was, like, 2014 that the private
25        attending coverage in the previous incarnation had

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1         been phased out.         I don't think it was.        It took -- it
2         took a while.
3                          But to the point of your question, this
4         summer I was doing attending coverage.               I had a
5         caseload and I took care of that caseload.               And I -- I
6         worked along with the other clinical staff in -- in
7         caring for the patients.
8                   Q      And approximately how many hours were you
9         working over the summer in 2021?
10                  A      Well, I was getting paid for a full day of
11        work.         I did have reasonable accommodations.         I
12        stopped working in the middle of the summer after my
13        surgery.         And then I came back with reasonable
14        accommodations.
15                         So I was getting paid for a full day, but I
16        wasn't carrying a full -- I couldn't carry a full
17        caseload because of the surgery.               I couldn't -- I
18        couldn't type and use my right arm, so I was, you
19        know, typing with my left pointer finger and
20        everything is electronic.           The medical record and
21        every -- sending emails and everything.               So I was
22        very, very slow in being able to get the -- the
23        charting and other stuff done.              So they cut my hours
24        in half.
25                  Q      So approximately how many hours did you have

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1         this summer?      You said you were working pretty much
2         full-time until your surgery?
3                   A   I mean, I wouldn't -- they didn't cut my
4         hours in half.        They cut my patient load in half and
5         they just -- they were letting -- they said I could
6         work from home.        I just went over and I saw the
7         patients and I would go over.                 And if there was a
8         family meeting or a Zoom meeting out -- outside the
9         agency, you know, an outpatient clinic or something,
10        or an -- team or something like that, I would go over,
11        but I wasn't carrying a full load after my surgery.
12                  Q   Okay.    What about in 2020, were you working
13        at Gracie Mansion?           I mean Gracie Square.        Sorry.
14        Gracie Square.
15                  A   Yeah.    No.
16                  Q   Gracie Square.        Sorry.
17                  A   That's okay.       I think I might have done a
18        little coverage at times.            I -- I don't know.
19                  Q   Okay.    What about 2019?
20                  A   Wait, 20 -- okay.         Hold on.      I'm sorry.     Let
21        me just get -- let me -- I have to orient myself, so
22        please, let me just -- okay.                 2020, pandemic.   So,
23        pre-pandemic, after I felt I had to resign from my
24        job, which I didn't really want to do, but I resigned
25        in January 2020.        And then I worked a little bit at

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1         Gracie -- Gracie Square Hospital.                   And then -- in
2         2020.         And then the pandemic hit and they had to --
3         NYP -- New York Presbyterian Hospital has a bunch of
4         -- had other psychiatric hospitals like Brookdale and
5         I think Methodist and maybe -- I don't know.                   They had
6         some -- they converted all their outer borough
7         psychiatric facilities to medical facilities because
8         of the pandemic.            And all of those salaried doctors
9         came over to Gracie -- were sent over to Gracie, and
10        Gracie decreased their census from about 150 to about
11        60 because of the need for social distancing.
12                         So they had a surplus of doctors and a --
13        and a paucity of patients and they didn't need me.                     So
14        that was --
15                  Q      Okay.
16                  A      And I no longer had per diem options there,
17        so I just -- I think I worked there in 2020 -- in
18        February and the beginning of March before everything
19        happened.
20                  Q      Okay.     What about 2019?         Were you at Gracie
21        Square in 2019?
22                                 THE REPORTER:         Please ask the question
23        again.         Sorry.
24        BY MS. CANFIELD:
25                  Q      Were you working in any capacity at Gracie

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1         Square in 2019?
2                   A   Yes.
3                               MS. HAGAN:     Objection to form.
4         BY MS. CANFIELD:
5                   Q   Okay.     And approximately how many hours were
6         you working at Gracie Square in 2019?
7                               MS. HAGAN:     Objection.
8                               THE WITNESS:     I -- I can't recall.        I
9         --I don't know.
10        BY MS. CANFIELD:
11                  Q   But you were performing some work there?
12                  A   I was working there on and off, yeah.
13                  Q   Okay.     What about 2018?       Were you also
14        performing work at Gracie Square Hospital?
15                  A   On and off, yes.
16                              MS. HAGAN:     Objection.
17        BY MS. CANFIELD:
18                  Q   Okay.     And what about 2017?       Were you
19        performing work at Gracie Square Hospital in 2017?
20                  A   Yes.
21                              MS. HAGAN:     Objection.
22        BY MS. CANFIELD:
23                  Q   Okay.     And how about 2016 -- were you
24        performing work at Gracie Hospital?
25                              MS. HAGAN:     Objection as to form.

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1                                 THE WITNESS:     I'm -- I'm guessing that
2         I -- since 2010, I would have these gaps of time where
3         I wouldn't work there, and then I would work there.
4                                 So since I went back and renewed my
5         medical admitting privileges in 2010, I worked there
6         on and off.
7         BY MS. CANFIELD:
8                   Q     Okay.     And you said that you were paid by a
9         professional corporation and you gave two names, and
10        you said sometimes the names change.                Did that
11        continue from 2014 up to 2021, that you were paid
12        through insurance billing?
13                  A     No.
14                                MS. HAGAN:     Objection as to form.
15                                You can answer if you understand the
16        question.
17                                THE WITNESS:     No.
18        BY MS. CANFIELD:
19                  Q     Okay.     So who paid you in 2021?
20                                MS. HAGAN:     Objection.
21                                THE WITNESS:     So as I said, that
22        private practice model was phased out over a couple of
23        years.        And then during that same time, they were kind
24        of phasing in the same model, but it was through NYP.
25                                So NYP -- well, it was really Gracie

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1         Square, but the parent company is NYP -- started
2         paying me in a comparable-kind of way, similarly to
3         the way I was getting paid by those PCs.
4         BY MS. CANFIELD:
5                   Q   Okay.
6                   A   That Gracie -- instead of the private
7         attending calling me up and saying, "Hey, can you
8         cover my patients this weekend?"              The chief medical
9         officer of Gracie, or her, you know -- or her chief
10        administrative assistant would call me up or text me
11        or whatever -- contact me and say, "Can you cover?"
12        And that kind of shifted over.
13                      So I started -- instead of covering for the
14        private attendings, I started covering for NYP, but it
15        was comparable work.        And the pay was coming then from
16        NYP.
17                      Well, when I say NYP, it's just because
18        that's who kind of owns and runs Gracie.               But I think
19        that the pay came from Gracie, but it was processed
20        through NYP.
21                  Q   Okay.   All right.      I'm going to call for the
22        production of your paycheck slips or however way you
23        were paid in 2021.        I know that you haven't received a
24        1099 or any type of tax document yet, but whatever you
25        have, I call for that production.

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1                       And in 20 --
2                               MS. HAGAN:     I will take that under
3         advisement and in writing, Counselor.
4         BY MS. CANFIELD:
5                   Q   What about in 2020?            Did you receive a 1099
6         for your work at Gracie Square in 2020?
7                               MS. HAGAN:     Objection.
8                               THE WITNESS:     Yeah.      I worked there
9         before the pandemic, so yeah.
10        BY MS. CANFIELD:
11                  Q   Okay.     So I would like a copy of any 1099
12        that you received from Gracie Square in 2020.
13                              MS. HAGAN:     We'll take that under
14        advisement.      Please put that in writing.
15                              MS. CANFIELD:         I've already requested
16        it as part of discovery, but I will follow-up in
17        writing.
18                              MS. HAGAN:     Mm-hmm.
19        BY MS. CANFIELD:
20                  Q   And then for years 2019, 2018, 2017 and
21        2016, did you receive 1099s for your work at Gracie
22        Square?
23                              MS. HAGAN:     Objection.      Take --
24                              THE REPORTER:         What did you say, Ms.
25        Hagan?

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1                                  MS. HAGAN:     Strike the latter part.
2                                  Objection.
3                                  MS. CANFIELD:         You can't strike my
4         question.
5                                  MS. HAGAN:     No.      I said strike the
6         latter part of my --
7                                  MS. CANFIELD:         Oh, of your objection.
8         Okay.         Okay.
9                                  THE WITNESS:     I'm sorry.      Can you
10        repeat your question?
11        BY MS. CANFIELD:
12                  Q      I wanted to know for the years 2019 back to
13        2016, if you received a 1099 from Gracie Square or
14        from these billing corporations?
15                  A      I -- I likely did and I also would like to
16        clarify that when I was a moonlighter, what I call the
17        house doctor and did those overnight shifts, even if
18        they were just a 12-hour dayshift on the weekend or
19        whatever.         When I did those house doctor shifts, that
20        was paid on a W-2.
21                  Q      Okay.     All right.     Thank you for that
22        clarification.            So I am calling for the production of
23        all evidence of compensation that you received through
24        your work at Gracie Square.               Whether that's a 1099 or
25        a W-2 for the years 2015 to 2021.

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1                              MS. HAGAN:     Objection.     I mean, not
2         objection.      I'm sorry.     We'll take that under
3         advisement.      Please be sure to follow-up in writing.
4         BY MS. CANFIELD:
5                   Q   Other than employment at Gracie Square
6         Hospital, were you employed any place else this year
7         back to 2015, other than CHS and Bellevue?
8                              MS. HAGAN:     Objection as to form.
9                              You can answer if you understand.
10                             THE WITNESS:     Yes.
11        BY MS. CANFIELD:
12                  Q   Where else were you employed?
13                  A   An agency called AABR.          And that's an
14        acronym for Association of the Advancement of the
15        Blind and Retarded.        It's AABR Inc.
16                  Q   Thank you.     And when did you start working
17        for that organization?
18                  A   1999 I think.
19                  Q   Did that continue for a number of years?
20                  A   Yes.
21                  Q   How many years?
22                  A   Until this September.
23                  Q   September 2021?
24                  A   Yes.
25                  Q   And what did you do for AABR?

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1                   A   I was the -- I was a psychopharmacologist
2         consultant.      So I was the consulting
3         pscyhopharmacologist for some of their patients.
4                       They -- they call them "consumers," but to
5         me, they were patients.
6                   Q   Okay.     And approximately how many hours per
7         week were you working as a psychopharmacologist
8         consultant?
9                   A   I didn't work there every week.
10                  Q   Okay.     Starting with this past year, 2021,
11        how often were you working for AABR, approximately?
12                  A   Once a month.
13                  Q   What about in 2020?
14                              MS. HAGAN:     Objection as to form.
15                              THE WITNESS:     About the same.
16        BY MS. CANFIELD:
17                  Q   2019?
18                              MS. HAGAN:     Objection.
19                              THE WITNESS:     It averaged about once a
20        month.
21        BY MS. CANFIELD:
22                  Q   2018?
23                  A   The same.
24                  Q   2017?
25                  A   About a month -- about once a month.

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1                   Q   2016?
2                   A   The same.
3                   Q   2015?
4                   A   Yes, once a month.
5                   Q   Okay.     How were you paid by AABR?
6                   A   I billed for my services and they paid me
7         directly.
8                   Q   How often would you bill for your services?
9                   A   Once a month.
10                  Q   Did you receive a tax document from AABR
11        each of the years that you worked for them, or
12        performed work for them?
13                              MS. HAGAN:     Objection as to form.
14                              You can answer.
15                              THE WITNESS:     Yes.
16        BY MS. CANFIELD:
17                  Q   What did you receive?
18                  A   1099.
19                  Q   All right.     I'm going to call for the
20        production of the 1099s that you received from AABR
21        for the years 2015 through 2021.               And I will put it in
22        writing.
23                              MS. HAGAN:     We'll take it under
24        advisement.
25        //

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1         BY MS. CANFIELD:
2                   Q   Any other employment that you've held?
3                   A   I had these on and off, like, short little
4         consulting requests where I would be asked to do
5         capacity evaluations and/or a psychopharmacologic
6         consultation.         A consultation for psychopharmacology
7         and/or a consultation for capacity evaluation.                 And I
8         was asked to do that by some of these same doctors who
9         had PCs that were asking me to cover their patients at
10        Gracie.
11                  Q   Okay.     And have you done those evaluations
12        or consultations fairly consistently between the years
13        2015 to 2021?
14                  A   No.
15                              MS. HAGAN:     Objection.
16        BY MS. CANFIELD:
17                  Q   Okay.     How many have you done?
18                              MS. HAGAN:     Objection.
19                              THE WITNESS:     It's difficult for me to
20        quantify because it was a while ago, but I would be
21        asked to go into the facility, assess the patient,
22        determine his or her capacity to participate in
23        treatment planning and discharge planning.               And then
24        sometimes I would be asked to look at the medications
25        -- the medical and psychiatric medications, if there

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1         were any, and -- in relation to whatever the
2         consultation question was about behavior, thought,
3         psychosis, depression -- whatever it was -- and make a
4         recommendation about the medications and then render
5         an opinion on the capacity and put that --
6         BY MS. CANFIELD:
7                   Q   Okay.     And you said that -- I believe you
8         testified that this work came to you through your work
9         at Gracie Mansion -- or Gracie Square?
10                              MS. HAGAN:     Objection as to form.        And
11        assumes facts --
12                              THE WITNESS:      Yeah.    Some of the
13        doctors at -- I think.          Yeah.       I think one of the
14        doctors that I had met at Gracie -- one of the private
15        attendings, I think I might have met him maybe when I
16        was moonlighting or something.               I don't know.     But he
17        asked me if I would do that.
18                              And then another doctor I had met
19        through outside sources.           So --
20        BY MS. CANFIELD:
21                  Q   Okay.     Were you ever asked to engage in
22        consulting work through any of the attorneys that
23        you've met through your work at CHS or at Bellevue?
24                              MS. HAGAN:     Objection as to form.        Can
25        you specify a time period?

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1                               MS. CANFIELD:         I did.     While working at
2         CHS and at Bellevue.
3                               THE WITNESS:     Yeah.         I was -- I was
4         contacted by legal aid.            It was after my forced
5         resignation and I was contacted about several cases
6         and asked to -- they wanted to discuss them and they
7         asked me to evaluate the -- their client.                   And --
8         BY MS. CANFIELD:
9                   Q   How many clients did you evaluate?
10                  A   Two.
11                  Q   Two?     And how were you compensated?
12        Actually, let me withdraw that.
13                      Who compensated you?            Legal aid?
14                              MS. HAGAN:     Objection.
15                              THE WITNESS:     Well, that's who's
16        supposed to compensate me.            I haven't been paid yet,
17        but yeah.
18        BY MS. CANFIELD:
19                  Q   Okay.     When did you conduct these two
20        evaluations?
21                  A   I've been paid for one of the evaluations.
22        Not the other one.
23                              THE REPORTER:         Please repeat the
24        answer.
25                              THE WITNESS:     I've been paid for one of

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1         the evaluations.         Not the other.
2                               I think that it was in maybe January.
3         BY MS. CANFIELD:
4                   Q   2021?
5                   A   Yeah.
6                   Q   Okay.     And when was the other evaluation?
7                   A   Well, the other evaluation was ongoing.
8         There was a lot of collateral information I had to
9         collect.      But are you asking -- when you say
10        "evaluation," are you asking when I wrote the report?
11        When I interviewed the -- the --
12                  Q   When you completed the work on the
13        evaluation.
14                  A   September of this year.
15                  Q   Okay.     Thank you.     And did you perform any
16        consultancy work in 2020?
17                              MS. HAGAN:     Objection.
18                              THE WITNESS:     Yes.
19                              THE REPORTER:         Ms. Hagan, did you say
20        something?
21                              MS. HAGAN:     Yes.      Objection.
22        BY MS. CANFIELD:
23                  Q   Okay.     And --
24                  A   Do you mean consulting or do you mean per
25        diem?

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1                   Q   The consulting work that you were talking
2         about just now, you said that you were doing
3         consulting whether that's competency or
4         psychopharmaceutical?
5                   A   Psychopharmacology.           Yeah.    I'm sorry.   I
6         misunderstood the question.
7                       No.     I -- I did work per diem at Gracie
8         Square in 2020, but I was per diem.                 I -- so I guess
9         it's -- I'm calling that something different than
10        consulting.
11                  Q   Right.     But you had already testified to the
12        fact that you were doing per diem work at Gracie
13        Square, correct?
14                  A   Right.
15                  Q   Okay.     I'm mostly interested in the
16        consulting work that you were doing that you were
17        billing yourself --
18                  A   Okay.
19                  Q   -- to perform.
20                      Did you do any of that work in 2020?
21                              MS. HAGAN:     Objection as to form.
22                              THE WITNESS:     That one case that was
23        very long and complicated, it's possible that the
24        lawyers may have reached out to me in 2020, but it was
25        the same case I talked about for 2021.

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1         BY MS. CANFIELD:
2                   Q       Okay.   How about for 2019?
3                   A       No.
4                   Q       No work?
5                   A       When you're saying "consulting," can you
6         just define specifically what you mean?              Like, which
7         -- you're not talking about Gracie Square and you're
8         not talking about AABR?
9                   Q       Correct.
10                  A       Okay.
11                  Q       Did you perform any consultancy work in
12        2019?
13                  A       No.
14                  Q       2018?
15                  A       No.
16                  Q       2017?
17                  A       I might have done some of those.       I mean,
18        yeah.          I don't know if I did any -- I might have done
19        some of those nursing home capacity evaluations in
20        '17.          I'm not sure.     And --
21                  Q       I'm sorry?
22                  A       Yeah.   I might have done some of those
23        nursing home pharmacology capacity consults.                I don't
24        remember the -- the date span of when I did those.                    It
25        was kind of a infrequent situation and it didn't --

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1         and I didn't do it for a long period of time.
2                   Q   Okay.     What about in 2016?
3                               MS. HAGAN:     Objection to form.
4                               THE WITNESS:     Again, the same thing
5         with those nursing home and care facility
6         consultations.
7         BY MS. CANFIELD:
8                   Q   Okay.     And then 2015?
9                   A   Again, I -- I -- there was a span of time
10        where I was doing that -- that type of work where I
11        was being asked to go do those capacity evaluations
12        and make pharmacologic --
13                  Q   Okay.
14                  A   -- psychopharmacologic recommendations.              So
15        yeah, that could have been happening then.               I don't
16        have the dates on the top of my head.
17                  Q   Okay.     Do you recall why you stopped doing
18        the nursing home consultations?
19                  A   Yes.
20                              MS. HAGAN:     Objection.
21        BY MS. CANFIELD:
22                  Q   Why is that?
23                  A   Because of it taking up too much time
24        outside of my primary job.            I -- going to the nursing
25        homes on the weekends or in the evenings would require

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1         childcare issues.             I would be away from my kids.           It
2         wasn't -- I wasn't making that much money and, you
3         know, by the time I calculated in the problems with
4         getting childcare and that was challenging for, you
5         know, later in the evening and being away from my kids
6         and paying for childcare, and how much money I was
7         making.          And after taxes, it was just completely -- it
8         made no sense.
9                   Q       Okay.
10                  A       And --
11                                  THE REPORTER:         I'm sorry.   Repeat what
12        you said after "no sense."
13                                  THE WITNESS:     It made no sense for me
14        financially or personally.
15        BY MS. CANFIELD:
16                  Q       Okay.     And what about your work at AABR and
17        at Gracie Square?             Were you working -- performing work
18        at those two facilities more regularly in 2015, 2016
19        and 2017 would you say?
20                                  MS. HAGAN:     Objection as to form.
21                                  THE WITNESS:     I would say it was always
22        -- it was per diem, which means as-needed.                     So it was
23        in chunks of time and then in not, and then on and
24        off.          I mean, not with Gracie.
25                                  With AABR, it was pretty consistently,

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1         you know -- I would consult with them on a regular
2         basis -- monthly.
3         BY MS. CANFIELD:
4                   Q   With AABR?
5                   A   AABR, yeah.
6                               MS. HAGAN:    Wait a second.       Can we take
7         a break?      A bathroom break?
8                               MS. CANFIELD:         Just let me finish this
9         line of questioning then we're done.
10                              MS. HAGAN:    I really need to go to the
11        bathroom.      Excuse me.     Hold on for a second.            I need
12        --
13                              THE REPORTER:         The time is 1:33 p.m.
14        We're off the record.
15                                   (Off the record.)
16                              THE REPORTER:         The time is 1:40 p.m.
17        We're back on the record.
18        BY MS. CANFIELD:
19                  Q   Okay.     So you testified that your time at
20        AABR was fairly consistent, and it looks that way
21        based on your testimony.           You were consistently
22        providing consultancy work there once a month.
23                      My question is with respect to Gracie
24        Square, were you doing more work there in 2016, 2017
25        and 2015 as compared to 2017 -- I'm sorry.                As

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1         compared to 2018 to the present?
2                                  MS. HAGAN:     Objection as to form.
3         BY MS. CANFIELD:
4                   Q      Or at least when you stopped working there?
5                                  MS. HAGAN:     Objection as to form.
6                                  THE WITNESS:     I don't know if I can
7         answer that because, again, I worked in chunks of
8         time.         I worked at -- I worked at that chunk of time
9         after I was forced out of CHS, and I worked until the
10        pandemic caused them to drop their census and have too
11        many doctors.            I worked a chunk of time this summer.
12                                 So it goes and -- and, you know, it has
13        -- it's been in chunks of time.                   So I guess it's hard
14        to say what years I had more work than others.                    Like,
15        it's hard for me to answer that if I am going to be
16        accurate, because I really don't know.
17        BY MS. CANFIELD:
18                  Q      Okay.     Your work at Gracie Square, was it
19        primarily on the weekends?               Did you do -- perform any
20        work during the week?
21                  A      Sometimes during the week and sometimes
22        during the weekend.
23                  Q      Okay.     What about at AABR?         Did you perform
24        that work on the weekend or during the week?
25                                 MS. HAGAN:     Objection.      Form.

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1                               THE WITNESS:     It varied.    Sometimes the
2         week, sometimes the weekend.
3         BY MS. CANFIELD:
4                   Q   Okay.     And the consultancy that you did, the
5         competency exams and the nursing home consulting, did
6         you do that primarily on the weekends or during the
7         week sometimes?
8                   A   I didn't do competency exams.          It was --
9         these weren't criminal defendants.             These were -- it
10        was capacity evaluations.
11                  Q   Oh, apologies.
12                  A   But yeah, I -- it was -- it was both, but
13        you know, it did -- there were mornings that I would
14        go there early Saturday morning and, you know, I would
15        come home and the kids would be awake and I -- and I
16        -- I just decided that this is, you know, not -- not a
17        good thing for -- for me, for a lot of reasons.
18                  Q   Okay.     Did the oversight that CHS, when it
19        took over the clinics, and the strict hours that you
20        were required to work, did you find that interfered
21        with some of the consultancy work that you were doing?
22                              MS. HAGAN:     Objection as to form.
23                              THE WITNESS:     The -- the problem with
24        the hours at CHS was the -- I was promised very
25        specifically by my union who had negotiated with the

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1         transfer and that I would be grandfathered in, and my
2         working conditions wouldn't change in any way.
3                            And then in April, when I was down on
4         Water Street and brought the -- my concerns to the
5         attention of Dr. Ford and Dr. Jain about pay parity
6         and about my working -- how my -- all my union
7         benefits and all my working -- my title, my shift,
8         everything was going to stay the same.              My location.
9         I didn't -- I didn't want to go to Rikers.               And Dr.
10        Ford brought me over to speak with Jessica Laboy and
11        Mr. Wangel and I was assured that nothing was going to
12        change.    Everything would stay the same.             So I was
13        fine with that, you know?          A 9:00 to 5:30, you know?
14        That was fine.
15                           The problem happened after I filed my
16        EEOC complaint and I told Dr. Jain about my EEOC
17        complaint.     They changed my shift.          And that was just
18        brutal for me.       Brutal.    They said I had to be at work
19        at 8:00 in the morning.         They increased my unpaid work
20        -- my unpaid lunch hour from 30 minutes to an hour,
21        which extended my work day to nine hours.               And it just
22        -- it -- it -- you know, when you're a single mom with
23        two kids, ten minutes makes all the difference in the
24        world, you know?       Much less an hour.        And it just
25        threw our lives into chaos.           And it was super

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1         stressful.      And the reason for doing it kept shifting.
2                               First, they were telling me it was
3         because the system couldn't handle a 30-minute lunch,
4         but I've had a 30-minute lunch per negotiations with
5         the union and Bellevue and the rest of the enterprise,
6         and other non-CHS agencies, for almost 13 years.                 And
7         that had been negotiated when the doctors went from a
8         37.5 to a 40-hour work week.                They decreased the
9         unpaid lunch hour from an hour unpaid in the middle of
10        the day to 30 minutes unpaid in the middle of the day.
11        Or even if you want to take it at the end of the day,
12        some of the managers allowed that.
13                              So that was -- that -- that was
14        devastating.        And I would say that impacted my life
15        the most.
16        BY MS. CANFIELD:
17                  Q   Okay.     So I hear you saying that the shift
18        change affected your personal life the most.                My
19        question is did it affect your ability to continue
20        with your work at Gracie Square, with AABR, and with
21        some of the other consultancy work that you were doing
22        and privately billing?
23                  A   No.
24                              MS. HAGAN:    Objection as to form.
25        //

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1         BY MS. CANFIELD:
2                   Q      I'm sorry?
3                   A      No.
4                   Q      Okay.
5                                  MS. HAGAN:     And just to note, I
6         objected to the question prior to Dr. Kaye's response.
7                                  MS. CANFIELD:         Okay.
8         BY MS. CANFIELD:
9                   Q      One last question.            Have we exhausted all
10        other outside employment?
11                  A      I don't know.        There's nothing that comes to
12        mind.         I mean, if -- I mean, the names of those
13        nursing homes were very varied.                   I know there was --
14        do you want me to try to name those nursing homes
15        where they had me doing the consulting?
16                  Q      No.     No thank you, but I have requested your
17        tax records and paystubs from that time period, so
18        those documents will tell me where they were, okay?
19                                 MS. HAGAN:     We'll take it under
20        advisement.
21        BY MS. CANFIELD:
22                  Q      So there's no reason to rack your brain.
23                                 MS. HAGAN:     Again, we'll take it under
24        advisement.
25        //

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1         BY MS. CANFIELD:
2                   Q       And I have a question.         Why did you need to
3         find new attorneys?
4                                MS. HAGAN:     Objection.
5                                THE WITNESS:     Because when I --
6                                MS. HAGAN:     Wait, wait, wait.
7         Objection.          This goes into attorney-client privilege.
8                                MS. CANFIELD:         It actually doesn't.
9                                MS. HAGAN:     She's not going to answer
10        that question.
11                               MS. CANFIELD:         But it's not your
12        privilege.          It's her privilege to assert, and I'm
13        talking about the --
14                               MS. HAGAN:     And I'm asserting it for
15        her.          This is something that she's made a decision as
16        far as -- concerned.
17                               MS. CANFIELD:         It's not privileged.
18        BY MS. CANFIELD:
19                  Q       Why did you --
20                               MS. HAGAN:     She's not going to answer
21        that question.          You need to move on.
22                               MS. CANFIELD:         I've asked the question.
23                               MS. HAGAN:     Well, you're going to have
24        to -- going to put a blank in the record.
25                               THE REPORTER:         I'm sorry.   Please speak

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1         one at a time.
2                               MS. HAGAN:     I'm saying that my client
3         is not going to answer that question.                She's not.
4         It's not relevant and it touches on attorney-client
5         privilege.
6                               MS. CANFIELD:         It does not, but can you
7         please mark that for the record and we'll -- I'll
8         follow-up with the Court later.
9                               MS. HAGAN:     Mm-hmm.
10                              MS. CANFIELD:         All right.   Just the
11        last set of questions and then we can take a break.
12        BY MS. CANFIELD:
13                  Q   Dr. Kaye, your name is Dr. Melissa Kaye?                Do
14        you have a middle name?
15                  A   Tosyl.
16                              THE REPORTER:         Please repeat that.
17                              THE WITNESS:     Tosyl, T-O-S-Y-L.
18        BY MS. CANFIELD:
19                  Q   Okay.     And have you been known by any other
20        name other than Dr. Melissa Kaye Tosyl, or Tosyl Kaye?
21                  A   Yeah.     My -- my name is Melissa Tosyl Kaye
22        and I was at one point known as Melissa Kaye Gavend.
23                  Q   Okay.
24                  A   G-A-V-E-N-D.
25                  Q   And did you change your name?

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1                   A   I did.
2                   Q   And for what reason?
3                   A   My given name is Melissa Kaye and I was in
4         college and there was a group of us girls who decided
5         that we would change our names for various reasons,
6         and that's what we did.
7                   Q   Okay.
8                   A   One of the girls name -- changed her name to
9         Diana after a goddess, and I forget what the other
10        ones did.      And we went down to the Boulder County
11        Clerk and changed our names.
12                      We were in the women's studies program and
13        we just kind of felt that was asserting our
14        personhood.
15                  Q   I understand.       I have a women's studies
16        graduate degree.
17                      So your name -- your surname was -- last
18        name was Kaye?
19                  A   No.     My -- my middle name is Kaye.         My given
20        name -- well, when I say "given," I mean my parents
21        named me Melissa Kaye and my middle name was Kaye, and
22        my last name was Gavend, G-A-V-E-N-D.
23                  Q   Okay.     Okay.    I'm sorry.    Okay.
24                  A   My name that I was given at birth.            And I --
25        and then my nickname.           And I just took my -- and

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1         that's how I -- I got my name.              I changed my name
2         because I was --
3                   Q   Okay.
4                   A   -- Melissa Kaye as my middle -- as my first
5         and middle name.         I changed Kaye to be my last name
6         and took my nickname as my middle name.
7                   Q   So Tosyl was your nickname?
8                   A   Tosyl.
9                   Q   Tosyl.
10                  A   Yeah, it was a nickname.
11                  Q   Thank you.     And are you married?
12                  A   No.
13                  Q   Okay.     Have you been married?
14                  A   No.
15                              MS. HAGAN:    Objection.
16        BY MS. CANFIELD:
17                  Q   And you have children, correct?
18                  A   Yes.
19                  Q   How many?
20                  A   Two.
21                  Q   Okay.     And what are their names and ages?
22                  A   B -- and J -- and --
23                  Q   How old are they?
24                  A   They're 12.
25                  Q   Are they twins?

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1                   A   Yes.
2                   Q   Are they paternal or fraternal?
3                   A   They're boy/girl, so --
4                   Q   Oh, yeah.     Okay.     Sorry.      That was obvious.
5                   A   It's a common question, so -- yeah.
6                   Q   Yeah, yeah, yeah.
7                   A   I -- yeah, they're fraternal.
8                   Q   And I'm assuming your children live with
9         you?
10                  A   Correct.
11                  Q   Okay.     And you stated earlier today that
12        you're living in New Mexico.                How long have you lived
13        in New Mexico?
14                  A   I gave up my apartment in New York in
15        August.
16                  Q   Did you rent or did you own?
17                  A   I rented.
18                  Q   Okay.     And since August, you've been living
19        in New Mexico.         Do you rent or do you own?
20                  A   I rent.
21                  Q   And anyone else other than you and your
22        children live with you?
23                  A   No.
24                  Q   Do you own or rent any other property?
25                              MS. HAGAN:    Objection.

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1                                THE WITNESS:       Well, I was renting my
2         apartment in New York, but now just my apartment in
3         Albuquerque.
4                                MS. CANFIELD:           Okay.    I guess why don't
5         we take a break now.
6                                THE WITNESS:       Okay.
7                                MS. CANFIELD:           I think it's a good
8         time.
9                                MS. HAGAN:      We can do 30 minutes?
10                               MS. CANFIELD:           Let's do 40.
11                               THE REPORTER:           Okay.    The time is 1:53
12        p.m.          We're off the record.
13                                       (Off the record.)
14                               THE REPORTER:           The time is 2:37 p.m.
15        We're back on the record.
16        BY MS. CANFIELD:
17                  Q       Welcome back, Dr. Kaye.
18                  A       Thank you.
19                  Q       As I said before, I will try to finish us
20        today by 6:00.          I'll do my best.
21                          I just want to talk to you a little bit
22        about the transition from Bellevue to CHS.                     I believe
23        this morning you said that you learned about the
24        transition about December of 2017.                     Am I correct of
25        that recollection?

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1                   A     Yes.
2                   Q     Okay.     And how is it again that you learned
3         of the transition?
4                   A     Dr. Jeremy Colley reached out to me and Dr.
5         Winkler.
6                   Q     I'm sorry.     Can you speak up, please?
7                   A     Yes.     Dr. Jeremy Colley reached out to me
8         and Dr. Winkler, and he informed us about this.
9                   Q     Okay.     And did he reach out to you in
10        person?        Did he telephone you?          Did he send you an
11        email?        What form of communication did he use to
12        notify you?
13                                MS. HAGAN:     Objection as to form.
14                                You can answer.
15                                THE WITNESS:     If I recall correctly, it
16        was a text message.           It could have been an email --
17        BY MS. CANFIELD:
18                  Q     Okay.
19                  A     -- but I think it was a text.
20                  Q     Okay.     And what exactly did Dr. Colley say
21        when he notified you?
22                  A     He said that he was notified that, you know
23        -- well, the plan had been always with the -- all four
24        clinics were going to consolidate under Bellevue.                  And
25        that steps were -- had been taken for that to happen,

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1         and he was involved in that.               And he was the director
2         of the Division of Forensic Psychiatry at Bellevue.
3         That was the -- the position Dr. Ford had before she
4         went to CHS.
5                       And so there was discussions about that.
6         And Elizabeth Owen had been in charge of the Brooklyn
7         and Queens centers.        And I remember emails -- I don't
8         know if we ever met in person, but I remember emails
9         and phone conversations.          And then suddenly, there was
10        this just change in the plan and he wanted, you know
11        -- he was concerned and kind of ambushed.               I think he
12        was a little rattled and he wanted to talk to Barry
13        and I -- Dr. Winkler and I and -- and find out why,
14        you know, this was happening and if, you know --
15        that's what I remember.
16                      And so we had some conversations with him.
17        I don't remember if they were in person.
18                  Q   Okay.   So if I'm understanding your
19        testimony, you said that the original plan was for all
20        the court clinics to be organized under Bellevue, and
21        that there was a change where instead of the clinics
22        having oversight by Bellevue, that they were going to
23        be transitioned to CHS.         Was that the change that Dr.
24        Colley was speaking to you about?
25                  A   Dr. Colley -- yes.           We were -- there was

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1         rumbling or discussions or meetings about the
2         consolidation of the four clinics under Bellevue.                  And
3         that abruptly changed course and Dr. Colley informed
4         me and Dr. Winkler about that.
5                   Q   Okay.   When was it that there were
6         discussions to organize the clinics under Bellevue?
7         Do you recall when that first occurred?
8                   A   It was in 2017.
9                   Q   Okay.
10                  A   -- but I -- I know it was in 2017 because it
11        was an active plan or thought or -- it was being
12        explored actively when suddenly there was this big
13        shift and CHS was going to basically -- even Dr. Mary
14        Anne Badaracco was just kind of ambushed.               Everyone
15        was just like, "Whoa, what's going on?              This is a big
16        switch."      And no one was informed about it and there
17        was no discussion.        And we had been previously on this
18        trajectory to consolidate under Bellevue.               And now,
19        we're told this.
20                      And it was -- it happened without any kind
21        of forewarning or open dialogue with people involved.
22                  Q   Okay.   Now when Bellevue was going to
23        exercise oversight of the clinics, were there
24        discussions about your role and whether or not your
25        role would change with that type of transition?

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1                   A   No.
2                   Q   Were there no discussions or were there
3         discussions that your role wouldn't change?
4                   A   There was no -- there was no indication that
5         my role was going to change.
6                   Q   Okay.     And was Dr. Colley going to have
7         oversight of all the clinics through Bellevue?
8                   A   Yes.
9                   Q   Okay.
10                  A   Well, as -- yes.        It would be Dr. Colley or
11        if -- whoever was in the director position of the
12        Division of Forensic Psychiatry at Bellevue.                  And at
13        the time, it was Dr. Colley.
14                  Q   Okay.
15                              THE WITNESS:     I'm going to turn off the
16        heater because it's going to get noisy again.
17                              MS. CANFIELD:         Okay.
18                              THE WITNESS:     Okay.        Here we go.   It'll
19        take a minute for the fan to turn off.
20                              But yeah, so it was under Bellevue
21        regardless of who was in that leader -- leadership
22        position at the time.
23                              At the time, it was Dr. Colley.
24        BY MS. CANFIELD:
25                  Q   Okay.     And were you in agreement with

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1         Bellevue taking over oversight of all the clinics?
2                                  MS. HAGAN:     Objection as to form.
3                                  THE WITNESS:     I thought it was a good
4         idea.         There was a lot of concern in the forensic
5         community about Elizabeth Owen and some tactics that
6         she employed.            So people, you know, kind of felt that
7         that -- those services in Brooklyn and Queens needed
8         to be cleaned up.            So I thought it was a good idea.
9         BY MS. CANFIELD:
10                  Q      Okay.     Now once you learned that Bellevue
11        would not be exercising oversight, but in fact, all
12        the clinics would be transitioning over CHS or
13        Correctional Health Services oversight, how did you
14        feel about that?
15                                 MS. HAGAN:     Objection as to form.
16                                 THE WITNESS:     Well, I had concerns
17        because it was done in such a surreptitious manner.
18        It was kind of done as an ambush instead of open
19        discussions with people about what was happening.                  So
20        that naturally would -- would raise red flags.
21                                 But I -- my concern was that -- that
22        CHS operated as a political wing of -- of the mayor's
23        office, and I had concerns about politicizing the 730
24        competency exams and how that would impact defendants'
25        constitutional rights.

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1                            I mean, I had concerns about things
2         that were outside of my -- my job.              And then I had
3         concerns about things that pertain to my -- my
4         employment.
5                            And primarily, you know, was I going to
6         have to go to Rikers?         Was I going to have to go off-
7         site?     Was I going -- you know, what -- what -- who
8         was I going to report to?          Were the people going to
9         maintain the integrity of -- of the process?                And I
10        was -- I was quite focused and concerned about making
11        sure that, you know, I -- I had been a public servant
12        for I think almost 20 years at the time and I was
13        planning to stay in that job another 10 or 15 years.
14        And I wanted to make sure, you know, what was
15        happening.     I wanted to know.           And my union had
16        ongoing meetings with CHS and it wasn't just because
17        of me.     There were I think five part-time -- four or
18        five part-time male psychiatrists working at the
19        Manhattan Court Clinic and it wasn't clear that --
20        that, you know -- whether or not they were going to
21        fill Dr. Ciric's role, you know, as it was, which was
22        a physician specialist unionized line, so that could
23        have made it six doctors.
24                           So the union was trying to verify that,
25        you know, what's going to change, what's going to stay

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1         the same.      And they repeatedly promised again and
2         again, everything's going to stay the same.                Nothing's
3         going to change.       No change in working conditions.
4         And the union tried to get an MOA to that effect, and
5         then CHS -- Wangel and Ford for certain were there, I
6         was told -- got real kind of slippery and said, "No.
7         We're not going to give you an MOA.               We will -- we'll
8         make a FAQ website."        It was --
9                            So they put up this website.            It's
10        long-gone now.       I didn't -- I don't have it, but with
11        these very, very general questions that didn't address
12        any of the concerns that Doctors Council had or that I
13        had.
14                           And so I wanted, you know, to make sure
15        that, you know, I knew what I was getting to.                And so
16        in April when I was down at --
17        BY MS. CANFIELD:
18                  Q   Let me -- I'm going to ask you some
19        questions about that.         So --
20                           MS. HAGAN:      You have to let her -- you
21        got to let her finish her answer though.
22                           MS. CANFIELD:           I'm going to ask her
23        questions about the April meeting --
24                           MS. HAGAN:      Can you please let her
25        finish her answers?

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1                            MS. CANFIELD:           -- with Dr. --
2                            MS. HAGAN:      Dr. Kaye, are you finished
3         with your answer?
4                            THE WITNESS:       Well, I just -- I'm sorry
5         to speak, but --
6                            MS. CANFIELD:           We're not going to
7         finish within the seven hours and I'll have to write
8         to the Court.      I'm just trying to move this along.
9         And I'm going to ask follow-up questions --
10                           MS. HAGAN:      -- she's asking her
11        questions -- she's answering the questions.
12                           THE WITNESS:       So --
13                           THE REPORTER:           I'm sorry, Ms. Hagan.
14        Please repeat everything you just said.
15                           MS. HAGAN:      I said, you know, she's --
16        Dr. Kaye is trying to answer Ms. Canfield's questions
17        to the best of her ability.           I'm sorry that she
18        doesn't like the way that Dr. Kaye is answering those
19        questions, but she's trying to provide a complete
20        answer to the questions that she's posed.               And I think
21        that Counsel has to afford Dr. Kaye the opportunity to
22        express her answers in a way that she believes is
23        suitable.     This is her deposition.            You called it and
24        she's trying to answer your questions.
25                           Please let her finish.

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1                            MS. CANFIELD:           This is the deposition
2         that I'm taking.       I'm just trying to expedite.
3                            Dr. Kaye, as I said, we're going to
4         talk about the conversation that you had with Mr.
5         Wangel and Ms. Laboy.         That's where you were going.
6         We're going to talk about that.
7                            I just want to go back --
8                            MS. HAGAN:      For --
9                            MS. CANFIELD:           Ms. Hagan, please.    I
10        just want to go back and follow-up with some things
11        that you said.       When I asked you how you felt about --
12                           MS. HAGAN:      Let her finish her answer
13        --
14                           MS. CANFIELD:           Stop talking, please.
15                           THE REPORTER:           I'm sorry.   I'm sorry.
16        I can't take you both at the same time.
17                           Ms. Hagan, what --
18                           MS. HAGAN:      Please let her finish.            Let
19        her finish her train of thought and then you can go on
20        with your questions.
21                           MS. CANFIELD:           No.   I'm -- we're done.
22        We're done.      I'm going to ask another question.             Thank
23        you.
24                           I'm asking another question.
25                           MS. HAGAN:      Could you please put a note

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1         -- a blank in the transcript for this portion because
2         Dr. Kaye was not able to finish her answer.
3                               MS. CANFIELD:         I will question her.
4         She'll have plenty of time.            I just want to make sure
5         I get everything that I need to ask her.                  I need to
6         follow-up.
7         BY MS. CANFIELD:
8                   Q   Dr. Kaye, one question is Dr. Ciric.               Is
9         your recollection that Dr. Ciric resigned before or
10        after it was announced that CHS was going to take over
11        the court clinics?
12                              MS. HAGAN:     Objection.      Asked and
13        answered.
14                              And you can answer --
15                              MS. CANFIELD:         It was not.
16                              You can answer.
17                              MS. HAGAN:     Asked and answered.
18                              THE WITNESS:     I have no recollection.
19        BY MS. CANFIELD:
20                  Q   Okay.     You also testified that you believed
21        that when I asked you how you felt about the
22        transition to CHS, you described it as surreptitious.
23        It was a surreptitious manner in which CHS was taking
24        over the court clinics.            What did you mean by that?
25                              MS. HAGAN:     Objection as to form.

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1         Mischaracterizes the testimony.
2                               THE REPORTER:         Please repeat what you
3         just said, Ms. Hagan.
4                               MS. HAGAN:     Objection as to form.
5         Mischaracterizes Dr. Kaye's testimony.
6         BY MS. CANFIELD:
7                   Q      You can answer, Dr. Kaye.
8                   A      I meant it was done secretively and non-
9         transparently.         It wasn't vetted with anybody involved
10        directly or indirectly.            It was a surprise and a shock
11        to Dr. Colley, Dr. Mary Anne Badaracco.                It was just
12        kind of an order from "on high" which really didn't
13        include any discussion or -- you know, it was kind of
14        a continuation of this -- these -- this kind of
15        surreptitious would be the word that would come to
16        mind.         But this non-transparent infiltration of the
17        court clinics by CHS.         It was kind of just more of the
18        same, this is not -- this wasn't something new, but it
19        was the most bold and extreme action that we had
20        experienced so far.
21                  Q      What do you mean when you say this "bold"
22        like intrusion?         I can't recall the word that you
23        used, into the court clinics by CHS?                What was
24        happening that had you concerned?
25                  A      Well, when CHS was created by the -- by the

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1         DiBlasio administration, it was created, you know,
2         with a political agenda and for political optics.                  And
3         that was the priority.         And so in 2015, CHS and CHS
4         operatives started interfering with the administration
5         of the 730 exams.       And MOCJ, which is the Mayors
6         Office of Criminal Justice who was aligned with CHS
7         started calling, emailing and getting in -- to engage
8         the Court and attorneys in the 730 competency
9         evaluation process.        And it was just an interference
10        of what was meant to be a non-political objective
11        endeavor.      So --
12                  Q   Let me ask you a question.          Was it
13        interference or was there just more interest in what
14        was happening with the court clinics?
15                           MS. HAGAN:      Objection as to form and --
16        and a suggestive answer, but you can answer.
17                           THE WITNESS:       It was -- there was an
18        interference with the examination -- logistics of the
19        examination.      There was --
20        BY MS. CANFIELD:
21                  Q   Can you give me an example of that, please?
22                           MS. HAGAN:      Let her finish.
23                           THE WITNESS:       Yeah.     There was pressure
24        to find people, fit or unfit.              And there was an
25        involvement of the mayor's office and CHS in minutia

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1         and micromanagement of -- of the evaluators'
2         activities in doing this neutral, objective work
3         ordered by the court -- the state court.
4         BY MS. CANFIELD:
5                   Q   And you did not like that micromanagement,
6         did you?
7                   A   It wasn't that I -- it was -- my concern was
8         the defendants' due process rights and the integrity
9         of the -- the legal system because there was pressure
10        to influence the way the exams were done.
11                  Q   And who did that, please?         Who influenced
12        the examinations?
13                  A   It -- it -- the -- it was micromanagement in
14        the sense of, like, hyper focused on -- on the process
15        with investment in the outcome of the case.                So I
16        considered that inappropriate intrusion into what was
17        supposed to be a neutral evaluation that was to serve
18        the constitution of the United States.              It wasn't
19        supposed to be used for political purposes.
20                  Q   Again, I'm asking you who interfered -- who
21        specifically interfered with the outcome of an
22        examination?      Who controlled the outcome of an
23        examination?
24                  A   The -- we were getting -- in 2015, there was
25        a case -- Miguel Figueroa -- where the defendant was

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1         disruptive at Rikers and Patsy Yang didn't like that.
2         So she was pressuring Jeremy Colley and -- I don't
3         know what her interactions were with Dr. Badaracco,
4         but she was pressuring Bellevue to "expedite" that
5         exam in a manner that wasn't in service of the -- the
6         fair, legal treatment of Miguel Figueroa.
7                       They were pressuring us to order a force
8         order, just gratuitously, and he hadn't even refused.
9         I was -- I was one of the evaluators.              Dr. Winkler was
10        the other and it was over the Christmas break.                 He
11        wasn't around.       She wanted -- she was pressuring to
12        have the exam moved to be done in Manhattan.                He -- he
13        -- his lawyer was I think not even available and it
14        was a legal aid case.         And the pressure to get this
15        exam done was so intense, he -- he wasn't even given,
16        you know -- his -- his constitutional rights were not
17        even being considered.         It was all about --
18                  Q   Did he eventually have an exam?
19                  A   He eventually had an exam.
20                  Q   Without a force order?
21                           MS. HAGAN:      Objection as to the form of
22        the question.
23                           You can answer.
24                           THE WITNESS:       I -- I think he may have
25        refused once or -- I don't -- you know, typically,

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1         before a judge is going to consider writing the order
2         -- writing an order for a force order, you know, we
3         need to document three refusals.               I think he may have
4         had one, but that was maybe even after they wanted a
5         force order, before he had refused at all.
6                               So eventually, he was examined.          They
7         had called the district attorney's office in the Bronx
8         and -- trying to get them to accept an unfit finding
9         without an exam.         And all of this was very, you know
10        -- I felt was corrupting the legal system.
11                              I mean, I can't say that as part of my
12        job because I'm not a lawyer.               I'm not an office of
13        the Court, but I found it very concerning and it
14        raised red flags.
15        BY MS. CANFIELD:
16                  Q   And you said this happened in 2015?
17                  A   Yes.
18                  Q   Okay.
19                  A   And --
20                  Q   Didn't you tell me that you didn't learn
21        that CHS was taking over the clinics until 2017?
22                  A   They didn't announce -- they didn't announce
23        that they were taking over the clinics till --
24        formally until 2017, but they had been interfering
25        inappropriately all the way back to 2015.

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1                   Q   Okay.     So when you say "they," you're
2         talking about CHS or are you talking about particular
3         individuals?
4                   A   I'm talking about CHS, Patsy Yang.             I'm
5         talking about John Volpe at the time.                I'm talking
6         about --
7                               THE REPORTER:         I'm sorry.   John who?
8                               THE WITNESS:     Volpe, V-O-L-P-E I think.
9                               And there were various operatives --
10        political operatives at MOCJ.                Tasha Lloyd [ph] was a
11        consistent player.         There were some women -- Uma [ph].
12        I don't know if that was her first name or last name.
13        There was a woman -- Steven Reagan [ph] who was
14        emailing.      She eventually got arrested for a weapons
15        charge.
16                              There were all kinds of these just
17        random people who really had no business, you know,
18        trying to interfere with a court-ordered competency
19        exam when these people had legal representation.                   They
20        weren't even going to their attorneys.
21        BY MS. CANFIELD:
22                  Q   So this was occurring in 2015.             So it sounds
23        like in 2017, when you learned that CHS was taking
24        over the court clinics, that you had already formed an
25        opinion about CHS; isn't that true?

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1                               MS. HAGAN:     Objection as to form.
2         Assumes facts that haven't been, I guess -- assumes --
3         there's no foundation for the question.
4                               MS. CANFIELD:         Right.   And so she can
5         answer with either a yes or a no.
6         BY MS. CANFIELD:
7                   Q   Isn't it true that you had already had bad
8         feeling about CHS based on your experiences in 2015?
9                               MS. HAGAN:     Objection.
10                              THE WITNESS:     Based on my experience, I
11        had concerns.
12        BY MS. CANFIELD:
13                  Q   Okay.     And did you communicate those
14        concerns to anyone?
15                              MS. HAGAN:     Objection.       Form.
16                              THE WITNESS:     The concerns were shared
17        by others.      Legal stakeholders in the community had
18        concerns.      Judges --
19        BY MS. CANFIELD:
20                  Q   No.     My question is who did you share your
21        concerns with?
22                              MS. HAGAN:     Objection.       You have to let
23        her finish.
24                              What were you saying, Dr. Kaye?
25                              MS. CANFIELD:         She was not answering

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1         the question.
2         BY MS. CANFIELD:
3                   Q     Did you share your concerns about the
4         transition to CHS with anyone?
5                                 MS. HAGAN:     Continue your answer and
6         then answer her subsequently.
7                                 MS. CANFIELD:         No.   I'm going to have
8         to call the witness back.
9                                 MS. HAGAN:     Mm-hmm.
10                                MS. CANFIELD:         She's not answering
11        questions.
12                                MS. HAGAN:     Mm-hmm.
13                                THE WITNESS:     So I -- I can't tell you
14        the exact timeframe, but I know the DA's office and --
15        and the -- the defense community had concerns about
16        the Miguel Figueroa situation, which I discussed with
17        --
18        BY MS. CANFIELD:
19                  Q     Okay.     But my -- excuse me.          Dr. Kaye,
20        sorry.        It's my deposition.
21                        I want to know -- you said you had concerns.
22        I want to know who -- if you shared your concerns with
23        anyone?
24                  A     I --
25                                MS. HAGAN:     Please answer the question

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1         that you were finishing and then go --
2                            MS. CANFIELD:           No, no.
3                            MS. HAGAN:      -- question.
4                            MS. CANFIELD:           No, no.   Then we're
5         going to call the witness back.               That's not my
6         question.
7         BY MS. CANFIELD:
8                   Q   My question is you had concerns.              Did you
9         share them with anyone?
10                           MS. HAGAN:      She has to answer the
11        question.      She's trying --
12                           THE REPORTER:           I'm sorry.    Please.       One
13        at a time.
14                           MS. HAGAN:      You don't like how Dr.
15        Kaye's answering your question.
16                           MS. CANFIELD:           It's -- no.    It's not
17        that I don't like it.         She's not answering my
18        question.
19                           MS. HAGAN:      She is.
20                           MS. CANFIELD:           And you have --
21                           MS. HAGAN:      She's not --
22                           MS. CANFIELD:           And you have a
23        responsibility as her counsel to direct her to answer
24        my questions.      She's not answering my questions.               I
25        didn't ask her about who else had concerns.                  I wanted

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1         to know if she shared her concerns with anyone.
2                                  MS. HAGAN:     Clearly if she's expressing
3         that these other people had concerns, she's talking to
4         them.         How else would she know?
5                                  Could you please finish?
6                                  MS. CANFIELD:         No.
7         BY MS. CANFIELD:
8                   Q      I want to know if you expressed your
9         concerns to anyone?
10                  A      Yes.
11                  Q      Who?
12                  A      I spoke with individuals at the Bronx
13        district attorney's office.
14                  Q      Okay.
15                  A      Ginger James.
16                  Q      What about --
17                                 THE REPORTER:         I'm sorry.   I'm sorry.
18        Repeat the name?
19                                 THE WITNESS:     Ginger James and another
20        ADA, Kelly Van Jeckel [ph] or something like that.
21        Kelly Van Derken [ph]?             Something like that.
22                                 I spoke to judges.          I spoke to Judge
23        Lieb, Judge Lieb's law secretary.                    Judith Lieb.   I
24        spoke to Judge Moore.            I spoke to Judge Torres, the
25        chief administrative judge.               I spoke to legal aid

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1         people.       I think Claudia Montoya, Lorraine McKelvey,
2         Jeff Bloom.
3         BY MS. CANFIELD:
4                   Q    Did you speak to anyone inside Bellevue?
5         Any of your supervisors?
6                   A    I spoke extensively with Jeremy Colley.               I
7         spoke with Dr. Badaracco -- Mary Anne Badaracco.                 I
8         spoke with Dr. Barry Winkler.              I spoke with Dr. Ciric.
9         I'm trying to think who else.
10                       There was a male ADA at the Bronx district
11        attorney's office that we spoke to about the Miguel
12        Figueroa -- I don't know his -- I can't remember his
13        name.
14                       I spoke to Judge Torres' law secretary,
15        Lonnie Gilbert [ph].        Judge Torres --
16                  Q    Let me interrupt a second.         Now when you
17        said you spoke to all these people, you spoke to them
18        about Miguel Figueroa?
19                  A    No.   You -- I thought the question was --
20        concern -- there were concerns about CHS?               I thought
21        that was --
22                  Q    Concerns about the transition.          You spoke to
23        all those people about your concerns regarding the
24        transition?
25                  A    No.   That was --

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1                               MS. HAGAN:     No.
2                               MS. CANFIELD:         That was my question.
3                               MS. HAGAN:     You're mischaracterizing
4         her testimony.
5                               MS. CANFIELD:         That was my question.
6         That's my point.
7         BY MS. CANFIELD:
8                   Q   My point was who did you speak to about your
9         concerns regarding the transition to CHS, not Miguel
10        Figueroa.
11                  A   Because that was -- the names were people I
12        spoke to since 2015.
13                  Q   That was not my question either.
14                  A   I apologize.      I apologize.
15                  Q   Yeah.
16                  A   So specifically about the transition?
17                  Q   You testified that you had concerns about
18        the transition.
19                  A   Yeah.
20                  Q   What I want to know, did you express any of
21        those concerns to your superiors?                What did you say,
22        when, if you did.
23                              MS. HAGAN:     Objection.      Form of
24        question.
25                              THE WITNESS:     I -- I spoke to Jeremy

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1         Colley.
2         BY MS. CANFIELD:
3                   Q   And what did you say to Dr. Colley?
4                   A   I'm not going to be able to recall the exact
5         -- you know, the exact verbiage, but I -- we were
6         concerned that, you know, as Dr. Colley characterized
7         and I shared, you know, with CHS hijacking the mental
8         health aspects of the criminal procedure law, and
9         using it to manipulate the legal system.               We had
10        concerns about that.
11                  Q   Okay.   Were you considering -- you testified
12        earlier that you spoke to I think Dr. Ford and Dr.
13        Jain about whether or not you had formally accepted
14        position or accepted transfer to CHS.
15                  A   Yes.
16                  Q   During the time period before you had
17        formally accepted the transfer, were you seeking other
18        employment?
19                  A   I was in discussion with Dr. Mary Anne
20        Badaracco and Jeremy Colley about possibly getting a
21        position at Bellevue.
22                  Q   Okay.   And what position were you discussing
23        with them at Bellevue?
24                  A   Well, that was part of the issue is that
25        they didn't really have -- I wanted to stay in my

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1         Doctors Council HHC line and those lines had been
2         phased out over the last 20 years and converted to
3         private lines, like NYU lines at Bellevue instead of
4         city lines.
5                       And so the positions that were available
6         were NYU lines.       And I was kind of waiting and hoping
7         to find a city line to -- to -- to stay in at
8         Bellevue.      That's a lot of around what the discussion
9         was.
10                      There was a discussion about if I would --
11        if they might be able to get an NYU line converted to
12        a city line, and that I would work on the inpatient
13        forensic unit at Bellevue, which was a treatment unit
14        for people that were too acutely psychiatrically ill
15        to be on Rikers.       And --
16                  Q   Were you offered an NYU line?
17                           MS. HAGAN:      Objection.
18                           THE WITNESS:       I don't -- I don't
19        remember if I was offered an NYU line.              I specifically
20        asked --
21        BY MS. CANFIELD:
22                  Q   If you were offered an NYU line, would you
23        have taken it?
24                           MS. HAGAN:      Objection.
25                           THE WITNESS:       I don't think I would

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1         have taken a job and given up -- I -- my goal was to
2         stay in my union line and I don't -- I don't think I
3         would have taken it, no.
4         BY MS. CANFIELD:
5                   Q   Did you believe that you were being told
6         that they didn't have a city line because they wanted
7         you to go into an NYU line where you would not be part
8         of the union?
9                   A   I think -- I think that doctors have some
10        kind of affiliation with the union.             The -- the -- I
11        don't know that they're not part of the union.                 I
12        remember seeing emails that they -- they did afform
13        some affiliation for those doctors, so I don't know
14        that they weren't part of the union.             But I was more
15        interested in the benefits of the union.
16                      I was kind of locked onto the -- the dental
17        benefits and covering orthodontic treatment.                And I
18        was pretty locked onto that and I really wanted to
19        keep that benefit.
20                      I also felt like I -- you know, I had
21        basically been told, "You die in your line," and
22        that's why I wasn't given a raise.             So I wasn't going
23        to then just say, "Okay."          But if it's convenient, you
24        know, for us, we're just going to switch you over and
25        you're going to lose all your union benefits.                And,

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1         you know, and still work here.                 It didn't seem
2         reasonable to me.
3                          I had been in that line and I asked
4         specifically if I could be changed to a physician
5         specialist line.            I wanted that.        Again, I asked
6         again.         At this transition point, I was asking Dr.
7         Badaracco because I think that when Steve Ciric worked
8         at the inpatient unit, which is where I was looking
9         for a job, before he was hired by Dr. Ford to go be
10        the director of the Manhattan Court Clinic, he had
11        gotten -- he was an attending three, and then when he
12        went to the court clinic, he became a physician
13        specialist.         So he got to change his line when he
14        changed kind of roles.             So I was hoping that I could
15        do the same.         So I was kind of looking for that and
16        Dr. Badaracco was receptive to exploring it, but she
17        voiced concerns to me that, you know, I appreciated
18        her sharing.         And she said that, you know, since CHS
19        has took over Rikers, they were not referring people
20        timely for psychiatric care -- for acute psychiatric
21        care.         They were holding onto them too long and they
22        were coming to the hospital way more psychotic and way
23        more violent.            And at the rate of attacks on staff at
24        Bellevue inpatient unit were -- were -- were up, high.
25                  Q      Okay.     Let's -- we're getting off topic now.

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1         Let me ask you a question.
2                       The fact that Dr. Badaracco did not -- was
3         unable to give you either a physician specialist or a
4         city line, did you take that as -- that decision being
5         in any way discriminatory or in retaliation for your
6         previous complaints about pay equity?
7                               MS. HAGAN:      Objection.   That
8         mischaracterizes the testimony, but you can answer.
9                               THE WITNESS:       Well, I mean, there's two
10        parts to that.
11                              One, Dr. Badaracco never told me that
12        they couldn't.         She said she would explore it.           And
13        then she also gave me warnings about if I were to take
14        that job, she said, "I know you're a mother and you
15        have young kids."         And that people, you know -- "Staff
16        are getting hurt here and you need to consider that.
17        I'm telling you that not only as someone who would be
18        your supervisor, but you know, someone who cares.                     And
19        I'm telling you that the unit is more violent now."
20                              And --
21        BY MS. CANFIELD:
22                  Q   Okay.     But my question is -- my question is
23        -- you testified this morning that you believe the
24        fact that you were not given a physician specialist
25        line and they wanted to make you managerial was

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1         discriminatory and then retaliation for your
2         complaints.
3                       What I want to know is why don't you believe
4         the fact that Dr. Badaracco also was aware of your
5         complaints.      Why don't you characterize her inability
6         to give you a city line as discriminatory and
7         retaliatory as well?
8                            MS. HAGAN:      Objection.       Objection.     It
9         mischaracterizes the testimony.               She never said that
10        Dr. Badaracco was unable to give her a physician
11        specialist line.
12        BY MS. CANFIELD:
13                  Q   She didn't give you one, did she?
14                  A   Well --
15                           MS. HAGAN:      Objection.
16        BY MS. CANFIELD:
17                  Q   Did she ever get back to you and say -- she
18        never followed up, did she?           I mean, you didn't get
19        the physician specialist line.
20                  A   She did follow-up and I believe that Dr.
21        Badaracco --
22                      First of all, Dr. Badaracco doesn't have
23        near the power and authority that Dr. Yang has.                  Dr.
24        Badaracco works within the hierarchal bureaucratic
25        structure of HHC.       Dr. Yang is in a -- is in an agency

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1         that has a dot-dot-dot line connection to HHC.                 And
2         she has a lot more autonomy and power and -- and
3         control over her funding than Dr. Badaracco.
4                       And I believe Dr. Badaracco, when she
5         reacted to -- when Dr. Colley told her that -- about
6         my pay parity, and she called me in, she did so out of
7         concern.      I believe that she did what she could to get
8         my pay parity rectified.          And I believe that she hit a
9         wall with central office.
10                      I don't -- I don't know that that's true,
11        but I believe that she tried as best as she could and
12        she got me that $2,000 pay raise by pushing my
13        attending three salary to the top range.
14                      So I believe Dr. Badaracco, in good faith,
15        discharged her duty and did what she could for me.
16        And I also believe that she was trying to look into
17        options about what could be done for me to come to
18        Bellevue on a city line.          And she was --
19                  Q   But didn't you express those concerns to Dr.
20        Ford who communicated your concern to Dr. Badaracco?
21                      I guess what I'm trying to understand is why
22        Dr. Badaracco did the right thing, but you believe
23        that Dr. Ford did not do the right thing when she
24        advocated for you to get that $2,000 increase?
25                           MS. HAGAN:      Objection.      It

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1         mischaracterizes the testimony.
2                            First off, she didn't testify --
3                            MS. CANFIELD:           It actually doesn't.
4                            MS. HAGAN:      No.       She didn't testify
5         that Dr. Ford went to Dr. Badaracco at all.                She said
6         that she didn't go to Dr. Badaracco.
7                            And secondly, she didn't say that Dr.
8         Ford actually -- advocated for anything.                You're
9         mischaracterizing her testimony.
10                           Could you please rephrase the question?
11                           MS. CANFIELD:           Yeah.   I'm going to move
12        on.
13        BY MS. CANFIELD:
14                  Q   So how many different times were you seeking
15        positions at Bellevue?
16                  A   I don't know that I can quantify it, but I
17        know that after I made a decision to stay at CHS,
18        because 730 examinations and forensic work was my
19        career and that was my first choice and my first love,
20        and I was promised by Wangel and Laboy that nothing
21        would change -- and I'm reassured by my union that
22        would be true.       I did take them, you know, at their
23        word and thought they were acting in good faith, and I
24        decided to stay.
25                      Then as soon as I made my EEOC complaints

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1         and asked for pay parity, I started -- I -- I was
2         subjected to this constant harassment and retaliation,
3         pay cuts, surreptitious changes to my pay, my
4         timesheets, denial of access to the computer's
5         electronic timekeeping system.               You know, just being
6         excluded from meetings and -- and -- and being mocked
7         and ridiculed and having my computer not work.                 And
8         having them shredding all my timesheets from Bellevue
9         -- all the copies of my timesheets from Bellevue.                    And
10        claiming --
11                  Q   All right.    Let's show the complaint.           Let's
12        go over -- because these are some of the allegations
13        in your complaint.
14                           MS. CANFIELD:           So, Ms. Hagan, you have
15        the complaint.       It was something that you authored.
16                           MS. HAGAN:      Is this Exhibit -- it is
17        something that I authored?           What are you insinuating?
18                           MS. CANFIELD:           It's Exhibit B.   You
19        have it.
20                           (Exhibit B was marked for
21                           identification.)
22                           MS. HAGAN:      It's Plaintiff's Complaint.
23        What do you want me to say?
24                           MS. CANFIELD:           Yes.   I'm saying it's
25        Exhibit B.

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1                            MS. HAGAN:      Yes, please.
2                            THE WITNESS:       So during the course of
3         all of that --
4                            MS. CANFIELD:           Hold on.   Hold on, Dr.
5         Kaye.     I don't have a question for you.             I said we're
6         going to move on.       You --
7                            MS. HAGAN:      -- finish her last answer
8         before you cut her off.
9                            MS. CANFIELD:           No.   We were finished.
10        We were moving on.
11                           MS. HAGAN:      No, not "we" were finished.
12        You were finished.        She hadn't finished answering your
13        question.     Would you let her finish answering your
14        question, please?
15                           MS. CANFIELD:           Does Dr. Kaye remember
16        my question?
17                           THE WITNESS:       Well, you asked me if I
18        applied to or sought employment at Bellevue multiple
19        times.     And when things started becoming very
20        stressful and painful from this harassment and
21        bullying by CHS -- one incident after another -- I did
22        reach out to Bellevue again trying to get back there
23        and trying to get out of this -- away from these mean
24        people.
25        //

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1         BY MS. CANFIELD:
2                   Q   Okay.     All right.     So I was transitioning to
3         the complaint because these are some of the things
4         that you allege in the complaint.
5                       So I wasn't trying to cut you off.            I was
6         just trying to take these allegations in a systematic
7         way so we get through them all today, okay?
8                   A   Thank you.
9                   Q   All right.     All right.         I'm going to share
10        what's been marked as Defendants' Exhibit B.                It's the
11        Amended Complaint.         Or actually, it's the First
12        Amended Complaint in this action.
13                              MS. HAGAN:     So that might not be the --
14                              THE WITNESS:     It's very, very small on
15        the screen.      I can't -- I --
16                              MS. CANFIELD:         Okay.
17                              MS. HAGAN:     Can't see that.      Is there a
18        way that you can --
19                              THE WITNESS:     That's better.
20                              MS. HAGAN:     I don't know if you could
21        full-screen?      Let's see.       I'm going to -- I made mine
22        full-screen, Dr. Kaye.          Maybe that'll help.
23                              THE WITNESS:     How do I do that?
24                              MS. HAGAN:     It should be like a -- an
25        icon in the upper right-hand corner.                If you click on

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1         view, it'll give you the option.                Not the top.
2         There's one on the upper right-hand corner on your --
3         I think on my screen, but it should be on your screen
4         as well.
5                               MS. CANFIELD:         There's an X and then a
6         restore up, restore down and then a minimize.                  If you
7         go restore up.
8                               THE WITNESS:     Well, I don't know.        That
9         might be for a PC, but this is a Mac.                I -- I --
10                              MS. HAGAN:     I have a Mac, too.        Yeah.
11        I'm not sure what happened there.
12                              MS. CANFIELD:         Okay.
13        BY MS. CANFIELD:
14                  Q   I just want to know -- this is the First
15        Amended Complaint.         I want to know if prior to this
16        being filed with the Court, if you had an opportunity
17        to review it?
18                  A   I -- I don't know if I had an opportunity.
19        I have reviewed it.         I have reviewed it.
20                  Q   Okay.     You have reviewed it.         Okay.
21                  A   I -- after it was filed, I did -- I did take
22        a look at it.
23                  Q   Okay.     Are the allegations in the complaint
24        correct and accurate?
25                  A   I don't even -- I would need to go through

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1         them one by one because I -- I can't -- I know there
2         were some things in there that, you know, I -- I would
3         -- I would -- maybe some typos or something.                         So I --
4         I don't know.         I --
5                       In general, I can say that it's hard to --
6         this is a document that I haven't gone through
7         closely.
8                   Q   Okay.     So why don't we go through some of
9         the allegations together.
10                  A   Is there any way that you could make it a
11        little bit bigger, please?               Okay.         Thank you.
12                  Q   Okay.     Now the first set of allegations --
13        and I'm going to scroll down -- concern --
14                              MS. HAGAN:       Is it possible you could go
15        to the last page so she can see this is the most --
16        the one that we actually filed with the Court?
17        Because it'll have the date.
18                              MS. CANFIELD:            Yeah.     I don't even --
19        this one's not even --
20                              MS. HAGAN:       It should have the date at
21        the end.
22                              MS. CANFIELD:            Yeah, I know.        But I was
23        going to say this one's not even Bates stamped.                         I
24        don't know why.         I mean, not Bates stamped, but ECF.
25                              MS. HAGAN:       Yeah.       That's why I was

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1         thinking if you had the ECF version of it, then that
2         would be helpful.       April 30th.          I'm not sure if that's
3         the most -- actually, I'm not sure if that's the most
4         recent one, but let's see.
5                            THE WITNESS:       I think there was one in
6         May, wasn't there?
7                            MS. HAGAN:      I believe so.
8                            MS. CANFIELD:           Let me make sure that I
9         have the operative complaint.
10                           This is the complaint I have.            It's
11        dated May 30th.       I mean, it's dated April 30th, but it
12        was filed on May 2, 2019.          And the copy that I have --
13        the hardcopy at my desk is dated April 30th.
14                           MS. HAGAN:      Well, actually, the one
15        that was filed -- one of the versions that was filed
16        with the Court was filed on April 30, 2019.                And it
17        had ECF Docket No. 22.
18                           MS. CANFIELD:           The one I'm working from
19        is Docket No. 25-1.
20                           MS. HAGAN:      Okay.       Let's see what this
21        one is.    Because there should be another one that was
22        actually filed on May 3rd.           There should be one that's
23        dated May 3rd.       That's not the one that you're
24        showing.
25                           MS. CANFIELD:           Okay.

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1                            MS. HAGAN:      Mm-hmm.
2                            MS. CANFIELD:           We were not served with
3         one dated May 3rd.
4                            MS. HAGAN:      Well, the May 3rd one --
5                            THE REPORTER:           I'm sorry.   Could you
6         please repeat that, Ms. Canfield?
7                            MS. CANFIELD:           I said -- we're going to
8         have to pull it off the docket because I do not have
9         one that's May 3rd.        Are those two -- are those copies
10        exactly the same?
11                           MS. HAGAN:      No.       The May 3rd and the
12        April 30th versions are not the same, Ms. Canfield.
13                           MS. CANFIELD:           Terrific.
14                           MS. HAGAN:      The May 3rd version is 32
15        pages versus the April 30th being 29 pages.
16                           MS. CANFIELD:           All right.   Let's take a
17        five-minute.
18                           MS. HAGAN:      Mm-hmm.
19                           THE REPORTER:           The time is 3:22 p.m.
20        We're off the record.
21                                  (Off the record.)
22                           THE REPORTER:           The time is 3:29 p.m.
23        We're back on the record.
24                           MS. CANFIELD:           Thank you.   And
25        apologies to everyone for sharing the wrong complaint

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1         that appears to be the -- I don't know if that was a
2         proposed First Amended Complaint, but it's not the one
3         that was eventually filed on the docket.
4                                   I do have the proper document now.
5         It's ECF No. 29.             It was filed on May 3, 2019.
6         BY MS. CANFIELD:
7                   Q       So, Dr. Kaye, the question I had for you
8         earlier was whether or not you had an opportunity to
9         review this before it was filed.                    You said no, but
10        that you have subsequently had an opportunity to
11        review all the allegations in the complaint.
12                          And my question is other than typos, are the
13        allegations factually correct, if you can recall?
14                  A       Yes.     There's typos in there though, but
15        yes.          And regarding the shift change, you know,
16        there's typos.             But the shift change increased my
17        hours to nine hours a day, and it made my start time
18        at 8:00 a.m.
19                  Q       Right.
20                  A       So that was very hurtful.
21                  Q       Okay.
22                                  THE REPORTER:         That was what, ma'am?
23                                  THE WITNESS:     That was very hurtful.
24                                  THE REPORTER:         Thank you.
25        //

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1         BY MS. CANFIELD:
2                   Q      So I am going to scroll through some of the
3         -- I don't want to say boilerplate, but it's just
4         setting forth facts that are set forth in every
5         complaint concerning venue and jurisdiction.                  And I
6         want to go to --
7                   A      Concerning what?       I'm sorry.      Concerning
8         what?         I didn't --
9                   Q      Concerning venue and jurisdiction, just
10        setting out and then hear who the parties are.
11                         I'm going to get to sort of the meat of the
12        complaint here, okay?
13                         Now the first section -- the factual section
14        is your background information.                  I'm assuming that the
15        allegations here are correct?
16                  A      No.
17                  Q      That you have a bachelor's degree from the
18        University of Colorado, and a medical degree from the
19        University of Pennsylvania?
20                  A      No, that's not correct.
21                  Q      Okay.   What is incorrect?
22                  A      I have a medical degree from the Medical
23        College of Pennsylvania, and I did my residency at the
24        University of Pennsylvania.
25                  Q      Okay.   Thank you.      The next paragraph says

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1         you have "the following licensures and certifications:
2         Diplomate of the American Board of Psychiatry and
3         Neurology; Diplomate of the American Board of Forensic
4         Psychiatry; and Diplomate of American Board of Child
5         and Adolescent Psychiatry."               Is that correct?
6                   A      What was the date that this was filed?
7                   Q      May 3, 2019.
8                   A      That's correct, but incomplete.
9                   Q      What would you add to that paragraph?
10                  A      Well, it lists my board certifications, but
11        my -- that's different than my licensing.                   And my
12        licensure is a -- a license to practice medicine in
13        the State of New York, and a license to practice
14        medicine in the State of Pennsylvania which I put in
15        inactive status.
16                  Q      Okay.     Thank you.     And this factual -- that
17        you worked as attending level three since 1999; is
18        that correct?
19                                 THE REPORTER:         Could you please repeat
20        that?         I'm so sorry.
21                                 MS. CANFIELD:         Sure.
22        BY MS. CANFIELD:
23                  Q      The paragraph that alleges that you worked
24        as an attending physician level three since 1999; is
25        that correct?

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1                   A   At HNH.
2                   Q   At HNH.     Okay.    When you applied to HNH for
3         a position, were you applying to the position of
4         attending physician?
5                   A   I didn't know anything about the -- the
6         lines or anything.         I applied to work at the court
7         clinic part-time.         I was applying for a part-time job
8         as a forensic evaluator at the court clinic.
9                   Q   Okay.     And when you were first hired, did --
10        were you working as a part-time psychiatrist at the
11        court clinics?
12                  A   Yes.
13                  Q   Okay.     And how long were you part-time?
14                  A   I was hired part-time in August 1999.             And I
15        worked part-time until May 2000.
16                  Q   Okay.     And after May 2000, did you then go
17        full-time?
18                  A   Correct.     Yes.
19                  Q   And who did you report to working as a
20        forensic psychiatrist?
21                  A   I reported to the director of the Division
22        of Forensic Psychiatry who at the time was Robert
23        Berger, M.D.
24                  Q   Okay.     And --
25                  A   Rob Berger.

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1                   Q   Rob Berger?     Dr. Berger?
2                   A   Dr. Berger, yes.
3                   Q   Okay.   And you were working at the Bronx
4         Criminal Court building; is that correct?
5                   A   Correct.
6                   Q   Okay.   And do you -- and what specifically
7         were you doing at the Bronx Court Clinic in terms of
8         your work?      And when you went full-time in 2000.
9                   A   I was doing court-ordered forensic exams for
10        CPL 730 -- Criminal Procedure Law 730.              Orders for
11        competency to stand trial, and I was doing CPL 390
12        exams, which are pre-pleading exams -- presentence.
13                  Q   Any other type of exams?
14                  A   Those are the only two exams the court
15        clinic was performing.
16                  Q   Okay.   Any other type of work outside of
17        examinations that the court clinic was performing?
18                  A   Was I doing other work through the court
19        clinic besides 730 and --
20                  Q   And 390, yes.     Correct.
21                  A   No.
22                  Q   Okay.   Thank you.
23                  A   Well, I mean, I -- there were other tasks
24        associated with my work.
25                  Q   Okay.

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1                   A   Like --
2                               THE REPORTER:         I'm sorry.   "Other
3         tasks" --
4                               THE WITNESS:     Associated with my work
5         doing these 390 and 730 exams, like testifying.
6         BY MS. CANFIELD:
7                   Q   Okay.     And at any point did that change the
8         type of work you were doing in the court clinics from
9         2000 forward?
10                  A   In 2004, I was promoted to medical director,
11        so I then had the same forensic evaluation job duties
12        and additional administrative work.
13                  Q   Okay.     At any point after 2004, following
14        your promotion, did the type of work you were doing at
15        the Bronx Court Clinic change?
16                  A   It was always court-ordered 390 and 730
17        exams.
18                  Q   Okay.     And did you ever do any work related
19        to probation violations, or were those violations
20        similar to the 390s?
21                  A   No, I did not.       There was -- in I think it
22        was 2016 maybe, there was an administrative -- in
23        Albany -- in Albany, there was an administrative
24        amendment or change to the CPL 730 statute that said
25        that designated parolees eligible for a CPL 730

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1         competency exam.
2                       So then at that time, there was no specifics
3         about who was going to do it, where, or how it was
4         going to be funded but it turned out that the way the
5         amendment to the statute was interpreted was that it
6         was to be done by the county in which the parolee was
7         being held.
8                       So they were 730 exams, but now they -- it
9         was a different -- an expanded population.               It was now
10        parolees in addition to charged defendants --
11        criminally-charged defendants.
12                      So parolees were eligible for 730s, and
13        because Rikers -- even though the bridge to Rikers is
14        in Queens, the -- the island is in the water that is
15        Bronx County.      So any incident that happens at Rikers
16        is a Bronx case.
17                      So all of those parolees -- those 730 exams
18        for parolees fell on the Bronx.               And so we had to
19        absorb -- absorb that.
20                  Q   How did that change the -- or did it change
21        -- withdrawn.
22                      How many additional 730s were you required
23        to do on a monthly basis following the amendment to
24        the 730 statute regarding parolees?
25                  A   Initially, it was about a 25 percent

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1         increase in our volume of cases.                As time went on and
2         we cleared out the backlog, it -- it -- it ended up
3         being maybe I would say three or four parole cases a
4         month.        But I --
5                   Q     When did it become approximately three to
6         four parole cases a month?            When did you clear up the
7         backlog?
8                              THE REPORTER:          Please repeat the
9         question.        Sorry.
10                             MS. CANFIELD:          Sorry.   I said -- why
11        don't I just withdraw the question.
12        BY MS. CANFIELD:
13                  Q     When did you clear the backlog so as you
14        only had about three or four parolee 730s --
15                  A     Well, you know, that's -- that's part of the
16        retaliation that I experienced from CHS because they
17        wiped out all our data.          We had ten years of data on
18        our computer with this very specific information in
19        the computer, and the hard drive was wiped out.                  So
20        they're trying to present it like the Bronx Court
21        Clinic wasn't busy and we didn't see cases, which is
22        absolutely not true.         That data was in -- in our
23        computer -- in LaKeisha Prasad's computer.
24                        But I would say that, you know, I don't know
25        how long it took to clear out that backlog.                 It was

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1         months.       Months and months.
2                   Q    Okay.
3                   A    And I didn't get any additional staff or
4         additional funding, so it -- it fell on -- on me and
5         Dr. Winkler alone to -- to -- to clean up those parole
6         cases.
7                   Q    Okay.     In 2015, who was -- who did you have
8         on staff at the Bronx Court Clinic?
9                   A    Myself, LaKeisha Prasad, who is the ACM
10        which stands for I think assistant -- assistant
11        coordinating manager.          And Dr. Barry Winkler, PsyD JD
12        who was functioning as -- he had the title deputy
13        director.
14                  Q    Okay.     Was that the same in 2016?
15                  A    Dr. Winkler worked -- yes.         Dr. Winkler
16        worked for the clinic from 2008 until Elizabeth Ford
17        pulled him in April 2018.
18                  Q    Okay.     So from 2015 to 2018, up to April
19        2018, he was in the clinic.             And the clinic in the
20        Bronx was staffed by yourself, LaKeisha Prasad and Dr.
21        Winkler.
22                       Do you know who staffed the Manhattan clinic
23        in 2015?
24                               MS. HAGAN:    Objection.
25                               You can answer.

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1         BY MS. CANFIELD:
2                   Q    If you know.      That's fine.       If you don't
3         know, that's fine, too.
4                   A    I believe Dr. Ford gave -- because when --
5         when Steve Ciric moved from being an inpatient
6         attending in the forensic unit at Bellevue, he was
7         given that court clinic medical director job, that was
8         under Dr. Ford.         She was -- she was the director and
9         she -- she gave him that position, and she gave him
10        the physician specialist title.                And --
11                  Q    Who else worked there with him?
12                  A    He worked there as the director.           They had a
13        lot of turnover with their part-time staff.                And they
14        had a kind of funky system where doctors worked part-
15        time and they didn't really -- and they would come and
16        go.       You know, come and go.       I mean, they would get
17        hired, then they would quit, and they'd hire -- so
18        there was so much turnover in staff in Manhattan, it
19        was hard to keep up with -- but I know Myles Schneider
20        was a psychiatrist that worked there for many years.
21        I think --
22                  Q    I'm sorry.     What was the name again?
23                  A    Myles Schneider.
24                  Q    Myles?    Okay.
25                  A    Yeah.    I think he was there for many years.

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1         I think that they had some psychologists.                I don't
2         really know the names of -- they had some older part-
3         time psychiatrists that quit and then they would hire
4         people out of training, and then they would keep the
5         job for a year or two and quit.                So I don't remember
6         the names, but I --
7                   Q   Okay.
8                   A   Yeah.
9                   Q   How would you say the volume of work
10        compared between the Bronx Court Clinic and the
11        Manhattan Court Clinic?
12                  A   I think, you know, there has been a lot of
13        discussion about this.          And the Manhattan Court Clinic
14        had a higher volume.         It covered the Port Authority
15        and Penn Station and there was, you know, a lot of
16        arrests on -- on that property.                So they -- they
17        definitely had a higher volume of cases and they
18        definitely had more staff.
19                  Q   Okay.     In terms of the Bronx Court Clinic,
20        would you say that between 2004 -- well, withdrawn.
21                      Would you say from after you cleared out the
22        backlog of the parolee cases, was the volume at the
23        Bronx Court Clinic pretty consistent from, say, 2014
24        to 2018?
25                              MS. HAGAN:    Objection --

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1         BY MS. CANFIELD:
2                   Q      Or were there fluctuations in the amount of
3         730s and 390s that you were doing?
4                                  MS. HAGAN:     Objection.      It
5         mischaracterizes her testimony.                   She said from 2016
6         there was an amendment to the 730 statute -- the
7         parolees.         So that -- it's not 2014.
8                                  MS. CANFIELD:         Okay.
9                                  THE WITNESS:     Well, I would like to
10        just clarify that I'm not positive that amendment
11        happened in 2016.            It happened around 2016, I think.
12        BY MS. CANFIELD:
13                  Q      Okay.     Subsequent to the amendment and
14        subsequent to you clearing out the backlog, in your
15        estimation, were the number of 730 and 390
16        examinations pretty consistent in terms of numbers
17        from the time you cleared all those out to 2018?
18                  A      There was always a waxing and waning flow of
19        work, and it corresponded with what was going on in
20        the courts.         Around the holidays, things would slow
21        down.         In August, usually things would slow down, but
22        not always.         But there would always be -- there was
23        always busy -- busier periods and less busy periods.
24        And there was some predictability to that, but not
25        always.

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1                   Q   Okay.
2                   A   There were months in August where we were
3         really busy and yet the courts were half closed.                 So
4         --
5                   Q   Okay.   Okay.
6                   A   May I say something else or --
7                   Q   Yes, you may.
8                   A   I -- I do feel that I was miscategorized as
9         -- as not working because for what -- you know, to try
10        to -- I don't know.        To defend this lawsuit or part of
11        the retaliation.       That's completely false.
12                      And I wanted to say for the 20 years that I
13        worked there, I never had sufficient staff.                I never
14        had enough staff to not be there.               So if myself or Dr.
15        Winkler took vacation, and we did, we would have to
16        work double time to -- before and after our vacations
17        to stay on top of the workload.               Because when we were
18        on vacation, no one else was doing the cases.                And I
19        had to -- I was the only director in the city who had
20        to do half of every 730 exam because there has to be
21        two evaluators.       Every other director had enough staff
22        that he -- that he could go to meetings -- or he or
23        she could go to meetings and his staff could continue
24        working and his service could continue operating.                  I
25        was never afforded that.          And it got worse after CHS

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1         took over.
2                       Once CHS took over in April 2008, when they
3         -- when Dr. Ford pulled Dr. Winkler from my service, I
4         did not have a full-time staff person up there again
5         until December 2018.        They had a part-time per diem
6         person, Louise Mullan, she was only there a half a day
7         a week, three days a week.           So I had her in the
8         mornings on Monday, Tuesday, and Thursdays.                And she
9         had to be out of there by 1:00 or whatever it was.
10        And it -- it was just crippling to the service.                 And
11        Dr. Ford had promised me -- and legal aid -- she would
12        not pull Winkler out of the service until she had a
13        replacement, and that's exactly the opposite of what
14        she did.      And she crippled the service.          And the
15        judges were upset and so was the -- so were the
16        lawyers and the DAs.
17                  Q   Well, let me ask you, from the time that you
18        went over to the court clinics and then they hired
19        someone full-time, they had Dr. Mullan and they
20        eventually hired Dr. Brayton [ph], were you not
21        interviewing other psychologists or psychiatrists for
22        that position?
23                           MS. HAGAN:      Objection as to form.
24                           You can answer if you understand the
25        question.

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1         BY MS. CANFIELD:
2                   Q   I guess what I'm asking is isn't it true
3         that you were interviewing?           You were actively
4         interviewing candidates, but that you were not happy
5         with the candidates that presented?
6                            MS. HAGAN:      Objection.          Assumes facts
7         not in evidence.
8                            THE WITNESS:       Initially, Dr. Winkler
9         and Dr. Jain would come up to the Bronx and we would
10        interview prospective candidates.               I know we
11        interviewed one -- one person in particular who had no
12        forensic training or experience, and we all three
13        agreed that it would be problematic for him to try to
14        do the work.      And he was deemed not appropriate for
15        the position.
16                           And then we interviewed someone else.
17        I can't remember who it was.               Oh, yeah.     And there was
18        someone else who -- who didn't demonstrate any real
19        understanding of the work and had no experience.                   And
20        -- but the -- I know that they had a plethora of extra
21        staff in Queens and they were just sitting around
22        doing nothing.       And they didn't send any doctors up
23        from Queens.      And Dr. Jain was supposed to be helping
24        out as part of his role.
25                           And after I had a serious discussion

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1         with him in April, he refused to speak to me since
2         April -- I mean, not April.            It was October 2018.        He
3         wouldn't do cases with me.            He wouldn't talk to me.
4         He wouldn't help out in -- in the court clinic when I
5         was out.      I had to take leave for various reasons,
6         also related to the shift change and the hardship it
7         was causing.
8                               He didn't even come up to the service
9         to make sure things were running okay.              He just, like,
10        let it die on the vine.
11                              And so --
12        BY MS. CANFIELD:
13                  Q   -- from October 2018?
14                  A   Yeah.     I'm saying that he neglected the
15        Bronx Court Clinic because he -- and he -- even after
16        -- when there was, like, a dire staffing need, he
17        wasn't coming up and doing cases.              He wasn't letting
18        me -- I offered to go down into other boroughs and do
19        cases with people in other borough.              I offered to do
20        half of the 730 exams in the Bronx and they could send
21        the defendant someplace else for the second half.
22                      I -- I did -- I made so many efforts to be a
23        team player, to try to get the work done, and I was
24        just left in my office for six weeks.              I think I only
25        saw, like, three exams and one of them -- or two of

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1         them was because a judge got so angry that it wasn't
2         done that he started making phone calls, so they sent
3         Dr. Winkler up there.
4                   Q   Okay.     Well, let's try to say kind of with
5         some timeframes.         Because you said a lot right there
6         and I think you were talking originally regarding
7         October 2018.         Then I think what you were just
8         testifying to was some events that you're claiming
9         happened right before you resigned.                Am I correct?
10                  A   I --
11                  Q   So we need to put them in a little bit more
12        of an order.         And so they're -- they -- so we can pin
13        down what you're referring to and what timeframe.
14                      So it seems though to me --
15                              MS. HAGAN:    Objection -- the record.
16                              THE REPORTER:         I'm sorry, Ms. Hagan.
17        Please repeat what you said.
18                              MS. HAGAN:    Objection.       Ms. Canfield is
19        trying to characterize Dr. Kaye's testimony and she's
20        testifying onto the record.
21                              So if you want to ask questions to
22        ensure that's what Dr. Kaye was saying, then that
23        would be permissible rather than you trying to
24        interpret what she said.
25                              MS. CANFIELD:         That's fine.

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1                                 MS. HAGAN:    -- please.
2         BY MS. CANFIELD:
3                   Q     Dr. Kaye, are you saying that Dr. Jain did
4         not email or assist you at all at the Bronx Court
5         Clinic from October 2018 until the time you resigned?
6                   A     No.     I'm not saying -- I'm not speaking in
7         absolutes.        I'm saying that after I told Dr. Jain
8         about my EEO complaint and after I had told Dr. Jain
9         and I spoke up at a division -- a director meeting for
10        the FPECC -- that's Forensic Psychiatry Evaluation
11        Court Clinics -- there was a directorship meeting in
12        -- I don't even -- it might have even been before I
13        worked formally for CHS.             Because like I said, they
14        had pretty much absorbed us by April, even though the
15        formal switch didn't happen until July.
16                        But I -- I complained about the ethical
17        violations I -- of the private practice policy.                  I was
18        concerned about how it was perpetuating fraud on the
19        Court.        And I expressed that and I -- and I complained
20        directly at the meeting.             And I complained to Dr. Jain
21        afterwards.           And it's right around that time I told
22        them about my EEOC complaint.                 And the next day, he
23        called me up and he was very stern and he said, "I am
24        going to report you -- I am going to have to report
25        you to Jonathan Wangel."

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1                           And then after that, he started picking on
2         me.       I mean, I had been denied access to any Chronos
3         [ph] up there.            They took over -- we were doing --
4                   Q       Okay.    Okay.     I'm going to stop you because
5         we're going to go through the complaint.                We're going
6         to go through the complaint so we can speak to these
7         one by one, okay?            Because you're on a roll.
8                           All right.       So the first part of the
9         complaint, beginning at paragraph 34, talks about the
10        allegations concerning pay equity.                That you believe
11        you were paid up to $35,000 less than your male
12        comparators, despite having more experience and
13        credentials.
14                          I'm going to skip that because we -- I think
15        we exhausted that topic.               Your counsel's free to cross
16        you on that after we're finished, but I believe that
17        we're finished with this portion.
18                          But I do want to talk to you about -- you
19        testified earlier about having a meeting with Mr.
20        Wangle and Ms. Laboy about your compensation.                 And you
21        also testified this morning that you were not offered
22        a managerial position -- that it was never offered to
23        you.          And I just want to show you that email that you
24        sent --
25                  A       And I didn't say it wasn't offered.         I said

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1         Dr. Ford sent me this email saying I would have to
2         give up my union benefits if I were to get -- if I
3         wanted pay parity -- what had been going on for the
4         last six years and longer at Bellevue.
5                   Q   So you would have to go into a managerial
6         title, which would -- okay.
7                   A   Which wouldn't have been pay parity because
8         Steve Ciric --
9                            THE REPORTER:           I'm sorry.   Repeat what
10        you just said, Ms. Kaye.
11                           THE WITNESS:       Yes.      I -- I was told I
12        would have to give up my union benefits if I wanted
13        "pay parity."      But it wouldn’t have been pay parity to
14        my comparator, which was Steve Ciric, because he was
15        in the union and he didn't have to give up the union
16        to be in a physician specialist line.               That's what I
17        was asking for, to be the same as him.
18        BY MS. CANFIELD:
19                  Q   Right, right.     But he never made it over the
20        transition from Bellevue to CHS; isn't that correct?
21                  A   Right.   But this is all --
22                  Q   So at that time, he would not have been a
23        proper comparator because he was not coming over; is
24        that correct?
25                  A   No, I disagree because it was all HHC and I

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1         began complaining about this when I was still working
2         at Bellevue.      And I had brought it to Bellevue's
3         attention and I was told that I couldn't change my
4         line, but that information was incorrect, at least at
5         CHS where people's lines were getting changed and also
6         -- I understand Steve Ciric's line was changed from
7         attending three to physician specialist when he
8         transitioned out of his treatment in a chief role at
9         Bellevue to director of the Manhattan Court Clinic.
10                  Q   All right.    I have emails a series of emails
11        -- this document was produced by the plaintiff.
12        There's Bates stamp numbers K000035, 36 to 37.                  And
13        this appeared --
14                           (Exhibit C was marked for
15                           identification.)
16                           MS. HAGAN:      -- please, since we haven't
17        had an opportunity to look at it beforehand.
18                           THE REPORTER:           I'm sorry, Ms. Hagan.
19        Please repeat what you said.
20                           MS. HAGAN:      I'd like to look at Exhibit
21        C.   Is this Exhibit C as in Cat, Ms. Canfield?
22                           MS. CANFIELD:           Yes, ma'am.   Yes, ma'am.
23                           MS. HAGAN:      I'd like to look at it.
24        Could you please scroll down?
25                           MS. CANFIELD:           Yes.

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1                             MS. HAGAN:     I'd like to have Dr. Kaye
2         to have an opportunity to look at the document.                    So
3         I'd like to look at it from the beginning of the
4         thread, which is probably at the end of the document.
5                             MS. CANFIELD:          This is the end.    This
6         is the end of the document.           It's an email dated April
7         30th from Dr. Kaye to Jessica Laboy and Jonathan
8         Wangel.       The subject is "Melissa Kaye BHC to CHS line
9         change."
10                            MS. HAGAN:     Okay.
11        BY MS. CANFIELD:
12                  Q    It says, "Hello Mr. Wangel and Ms. Laboy.
13        Thank you for taking the time to talk with me about
14        the pending change of my line on July 1, 2018.                 I
15        understand from our conversation that everything will
16        stay the same and nothing will change when my line is
17        transferred from Bellevue to CHS.               My current benefits
18        and job duties are:" --
19                            MS. HAGAN:     Okay.       Keep going.
20        BY MS. CANFIELD:
21                  Q    I just want to direct your attention to
22        number two where it says, "I will not be taken out of
23        Doctors Council and put on a non-unionized managerial
24        title [sic]."
25                            MS. HAGAN:     Could you please tell her

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1         to continue to read the document, Ms. Canfield?                 The
2         entire document.
3                               MS. CANFIELD:         That's fine, but I'm
4         going to go back to paragraph number two.
5                               MS. HAGAN:    I'd still like to read the
6         entire document, please.           Thank you.
7                               MS. CANFIELD:         I sent it to you.
8                               MS. HAGAN:    Well, when?
9                               MS. CANFIELD:         I just sent it to you.
10                              MS. HAGAN:    We're trying to look at the
11        document.      Dr. Kaye doesn't have it.
12        BY MS. CANFIELD:
13                  Q   Let me know, Dr. Kaye, when you want me to
14        scroll down further.
15                  A   Okay.     It sounds like I'm listing some of
16        the benefits of my -- my employment and unionized line
17        that corresponds to being told I would be
18        grandfathered in and nothing would change.                I don't
19        think I hit every single point, but it's a partial
20        list.
21                  Q   Okay.     So again, directing your attention to
22        paragraph number two in which you write, "I will not
23        be taken out of Doctors Council to be put on a non-
24        unionized managerial line."
25                      This suggests to me that you had a

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1         discussion with Ms. Laboy and Mr. Wangel about
2         possibly going into a managerial line.
3                            MS. HAGAN:      Objection.
4         BY MS. CANFIELD:
5                   Q   Is that correct?
6                   A   That's false.
7                   Q   That is correct?
8                            MS. HAGAN:      No, she --
9                            MS. CANFIELD:           I'm sorry.
10                           THE WITNESS:       It's false.       I did not
11        have a discussion about that specifically, but I did
12        have a discussion about that with Dan Mundy who was
13        squirming a lot about making that decision, because he
14        was forced to.
15                           See, he was not the director of the
16        Manhattan Court Clinic.         Had he been the director of
17        the Manhattan Court Clinic at the time of the
18        rollover, he would have been in a unionized line and
19        he would have been in the same position that I was in.
20        He would have rolled over as a unionized manager,
21        "managerial line."        But he did not have that choice
22        because when he was working at the Manhattan Court
23        Clinic, he was a part-time forensic evaluator.                 Steve
24        Ciric was the director in a unionized line.                And so
25        when Steve Ciric left and that position opened up, it

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1         became -- they just -- they closed out the -- the
2         unionized director line and turned it into a
3         managerial line, and then --
4         BY MS. CANFIELD:
5                   Q   And I'm sorry, how do you know this?
6                   A   Because it's -- it's what happened.
7                   Q   No.   I'm saying how do you know this
8         happened?
9                   A   Because Steve -- it's just -- Steve Ciric
10        was in a unionized --
11                  Q   No, no, no.     I need to know who told you
12        that's what happened?         That sounds like something
13        that's administrative.         I want to know how you learned
14        that and who told you -- who knows -- who would have
15        personal knowledge that that is exactly what happened?
16                  A   As I said --
17                  Q   Versus scuttlebutt, hearsay, rumor.
18                            MS. HAGAN:     Objection.
19        Mischaracterizes -- argumentative.
20                            THE WITNESS:      I --
21                            THE REPORTER:          I'm sorry.   You're all
22        talking over each other.
23                            Ms. Hagan, can you please repeat what
24        you just said?
25                            MS. HAGAN:     First off, it's

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1         argumentative.       I also want Dr. Kaye to have the
2         opportunity to read the rest of the email because
3         there's more to this email.           Could you please scroll
4         up further, Ms. Canfield, before she finishes her
5         question -- or answer?
6                             MS. CANFIELD:          The other email is
7         completely unrelated.
8                             MS. HAGAN:     Ms. Canfield, you showed
9         this as Exhibit C and Dr. Kaye --
10                            MS. CANFIELD:          Ms. Hagan, you have a
11        copy.       I'm not going up.     You just -- you're being
12        argumentative for the sake of being argumentative.
13                            MS. HAGAN:     Well -- because --
14                            THE REPORTER:          I'm sorry.   I missed
15        everything you just said, Ms. Canfield.
16                            MS. HAGAN:     First off --
17                            MS. CANFIELD:          I said I'm not scrolling
18        up.       This is my deposition.      Ms. Hagan, you have a
19        copy of the document.         I do not need to -- the witness
20        if it's unrelated.
21                            MS. HAGAN:     -- Dr. Kaye has an
22        opportunity to read the rest of the exhibit.
23                            THE REPORTER:          Ms. Hagan, please start
24        over what you just said.
25                            MS. HAGAN:     I said we're just going to

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1         have to wait until Dr. Kaye has an opportunity to read
2         the rest of the exhibit, and I can forward that to her
3         now.
4                            Now the judge said that they're
5         supposed to be contemporaneously provided, which means
6         --
7                            MS. CANFIELD:           It is provided.
8                            MS. HAGAN:      -- had the opportunity --
9         she should have it too then.               She should have it too
10        and she does not.
11                           MS. CANFIELD:           I will scroll up.    This
12        is a completely separate email that you sent -- two
13        months later.      And I'm not going to question you on
14        this right now.
15                           MS. HAGAN:      It's in the exhibit and
16        she's talking about --
17                           MS. CANFIELD:           Ms. Hagan, please stop.
18        Please stop.      We're going to be here until 8:00 if you
19        don't stop interrupting.
20                           MS. HAGAN:      All right.
21        BY MS. CANFIELD:
22                  Q   Dr. Kaye, you say here in the second
23        sentence of this email:         "I understand from our
24        conversation that everything will stay the same."
25        Are you telling me that you did not talk about not

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1         being taken out of Doctors Council, but you put it in
2         the email anyway?
3                       I do not --
4                   A   I -- I -- I can tell you that I knew from
5         talking with Dan Mundy --
6                   Q   I don't want to hear about that.            I want to
7         hear about what did you talk about with Mr. Wangle and
8         Ms. Laboy?
9                       You're telling me on the record under oath
10        that you did not discuss remaining in the union and
11        not going into a managerial title?
12                           MS. HAGAN:      Objection.
13        BY MS. CANFIELD:
14                  Q   You did not discuss Dr. Mundy's situation?
15        Is that what you're telling me?
16                  A   Well, I'm saying --
17                           MS. HAGAN:      -- email above as to why
18        she talked about --
19                           THE REPORTER:           Ms. Hagan, please repeat
20        what you just said.
21                           MS. HAGAN:      Why Dr. Kaye mentioned the
22        managerial discussion in this email is in the email
23        above --
24                           MS. CANFIELD:           It's not.   She just
25        forwards it to someone else.               This happened two months

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1         before, Ms. Hagan.            You're testifying.            I want the
2         witness to answer my question.
3                               THE REPORTER:            I'm sorry.     I'm sorry.
4         You're both talking.            I need you both to talk one at a
5         time.         I'm sorry.     The record is not going to be good
6         if you don't speak one at a time.
7                               MS. HAGAN:       It happened a month later.
8         And again, it explains the rationale as to why Dr.
9         Kaye had mentioned the discussion of managerial -- the
10        managerial -- the transition from managerial line.
11        The --
12                              MS. CANFIELD:            Ms. Hagan, you're
13        testifying now.            Please.
14        BY MS. CANFIELD:
15                  Q      Dr. Kaye, I wanted to know --
16                              MS. HAGAN:       You need to let --
17                              MS. CANFIELD:            Ms. Hagan, please.        Ms.
18        Hagan.
19                              MS. HAGAN:       You need to let her read
20        the exhibit the way you insisted that --
21                              THE REPORTER:            I'm sorry.     Ms. Hagan, I
22        didn't hear what you said.
23                              MS. HAGAN:       Ms. Canfield insisted
24        during my depositions that all of her witnesses got a
25        chance to read the entire exhibits that she provided

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1         -- that I provided.        Dr. Kaye should have that same
2         luxury.     I don't have that luxury.              She --
3                            MS. CANFIELD:           Is this a childish tit
4         for tat at this point?         If so, I will assuage your
5         concerns.
6                            MS. HAGAN:      Yes, please.
7                            MS. CANFIELD:           Okay?    This --
8                            MS. HAGAN:      From the beginning.
9                            MS. CANFIELD:           This is completely
10        unrelated.
11                           MS. HAGAN:      Number two -- let's please
12        -- no, it's not.
13                           MS. CANFIELD:           This actually buttresses
14        my argument.      So read it.
15                           MS. HAGAN:      Keep going.         Yes.     And then
16        keep going.
17                           MS. CANFIELD:           I will when Dr. Kaye
18        tells me that she has read the email.
19                           THE WITNESS:       Okay.        Okay.
20                           MS. CANFIELD:           Okay.
21                           MS. HAGAN:      Could you scroll up first?
22        Further up to the end of the email.
23                           MS. CANFIELD:           This is it.
24                           MS. HAGAN:      Okay.
25        //

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1         BY MS. CANFIELD:
2                   Q   So my question is to you, again, you
3         testified that you did not talk to Mr. Wangel and Ms.
4         Laboy about the fact that you're going to stay in your
5         unionized title and not move to a managerial line.
6         This email suggests otherwise.
7                   A   No.   That's not -- that's not accurate
8         because I talked to them about being in Doctors
9         Council union and all the associated benefits with
10        Doctors Council union.         So by definition, that means
11        I'm not being moved out of Doctors Council union into
12        a managerial line.
13                      Did they say to me, "Oh, we want you to move
14        into a managerial line so you can have pay parity"?
15        No, they did not.
16                      Did they --
17                  Q   Did they say you're welcome to move into it
18        or did you ask and say, "May I move into a managerial
19        line so I can have pay parity"?               Did you ask to be
20        moved into that line?
21                            MS. HAGAN:     Objection.       You need to let
22        her finish her answer.         Please let her finish her
23        answer.
24                            THE WITNESS:      I think I made it clear
25        when I got that email from Dr. Ford with this nebulous

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1         enticement into taking a managerial line and giving up
2         benefits in the union.            I thought shew as trying to
3         lure me into a position where they could fire me at-
4         will because I had picked up hostility and -- and --
5         and she had been marginalizing me.               And she had not
6         treated me fairly since I worked for her.               So I was --
7         I was leery of that and it was something I was not
8         interested in.           So I did possibly emphasize to Laboy
9         and Wangel that, you know, I wanted -- that, you know,
10        I -- Doctors Council union said I was being
11        grandfathered in as-is, and nothing's going to change.
12        And Wangel kept saying, "Everything's going to stay
13        exactly the same.           Exactly the same.      Exactly the
14        same."        The only difference is is that the monies used
15        to pay you are going to flow through CHS rather than
16        Bellevue.
17                             I never asked or made any indication
18        that I wanted to change to a managerial line.                And it
19        was actually the opposite for all the reasons that
20        I've previously discussed.
21        BY MS. CANFIELD:
22                  Q     Right.
23                  A     I wanted to stay in Doctors Council union.
24        I wanted to stay in my unionized leadership role --
25        semi-leadership role.           And I had had conversations --

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1         multiple conversations with Dan Mundy and he was
2         getting pressured to take that job as director in a
3         managerial line.       And he -- he --
4                   Q   We can get an affidavit from Dr. Mundy on
5         what he did or did not say or how he felt.               Let me ask
6         you this question.
7                            MS. HAGAN:      Objection.
8                            MS. CANFIELD:           Aren't you the -- hold
9         on.
10        BY MS. CANFIELD:
11                  Q   Isn't it true that you were the only
12        director at the court clinic who did not take a
13        managerial line?
14                           MS. HAGAN:      Objection as to form.
15                           THE WITNESS:       I was the only director
16        who rolled over in a managerial line.               Dr. Mundy was
17        newly hired as a new director under CHS.               Dr. Winkler
18        was newly hired as a director under CHS.               And
19        Elizabeth Owen had been in a managerial line at Kings
20        County.
21                           So I was the only director who rolled
22        over in a non-managerial line -- in a unionized line
23        -- and I was told, and my union was told, that I would
24        be allowed to stay in that -- in a unionized line.
25        And so that's one of the promises that was made to me.

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1         BY MS. CANFIELD:
2                   Q   Okay.
3                   A   And then -- I'm sorry, but then to -- you
4         know, because I was trying to fix a longstanding pay
5         parity issue, it was presented to me that that
6         wouldn't be something that could be fixed unless I was
7         -- there was a coercive attempt to make me get out of
8         the unionized line just to fix a longstanding pay
9         parity issue with my comparator, who was in a
10        unionized line.
11                      So it seemed -- it didn't -- I mean, it's
12        like apples and oranges.           They're -- they're two
13        different --
14                  Q   Right.     But we've already established --
15                              THE REPORTER:         I'm sorry.   "Apples and
16        oranges."      Two different what?
17                              THE WITNESS:     Issues.
18                              THE REPORTER:         Thank you.
19        BY MS. CANFIELD:
20                  Q   But we've already established that Dr. Ciric
21        did not make the transition to CHS.
22                              MS. HAGAN:     Objection.
23                              THE WITNESS:     Please.      I was told that
24        if I transitioned to CHS, that I would -- nothing
25        would change.         Nothing with my job and my working

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1         conditions would change, and that I would be permitted
2         to stay in my unionized line.                I was told that.
3                               MS. CANFIELD:         Right.   Right.   I
4         understand.      I understand.
5         BY MS. CANFIELD:
6                   Q   Okay.     So you allege in the complaint that
7         after making the transition to CHS and remaining in
8         your unionized line, you made the complaint that you
9         still were not being paid as well as the other
10        directors.      Meaning Dr. Mundy, Dr. Winkler and Dr.
11        Owen; is that correct?
12                  A   My -- my direct comparators, you know, it's
13        -- the way the lines work and the way pay structures
14        work at HHC, you know, whether you're an M.D. or a
15        psychologist, has -- has bearing on -- generally on
16        your -- on your pay.         And what I was asking and -- and
17        M.D.'s are typically paid more.                And all I was asking
18        -- and it was an easy fix.            And if -- and it was just
19        out of retaliation and spite and trying to get rid of
20        me because I was speaking up for defendants' due
21        process rights and constitutional rights, that all
22        they needed to do was change my line to physician
23        specialist and give me a comparable pay to what Steve
24        Ciric was making.         And without the longevity pay,
25        without the retention bonus included as my base

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1         salary.          And it was an easy fix because that's what --
2         they were changing lines.             It was something that could
3         be done and I had been misled, for whatever reason,
4         and I don't know if that was intentional on Dr.
5         Badaracco's part or not.             I'd like to think not, but I
6         was told my line couldn't be changed to address this
7         problem.
8                           Then at CHS, lines are getting changed for
9         unionized employees and I requested for my line to be
10        changed to physician specialist with the commensurate
11        pay increase, and it was an easy fix.                  I didn't need
12        to be coerced or forced out of the union because, you
13        know, my entire career at HHC to date of my EEOC
14        complaint was -- my male comparator was a unionized
15        employee.
16                          So that's what the basis of my complaint
17        was.          A male comparator who was in the union, was in a
18        higher title -- a higher paying title -- and I just
19        wanted the same as him.            That's all.
20                  Q       Okay.
21                  A       I wasn't asking for something unusual.
22                  Q       Okay.   So you sent Dr. Yang an email.          You
23        complained about pay parity.                  Your attorneys at the
24        time thereafter -- Bantle & Levy -- and I cannot show
25        all the exhibits because I think we can agree your

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1         attorneys at the time sent a letter about pay parity;
2         is that correct?
3                   A      Yes.     I believe they were speaking with
4         Blanche Greenfield.
5                   Q      Right.     Then thereafter, you filed a
6         complaint with the EEOC, correct?
7                   A      Correct.
8                   Q      Okay.     And as you testified earlier, you
9         said that you revealed to Dr. Jain that you had filed
10        a complaint with the EEOC.
11                         So my question is why did you disclose that
12        to Dr. Jain?            What did you hope to accomplish?
13                                 MS. HAGAN:     Objection as to form and
14        argumentative.
15                                 You can answer.
16                                 THE WITNESS:     I wanted to be open and
17        transparent.            And I -- it was -- he was new in the
18        position and I was trying to help and support him.
19        And I didn't want him to get blindsided by someone
20        else.         And I thought it was respectful and
21        professional for me to inform him myself so that he
22        wouldn't be caught flatfooted as my direct report.
23        And I told him about it.
24                                 One, I thought that it was the
25        respectful thing to do for -- to inform my supervisor

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1         because supervisors generally want to know what's
2         going on before they hear about it from somebody else.
3                                   And two, I had hoped that he would help
4         me just fix this problem.                It wasn't, to me, a hard
5         fix.          It wasn't something that was complicated.
6                                   Unfortunately, after I told him, he --
7         he started retaliating against me.                   He called me the
8         next day.          He was very stern.           He said he reported me
9         to Jonathan Wangel and --
10        BY MS. CANFIELD:
11                  Q       Let me stop you right there.           When you say
12        "reported you," what did he report you -- you make it
13        sound like it's punitive.                What do you mean he
14        reported you?             Did you do something?
15                                  MS. HAGAN:     Objection as to form.
16        Argumentative.
17                                  THE WITNESS:     His tone was stern and
18        punitive.          He acted like I had done something wrong.
19        He had -- he treated it and he made it sound like I
20        was being reported, and he used it in a stern,
21        punitive tone.             And yeah, to him, I guess -- I guess
22        it was punitive.
23        BY MS. CANFIELD:
24                  Q       Okay.
25                  A       And then this was -- and this was right

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1         around the transition -- the official transition.                   Not
2         the unofficial transition, which started happening
3         much earlier, as I said.            You know, in April, if not
4         before.
5                        And the official switchover for my time
6         being -- was -- last day on the payroll at Bellevue
7         was June 30th.          First day on the payroll at CHS was
8         July 1st.
9                   Q    Right.
10                  A    And --
11                  Q    Can I ask a question?            Before you revealed
12        to Dr. Jain that you had filed an EEOC charge, had you
13        been speaking with him about pay parity and asking him
14        to assist you?
15                  A    I spoke to -- there was an April meeting in
16        -- at Water Street -- 55 Water Street in April.                  And
17        there was a lot of different people -- court clinic
18        people.       And I don't -- maybe Elizabeth Ford was there
19        and -- and then after that meeting, I -- I approached
20        Dr. Ford and Dr. Jain and I told them about the pay
21        parity issues and my concerns --
22                  Q    Right.
23                  A    -- about pay parity.          So then Dr. Ford, you
24        know, escorted me over to talk to Jessica Laboy and
25        Jonathan Wangel.

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1                       And so I had told him about -- I had brought
2         it up verbally to both of them in April.
3                   Q   Okay.     And that's around the time that you
4         met with Jessica Laboy and Jonathan Wangel as
5         reflected in the email that we just reviewed.                     The
6         email dated April 30th; is that correct?
7                   A   It was --
8                   Q   Yes.     Okay.    Okay.         When you met with
9         Jonathan --
10                              THE REPORTER:           I'm sorry.   Please
11        repeat the answer.
12                              THE WITNESS:       It was the same day.
13        BY MS. CANFIELD:
14                  Q   Okay.     When you met with Mr. Wangel and Ms.
15        Laboy, was your union present?
16                  A   No.
17                              MS. HAGAN:      Objection.
18        BY MS. CANFIELD:
19                  Q   Okay.     Did you have subsequent meetings with
20        Mr. Wangel and Ms. Laboy where your union was present
21        concerning the terms and conditions of your
22        employment?
23                  A   Yes.
24                  Q   Okay.     Now in your complaint, you allege
25        that you believe that your title, which was proposed

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1         to be changed from medical director to director, was
2         retaliatory for filing your EEOC charge; is that
3         correct?
4                   A    It was one of many things that was
5         retaliatory.
6                   Q    Okay.     My question is why do you believe
7         that the decision to change not just your title, but
8         to make everyone's title director was retaliatory for
9         filing your EEOC charge?
10                               MS. HAGAN:     Objection as to the form.
11        It assumes facts that were not put into evidence.
12        There's no foundation.           Counsel's testifying.
13                               MS. CANFIELD:         You can answer.
14                               MS. HAGAN:     Plaintiff doesn't
15        necessarily agree if everyone's title was changed.
16                               MS. CANFIELD:         Okay.   So she can
17        testify.
18                               MS. HAGAN:     Mm-hmm.
19                               THE WITNESS:     So again, I was promised
20        by Jessica Laboy and Jonathan Wangel in April, that
21        day that I spoke to them -- Jonathan Wangel was like a
22        mantra.       He kept saying, "Everything's going to be
23        exactly the same.          Nothing will change."          Like, no
24        matter what I would bring up to me, he'd say,
25        "Nothing's changing.          Everything's going to be" -- and

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1         I went through a litany of things, verbally, and then
2         I recaptured some of them in that email.               Maybe not
3         all of them.        And he just would always say the same
4         thing.        And he assured me that nothing would change.
5                              And, you know, be -- so I made a
6         decision based on his what I considered a verbal
7         agreement -- contract -- a verbal agreement with me
8         and my union that I was going to be grandfathered in
9         -- unionized with my benefits.             And my longevity pay
10        and my -- my corporate title, my functional title.
11                             And so then suddenly, like, I mean I
12        don't -- I -- it was like right after, like, I -- I
13        complained about pay parity, all the sudden I'm, like,
14        getting this change in my title which, you know, was
15        problematic and reflected a demotion.              To me, it was a
16        demotion.
17                             For my work and what I do, and in the
18        eyes of people that I work with, it reflected a
19        demotion.
20        BY MS. CANFIELD:
21                  Q     How did you first learn that there was a
22        talk of changing the title from medical director to
23        director?
24                  A     I -- I'm trying to think.       I think I got an
25        email from Andrea Swenson telling me that my title had

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1         been changed.
2                   Q   Okay.     And what was the email in relation to
3         other than the fact that your title had been changed?
4                       Actually, let me ask you this.           Was it in
5         relation to business cards that you learned that there
6         had been a decision to change all the directors of --
7         change all of the heads of the court clinics to a
8         director title?
9                   A   Well --
10                              MS. HAGAN:     Objection.
11                              THE WITNESS:     -- I mean, I don't know
12        that that characterizes it correctly because changing
13        titles --
14        BY MS. CANFIELD:
15                  Q   The question is is that how you learned of
16        the change?      Through the email from Andrea Swenson
17        concerning business cards.
18                  A   Some people were new to the position, so
19        whatever title they -- didn't have a previously title.
20        And --
21                  Q   Now my question is was it in connection with
22        business cards?
23                  A   It was -- it was like three days --
24                              MS. HAGAN:     Objection.
25                              THE WITNESS:     -- it was three days

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1         after I filed my EEOC complaint.               The next thing I
2         know is I'm being told that I'm no longer medical
3         director.
4                               The reason I found that -- I found it
5         retaliatory and I also found it a demotion because
6         that --
7         BY MS. CANFIELD:
8                   Q   That's not my question.           My question is
9         isn't it true you first heard about the decision to
10        have everyone referred to as directors was when Andrea
11        Swenson sent out an email about business cards?
12                              MS. HAGAN:     Objection.
13                              THE WITNESS:     She wanted to put me --
14                              MS. HAGAN:     Objection.
15                              THE WITNESS:     She wanted me -- she put
16        me on those business cards as my title.               She did not
17        put me down as medical director.               She put me down as
18        director.
19                              So yes, it was -- she was going to
20        implement that demotion on my business card.
21        BY MS. CANFIELD:
22                  Q   Okay.     Let me ask you this.        Were the
23        business cards ever printed?
24                              MS. HAGAN:     Objection.
25                              THE WITNESS:     I got a box of them, yes.

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1                               MS. CANFIELD:         Okay.   And --
2                               THE REPORTER:         Please repeat the
3         answer.
4                               THE WITNESS:     I got -- I was given a
5         box of the business cards, yes.
6         BY MS. CANFIELD:
7                   Q   Okay.     And what was your title on the
8         business card?
9                   A   Director.
10                  Q   Okay.     And do you know -- have you ever seen
11        Dr. Winkler's business card as head of Brooklyn Court
12        Clinic?
13                  A   I don't know if I -- I don't know.                Dr.
14        Winkler's not a physician, so the medical director
15        issue wouldn't pertain to him.
16                  Q   Okay.     But my question was have you seen his
17        business card?
18                  A   I don't -- I -- she sent copies of people's
19        business cards.         I don't know -- I don't know if
20        everybody's was included, so I -- I don't remember.
21                  Q   Okay.     Did you see -- ever see a copy of Dr.
22        Owen's business card?
23                  A   I believe that -- like I said, I believe
24        that in that email, she sent copies.                 I'm trying to
25        think if --

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1                   Q     I want to know -- after you received your
2         box of cards, I want to know if, after you received
3         your box of cards, if you saw a business card from Dr.
4         Winkler or Dr. Owen?              An actual business card, not
5         what was in the email, but the actual business card.
6         Did you see --
7                   A     At the -- at a division meeting -- a
8         forensic -- an FPECC -- FPECC stands for Forensic
9         Psychiatry Evaluation Court Clinics.                  And -- division
10        director meeting with Jain -- it would be Dr. Jain,
11        Dr. Mundy, Dr. Owen and Dr. Winkler.
12                  Q     Okay.     And you saw Dr. Owen and Dr.
13        Winkler's business card?
14                  A     Dr. Jain handed out everybody boxes of --
15        their box of their business cards.
16                  Q     Okay.
17                  A     Now did I -- at other people's business
18        cards?        I really don't know.
19                  Q     Okay.     Did you see what Dr. Mundy's business
20        card said on his box of business cards?
21                  A     I -- I don't know.            I mean, Dr. Mundy was a
22        new director.           He wasn't getting a change in title.
23        This was his given title that he was hired into.
24                  Q     Okay.     Okay.     But he's a medical doctor,
25        correct?

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1                   A   Correct.
2                   Q   Okay.     Now are you aware that there's been
3         evidence in the record -- and I'm sure that your
4         attorney's going to object to this, but that some
5         people at CHS thought you had quit your position in
6         the beginning of June 2018?
7                               MS. HAGAN:     Objection.
8                               THE WITNESS:     I'm sorry.         I'm getting
9         this bizarre phone call.           I don't know if it relates
10        to my children.         I'm asking permission from Counsel to
11        take this call?
12                              MS. CANFIELD:         Yes.     Take five.
13                              THE REPORTER:         The time is 4:25 p.m.
14        We're off the record.
15                                   (Off the record.)
16                              THE REPORTER:         The time is 4:34 p.m.
17        We're back on the record.
18        BY MS. CANFIELD:
19                  Q   You can answer.
20                  A   Okay.
21                              MS. HAGAN:     Objection on the record.
22                              MS. CANFIELD:         Okay.
23                              THE WITNESS:     Yes.         I -- the amount of
24        unsubstantiated rumor and falsehoods that would swarm
25        around with CHS and Patsy Yang and all of her

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1         employees was astounding.             There were constant rumors
2         and it was like a big game of Red Robin.               And the
3         amount of falsities that were in these emails, and
4         mistruths and distortions is mind boggling.                So I am
5         not surprised to learn that there was that false
6         rumor.
7         BY MS. CANFIELD:
8                   Q    Okay.     So prior to the transition, there was
9         at no point immediately beforehand that you were
10        wavering as to whether or not you wanted to go to CHS
11        or you were just going to retire or resign?
12                  A    Well -- well, first of all --
13                               MS. HAGAN:     Objection.
14                               THE WITNESS:     -- I had never wanted to
15        retire early.          I -- I took a huge hit to my pension.
16        I would still be in that job if -- if I had my
17        druthers.
18                               So no, I did not want to retire or
19        resign.       And yes, as I said before, I was exploring
20        the option with Dr. Badaracco and Jeremy -- Dr. Jeremy
21        Colley about the possibility of staying at Bellevue.
22                               And I was also exploring with my union
23        and CHS leadership and management what kind of
24        protection or guarantees I was going to have, or
25        agreements, verbal contracts, whatever you want to

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1         call it that I was going to have if I rolled over with
2         the transition and how, if at all, it'd affect my
3         working conditions.
4                               So yes, I was exploring that situation
5         and it was not just a one-shot deal.               It happened over
6         an extended period of time.            How that turned into a
7         false rumor that I was quitting or resigning or
8         retiring, that I can't, you know -- that would be --
9         you'd have to speak to the people who were spreading
10        the rumors.
11        BY MS. CANFIELD:
12                  Q   Okay.     Fair enough.        All right.     So you
13        allege in the complaint that somewhere after filing
14        your EEOC complaint, that your shift was changed.                    And
15        you believe that that was retaliatory.               Why do you
16        believe that?
17                  A   I told Dr. Jain -- it was a one, two punch.
18        Because right around the end of June to the beginning
19        of July is when I informed Dr. Jain about my EEOC
20        complaint.      And that's when I was told in a stern and
21        punitive manner that I was being reported to Jonathan
22        Wangel.
23                      Simultaneously or contemporaneously, there
24        was a meeting with the FPECC directors.                  And at that
25        meeting, Dr. Jain distributed the CHS private practice

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1         policy, which had been authored by Dr. Ross Macdonald.
2         That was either at the end of June of beginning of
3         July.
4                          At that meeting, I -- none of the directors
5         seem to have seen this policy or known about it.                    We
6         had been told previously by Elizabeth Ford, since
7         April, that CHS Legal was working with the Conflict of
8         Interest Board and looking into it and they were going
9         to come out with a formal policy.                 And people were
10        wondering and waiting for that.
11                         I certainly was never given an opportunity
12        to voice an opinion or -- and put suggestions into an
13        edited draft.         And I don't believe -- other doctors
14        were.         I'm sorry.
15                  Q      That was going to be my question.          Were any
16        of the other doctors given the opportunity?
17                  A      I don't believe they were.          And the reason I
18        say that is because at this directors meeting, Dr.
19        Jain distributed the final draft.                 It was -- I mean,
20        the final copy.            The final version.       And I know I had
21        never seen it before.            And I know Dr. Winkler had
22        never seen it before.            And I got the very strong
23        impression, especially given Dr. Elizabeth Owen's
24        reaction to it, that she had never seen it before
25        because she got quite upset and started complaining

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1         that she felt infantilized and she -- she kind of went
2         off.          And Dr. Mundy also had a bunch of questions and
3         concerns.          And so I got the strong impression that
4         none of these directors had been involved in drafting
5         that.
6                           So at the meeting, that became the topic of
7         discussion.          And, you know, I expressed concerns about
8         it.       And, you know, I almost -- I basically felt it
9         was -- you know, it was setting up a situation where
10        there was going to be fraud on the Court.
11        Misrepresentation to the Court.
12                  Q       Can you explain what you meant by that?
13                  A       Yeah.     Because basically the stakeholders
14        involved in hiring these doctors for private work are
15        the same stakeholders for which they provide a city-
16        salaried service to.             So the lawyers, the prosecutors,
17        the judges, all these same pool of individuals -- and
18        the same defendant pool, actually -- is -- that the --
19        the FPECC doctors are paid by the city to do neutral,
20        objective court clinic evaluations for competency and
21        for 390 exams, which are really -- they have a label
22        pre-pleading, presentence exams, but they're kind of
23        like mental health --
24                                  THE REPORTER:         They've been labeled
25        what?

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1                               THE WITNESS:     Pre -- pre-pleading,
2         presentence exams, but they're very much more -- in
3         practical terms, they're used -- in practical terms,
4         they're used more as like a mental health screening.
5         A mental health evaluation.            And they can be ordered
6         at any time during proceeding.                They're sometimes even
7         ordered at arraignment, even though they're
8         technically presentence.
9         BY MS. CANFIELD:
10                  Q   I don't understand quite how there'd be a
11        fraud on the Court.         Are you saying that --
12                  A   Yeah.     I'm sorry.     Go ahead.
13                              MS. HAGAN:     Please explain.
14                              THE WITNESS:     So basically --
15                              THE REPORTER:         I'm sorry, Ms. Hagan.
16        Please repeat what you just said.
17                              MS. HAGAN:     I said she needs to finish
18        her answer.      She needs to explain.
19                              MS. CANFIELD:         I'm just trying to move
20        it along.      Again, I want to finish tonight.
21                              THE WITNESS:     You know, I -- these are
22        -- these are very complex and layered issues.
23                              And so some of the doctors were kind of
24        developing overly friendly relationships with lawyers
25        and being influenced in how in the findings of their

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1         730 exams in order to establish a business
2         relationship that would get them private referrals.
3         BY MS. CANFIELD:
4                   Q   Okay.
5                   A   And so I found that problematic.           And the
6         other thing that was problematic that was going on,
7         particularly under Dr. Owen in Brooklyn and Queens is
8         the -- the -- the -- the doctors were being paid to do
9         neutral competency exams, and they weren't supposed to
10        be getting influenced by -- whether or not that lawyer
11        could refer them a private case and had a certain
12        agenda with the finding of fit or unfit, which is
13        exactly what was happening.
14                      The other problem was with the private
15        practice policy, it was saying that the doctors could
16        do "mitigation reports," which is basically what a lot
17        of the times the Court is ordering a 390 for.
18                      So they were farming out all of the court-
19        ordered 390s that would have been done on their city-
20        salaried time to themselves as private referrals.
21                  Q   Okay.
22                  A   So they were doing city work as private
23        referrals.      And the third reason I had a problem with
24        it is because the defendant pool -- it was kind of
25        artificially trying to isolate the ethical and legal

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1         parameters by borough, which was ridiculous because
2         many defendants had cases in multiple boroughs, either
3         simultaneously or -- or consecutively, right?                So that
4         made no sense.
5                        And so what was happening is these doctors
6         were ending up conflicting themselves out of city-
7         salaried job duties because they had already --
8         because they were doing private work on these cases.
9         And, you know --
10                  Q    Okay.
11                  A    -- so it just seemed like -- and no one
12        would give me a straight answer if this had ever even
13        been formally vetted by the COB.
14                       And so --
15                  Q    All right.     Hold on.       I just want to back
16        up.       I have a question about that.
17                       When you said nobody -- you said it was
18        vetted, who are you talking about?               Dr. Macdonald or
19        Dr. Jain?
20                  A    When I say nobody, Dr. Ford had actually
21        said it was being vetted by the COB.               But when I then
22        went back and asked specifically, Dr. Jain said it was
23        -- well, let me just finish.
24                       So after the meeting, I -- I came out
25        against it.       So I became a permanent target for Dr.

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1         Owen and Dr. Mundy.        They were -- that was, like --
2         that was it.      I was, like -- I was persona non grata.
3         I -- I was public enemy number one.             And they started
4         -- suddenly I became the problem child in the Bronx
5         and I was bonkers.        And they wouldn't answer my emails
6         and on and on.       So that precipitated them coming after
7         me.
8                      And then after that meeting, that's when
9         they really started disliking me and -- and not -- and
10        -- and defaming me.        And then after that meeting, I
11        met one-on-one with Dr. Jain and I was very clear that
12        I didn't think there should be any private practice
13        policy because Dr. Winkler was already telling me
14        about the abuses that were going on with some of
15        doctor -- some of the psychologists that had worked
16        under Dr. Owen, and some of the abuses that Owen had
17        -- herself had been involved with.             Like socializing
18        and partying and -- with -- with defense attorneys and
19        prosecutors to private practice.
20                     So all these, like, very questionable
21        boundary violations as far as, like, whether, you
22        know, this is -- these are business relationships --
23        private business relationships or are these
24        relationships that city employees have with city
25        employees.

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1                   Q      Okay.     I'm going to stop you now just so I
2         can ask you follow-up questions.                   Because I'm going to
3         forget my follow-up questions if you continue, but
4         I'll let you talk after.
5                          First question is this.
6                                  MS. CANFIELD:         Please, Ms. Hagan.
7         Please, Ms. Hagan.
8                   Q      Your position was that you believe there
9         should be no private practice policy.                   Does that mean
10        there should be no policy or no one should engage in
11        private practice?
12                                 MS. HAGAN:     Objection.      Objection.
13                                 THE WITNESS:     I -- thank you for asking
14        that.         I -- I never really -- I always felt it was a
15        little funky and I never even knew about the Conflict
16        of Interest Board until they started talking about it.
17                                 But as I started -- as I was -- when
18        that was brought to my attention and then I started
19        thinking about it more, then I went online and I
20        looked at it and I read --
21        BY MS. CANFIELD:
22                  Q      Okay.     But my question is -- I know you want
23        to tell me how you got there, but my question is did
24        you have a problem with doctors engaging in private
25        practice or did you have a problem with there being a

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1         memorialized policy at CHS?
2                   A   I --
3                               MS. HAGAN:     Objection as to form.
4                               THE WITNESS:     I -- once I realized the
5         issues and once I looked at a previous finding of the
6         COB, I did not think that they should be doing private
7         practice within the City of New York.
8         BY MS. CANFIELD:
9                   Q   Okay.     Okay.   Thank you.      Thank you.     But
10        weren't you as well engaging in private practice with
11        your consultancy and doing your -- evaluations?
12                  A   -- I'm talking about --
13                              MS. HAGAN:     Objection.
14                              THE WITNESS:     Yes.    Thank you for
15        clarifying that.         I'm talking about specifically doing
16        forensic psychiatric legal exams for the same
17        stakeholders doing the same work --
18        BY MS. CANFIELD:
19                  Q   Okay.
20                  A   -- for the same legal stakeholders in the
21        same court setting.         I thought that was -- it was --
22        with -- with potentials to bias and alter CPL 730
23        results and exams to "woo" private practice.                 It was
24        fraught with the outsourcing of 390 exams as --
25                  Q   Okay.     Okay.   I understand now.       I

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1         understand.
2                   A   -- treatment.      I didn't say, "Oh, you can't
3         have a -- you can't have a private" -- I wasn't saying
4         --
5                   Q   Right.
6                   A   -- all moonlighting.            I was just saying
7         specific psychiatric legal exams for the same
8         stakeholders that they were providing city services
9         for --
10                  Q   Okay.
11                  A   -- for the same population of defendants --
12                  Q   All right.     So in the beginning --
13                              THE REPORTER:         I'm sorry.   What did you
14        say after "defendants"?
15                              THE WITNESS:     And the same courts and
16        the same attorneys.
17        BY MS. CANFIELD:
18                  Q   Okay.     You stated that once this private
19        practice policy was unveiled, you said that all the
20        directors were unhappy and that Dr. Ford said that she
21        felt "infantisized"?
22                  A   No.     I didn't say that.         I'm sorry.   Let me
23        clarify, if I did.         I said Dr. Elizabeth Owen, the
24        director of the Queens Court Clinic, felt
25        infantilized.

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1                   Q   Okay.
2                   A   And I think that's I-N-F-A-N-T-A-L-I-Z-E-D.
3         It means, like, made to feel or treat --
4                   Q   I know what it means.               I just wanted to make
5         sure that --
6                               MS. HAGAN:    -- for the record.
7         BY MS. CANFIELD:
8                   Q   -- I thought you said Dr. Ford testified to
9         that.
10                  A   I may have mistakenly said that.
11                  Q   Okay.
12                  A   Dr. Ford was not at that meeting.               Dr. Owen
13        said that and Dr. -- I -- I know that they were very
14        unhappy that I voiced concerns about defendants' legal
15        rights being violated and there being possible
16        deceptive practice in -- in the 730 practice that
17        could affect the Court's ability to rule neutrally on
18        capacity.      They did not like that.
19                  Q   Was there anyone -- what was Dr. Winkler's
20        position on the policy, if you know?
21                              MS. HAGAN:    Would you allow her to
22        finish what she was saying --
23                              MS. CANFIELD:         No.     I need to move
24        forward.      I need to --
25                              MS. HAGAN:    She needs to be able to say

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1         because this is -- this goes to the core of her claims
2         and the constitutional --
3                            MS. CANFIELD:           I know.   And there's
4         something that --
5                            MS. HAGAN:      -- be able to articulate
6         that.     So you won't say that she didn't.             So what --
7                            MS. CANFIELD:           No.   I'm saying she can
8         --
9                            MS. HAGAN:      -- complain about exactly
10        at the meeting.
11                           THE REPORTER:           Please repeat what you
12        just said, Ms. Hagan.
13                           MS. HAGAN:      Dr. Kaye needs to finish
14        saying what she was complaining about as far as why
15        the policy was problematic, and what it implicated,
16        before Ms. Canfield cut her off.
17                           Dr. Kaye was explaining the legal and
18        the constitutional implications that were invoked by
19        this problematic policy.
20                           Could you finish testifying, Dr. Kaye?
21                           MS. CANFIELD:           Actually, Dr. Kaye
22        explained it and I said I understood it.                And I would
23        say it's probably ethical considerations rather than
24        constitutional considerations.
25                           MS. HAGAN:      That's not what she said.

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1                            MS. CANFIELD:           But we're both
2         testifying right now --
3                            MS. HAGAN:      Yes.
4                            MS. CANFIELD:           -- so let me follow-up
5         with my question to Dr. Kaye.
6                            MS. HAGAN:      Well, let her finish what
7         she was saying.
8                            MS. CANFIELD:           No.   We're moving on.
9                            MS. HAGAN:      You cut her off.
10                           MS. CANFIELD:           She already finished it.
11                           MS. HAGAN:      No.       You can't cut her off
12        like that.     That's not right.
13                           MS. CANFIELD:           Ms. Hagan, you have an
14        opportunity when we're finished to question the
15        witness.
16                           MS. HAGAN:      You can't cut off the
17        deponent.
18                           MS. CANFIELD:           I can.
19                           MS. HAGAN:      No, you cannot.
20                           MS. CANFIELD:           I can.   It's my
21        deposition.      Dr. Kaye --
22                           MS. HAGAN:      No, you can't.        No, you
23        can't.
24                           THE REPORTER:           Please speak one at a
25        time.     I'm sorry, ladies.

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1         BY MS. CANFIELD:
2                   Q     Dr. Kaye, what was Dr. Winkler's position on
3         the private practice policy?
4                   A     He was --
5                                 MS. HAGAN:     If you know.
6                                 THE WITNESS:     -- he was fairly quiet at
7         the meeting relative to Dr. Owen and Dr. Mundy.
8         Afterwards, he said, yeah, you know, he agreed with
9         all my concerns and that, you know, it led to --
10        possibly led to biased reports being submitted to the
11        Court.        But he said to me -- well, do you want exact
12        quote or do you want a paraphrase?
13        BY MS. CANFIELD:
14                  Q     Whatever you feel comfortable sharing.
15                  A     He said, "Well, screw it.         They said I could
16        do it, so" -- he said, "I don't care.                 Screw it.   They
17        said I could do it.           It's their problem."
18                  Q     Okay.     Now so other than --
19                  A     He really didn't say "screw it."           He said,
20        "Fuck it."
21                  Q     I figured that.        Other than expressing your
22        concerns to Dr. Jain at that meeting and after the
23        meeting, did you express your concerns to anyone else
24        about the private practice policy?               And when I say
25        "anyone else," I'm talking about anyone that you

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1         reported to.
2                   A   I -- you mean in my chain of command --
3                   Q   Right.
4                   A   -- above Dr. Jain?
5                   Q   Correct.
6                   A   That would be Dr. Ford.          I complained to her
7         about numerous things in a meeting I had with her on
8         November 30th.
9                   Q   I want to know specifically about the
10        private practice policy.            Did you specifically
11        complain to her about that?
12                  A   No.     She cut that meeting short.        I don't
13        think I had time to.            It was on my list, but she --
14                  Q   Okay.     Okay.
15                  A   -- about that.
16                  Q   Now we got on this topic on the private
17        practice policy when I asked you why do you believe
18        your shift change was retaliatory.              Are there any
19        other reasons other than your complaints regarding the
20        private practice policy that you believe led to the
21        fact that your shift was changed?
22                  A   I believe it -- that my complaint at that
23        meeting in January 2018 about misuse of HIPAA releases
24        for -- for criminal defendants because I felt coercing
25        possibly incapacitated individuals into signing a

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1         HIPAA release without legal representation was a
2         violation of their constitutional rights.                 I
3         complained about that in January.                 And I believe that
4         my complaint about the private practice policy and my
5         complaint about pay parity caused me to be targeted.
6         And the shift change was just the beginning of an
7         absolute hellish campaign of terror to make me quit.
8                   Q    Okay.     Is it your belief that you were the
9         only unionized employee that had their shift changed?
10                               MS. HAGAN:    Objection.       As to
11        unionized, she didn't say that.
12                               MS. CANFIELD:         I know she didn't.    I'm
13        asking the question.
14        BY MS. CANFIELD:
15                  Q    Is it your belief that you're the only
16        unionized employee that had their shift changed?
17                  A    I believe that Patsy Yang is a cunning and
18        ruthless individual and the way that her and Jonathan
19        Wangel did this was to cover their tracks.
20        Ostensibly, "everybody" had to be the same.                   Suddenly
21        -- suddenly, the system couldn't handle a 30-minute
22        lunch, although my time had been put in on a 30-minute
23        lunch prior for years and it was the same Axial [ph]
24        system at central office that -- they all use the same
25        system.       So that was a rouse.

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1                      And the other rouse was, oh, the doctors in
2         Manhattan -- the three psychiatrists or four
3         psychiatrists -- the four male part-time psychiatrists
4         are getting their shift changed, too.              They have to
5         have an hour unpaid lunch.           Well, you know, it turns
6         out that some of them didn't take a lunch because they
7         were part-time and they didn't work long enough to
8         have a lunch.
9                      Others, you know, they didn't -- they might
10        not have had a full eight-hour day or they might have
11        had the luxury of having a nice long lunch in
12        Chinatown down at Center City -- in Center City by --
13        you know, on Center Street -- I'm sorry.               By where the
14        -- the courthouse was in Manhattan.             And it didn't
15        affect them and impact them and upend their life or
16        their children's lives.
17                     So it was very convenient to have that as a
18        rouse that it was affecting them, but it wasn't
19        affecting them the same as it was affecting me.                 I was
20        the only full-time employee that it caused hardship
21        for and there was no need for it.             I mean, it was very
22        -- it was very crafty to use 30 minutes of unpaid time
23        to force -- to force me out so I would have to torture
24        my children in the morning to come to work every day
25        because suddenly, not only did they change -- add the

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1         30 minutes of time to my workday, they moved my start
2         time to 8:00 in the morning.                And the courthouse
3         didn't even open and get going till 9:30 or 10:00.                     I
4         would have been fine if they had let me work -- I was
5         already working -- I was already on-site an extra half
6         hour, and that wasn't enough.                They -- they had to
7         just go in for the kill and make -- and make it nine
8         hours.
9                       So everybody else was on-site for eight
10        hours, but they made it so I had to be on-site for
11        nine hours.      And --
12                  Q   When you say "everyone else," are you
13        talking about the other directors who were managerial?
14                  A   I'm talking about all the FPECC --
15                           MS. HAGAN:       Objection.       Objection.
16                           THE WITNESS:        -- employees.
17                           THE REPORTER:            I'm sorry.   Please start
18        your answer over.
19                           MS. HAGAN:       I'm saying objection
20        because Counsel continues to try to testify with her
21        questions.      She did not say anything about the other
22        directors being managerial and non-managerial.                   Dr.
23        Kaye doesn't know what their status was.
24                           MS. CANFIELD:            I think there's
25        testimony that the other three are managerial.                   So

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1         that's been established.
2         BY MS. CANFIELD:
3                   Q   My question is when you say "everybody," I
4         want to know who everybody is.               Are you talking about
5         your comparative directors?
6                   A   I'm talking about other CHS FPECC employees.
7         I'm not aware that anyone had an adverse --
8                            MS. HAGAN:       Can you hold on for a
9         second, please?       Hold on for a second, please.            Hold
10        on.
11                           I'm sorry.       I had to stop the vacuuming
12        in the background.         I'm sorry.
13                           MS. CANFIELD:           Okay.   Well, at least
14        you have a clean house.
15                           MS. HAGAN:       We try, in some parts.
16                           Okay.     Yes.    Keep going.
17                           THE WITNESS:       So I'm not aware that any
18        other FPECC director or FPECC employee had the system
19        manipulated to the point where they had to be working
20        a nine-hour day.       There was no reason for it.           There
21        was no functional, operational reason for it.                It was
22        sadistic and it was retaliatory, and I know that and
23        they know it.      And I had conversations with Dr. Jain
24        about it and he was fully aware of how difficult it
25        was for me.      And -- and Dr. Ford was fully aware of

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1         how difficult it was for me.                And that's why they dug
2         their heels in about it because they knew ultimately
3         it was going to break me.
4         BY MS. CANFIELD:
5                   Q      So tell me, why was it difficult for you?
6         What changed and made it difficult?
7                   A      Being at work at 8:00 in the morning instead
8         of 9:00 in the morning when I'm trying to get two kids
9         to school and one of my kids has problems and issues
10        that contribute to chronic sleep deprivation.                And
11        then to have to drag him out of bed an hour early so
12        -- you know, so that I -- I could accommodate an
13        unnecessary shift change that -- that violated the
14        agreement that my union and I had with CHS about when
15        I rolled over.         I was told nothing would change and
16        everything would stay the same.
17                         They had a duty and a right to inform me
18        that this was going to happen, because had I been told
19        that, I would not have been -- I would have not rolled
20        over.         I would -- I don't know what I would have done.
21        I would have looked for a unionized line at Bellevue.
22        I would have done whatever I needed to do, but there
23        would be no way I would have ever agreed to that.
24        They -- it was a bait and switch and it was
25        retaliatory.         And it was done to drive me out of my

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1         job, and it worked.
2                   Q      So --
3                   A      They had to do a lot of other terrible
4         things to me before I just couldn't take it anymore.
5         And they also used the criminal defendants and the
6         legal system as pawns in this -- in this attempt to
7         get me to quit.          I mean, they wouldn't staff my -- my
8         clinic.
9                   Q      Okay.   I'm going to get there.       I just want
10        to talk a little bit more about the shift change.
11                         You said that prior to the shift change, you
12        were going in at 9:00 a.m.             And then with the shift
13        change, you were going in at 8:00 a.m.; is that
14        correct?
15                  A      They told me I had to come in at 8:00.
16                  Q      Okay.   And what time did your son and
17        daughter need to be at school?
18                  A      Well, school -- what do you mean "need to be
19        at school"?         What time did school start?
20                  Q      Yes.
21                  A      I think school started -- gosh, I don't even
22        know.         I should remember.     I think it was like maybe
23        -- I think they had to be there at 8:25 if I'm not
24        mistaken.
25                  Q      Okay.

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1                   A   I could be wrong about that.          It might be
2         8:00.
3                   Q   Okay.
4                   A   It was something.        It was some weird, like,
5         time almost not on the hour, at a half hour.                I think
6         8:25.
7                   Q   And how far from your apartment did you need
8         to travel to bring your children to school?
9                   A   Three blocks.
10                  Q   Okay.     And when you were required to go in
11        at 8:00 a.m., would you have another caretaker take
12        your children to school?
13                  A   No.     I -- I -- I -- the school was not open
14        as early as I needed to have them dropped off to -- to
15        get there by 8:00, but they did open, like, 15 minutes
16        after the time I -- I needed to drop them off.                 And I
17        spoke with the person who did coverage for the early
18        morning and I told them what was going on.               And as a
19        favor to me, he was coming in 15 minutes early so I
20        could drop them off early.
21                  Q   When you say the person that does coverage
22        for you, are you talking about someone that helps you
23        take the kids to school in the morning or someone at
24        the school?
25                  A   One of the teachers at school that did

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1         coverage for the early -- the early morning period at
2         the school.      There was an early morning drop-off
3         period at the school and they would have different
4         teachers cover that -- to come in and cover that.                  And
5         one of the teachers that did it most frequently, I
6         talked to him and he said he would come in a little
7         bit early so I could drop them off earlier than they
8         normally would be dropped -- allowing people to drop
9         off kids.
10                  Q   Okay.    And so what time would you be able to
11        do drop-off?      The earliest you could drop off?
12                  A   I think it was -- I think he had the school
13        ready and open for me -- he had to come in and get
14        everything open and ready before he could bring kids
15        in the school.        I don't know if he would get there at
16        7:00 or 7:15 to do that.          I don't know exactly what
17        that entailed, lifting up the gate and doing all this
18        other stuff.
19                  Q   What time were your children allowed or able
20        to go to the school?        7:15 or 7:30?
21                  A   I don't remember, but I know that there was
22        -- there were times -- it was a conflict for me to --
23        I wasn't able to definitely get them there every day
24        at the time -- and get to work unless I had him agree
25        to come in early for me.

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1                   Q   Okay.   So sometime between 7:15 and 7:30,
2         you would be able to drop off your children in order
3         to get to work by 8:00?
4                   A   Yeah.
5                   Q   Okay.   And how long is the train ride?            You
6         were living on the upper east side?               How long was the
7         train ride to the Bronx courts?               Twenty minutes?
8                   A   Well, you know, it's variable with the
9         trains, but it was -- it was a walk -- you know, the
10        train -- it's a walk to the train.               It's a schlep to
11        the train from -- you have to go to 86th and
12        Lexington.
13                  Q   For the Express, yes.
14                  A   Well, it had to be the four, right?            The six
15        -- I mean, you know, you could take the six from 77th
16        and Lex, but you had to get on the four.
17                  Q   Okay.
18                  A   And, you know, I mean you have -- it was --
19        it could be door to door 40 minutes if you want to --
20        if you want to calculate in possible delays and
21        problems.
22                  Q   Okay.   Forty minutes from the time that you
23        left your house, dropped off the kids and then were
24        able to make it to the Bronx courthouse?
25                  A   Yeah.   Once you got to the Bronx, it was the

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1         Yankee Stadium stop.
2                   Q      Right.
3                   A      -- a bit of a walk up the hill, over the
4         Grand Concourse, down the hill and then into the
5         building.
6                   Q      Okay.     So when you were required to come in
7         at 9:00, you would just drop off your children at
8         8:25.         There was no sort of like an early morning
9         drop-off; is that correct?
10                  A      No.     I would drop them off before 8:25
11        because -- maybe 8:10 or something.
12                  Q      Okay.
13                  A      But the school was fully open by then.            It
14        wasn't, like, an issue that the other -- you know, and
15        then they -- yeah.            Yeah.
16                  Q      Okay.     All right.     I'm trying to get an idea
17        about how the shift changed affected your morning
18        commute and your morning.
19                         So essentially --
20                  A      It --
21                  Q      -- it caused the need to get the children up
22        an hour or so earlier.
23                  A      Yeah.     My son would cry that, you know,
24        "Mommy, Mommy, I'm so tired."                  You know, it was awful.
25        Like, I was like torturing my children and I was going

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1         to work knowing I'm torturing my children to satisfy
2         sadistic retaliatory shift change.
3                          It was -- it created a really negative to --
4         to do that to me.         It was very hostile, and then it
5         was cruel and so unnecessary.
6                          And then I -- I -- I tried every which way
7         to get it restored to what they had promised me it
8         would be, and they would say -- and -- and Jain would
9         say, "Well, you can come in at 9:00, but then you have
10        to stay till 6:00."         I'm like, "The courts close at
11        4:00.         It's pitch black up here and my kids' school
12        closes at 6:00."         Like, that's not helping me.          Why
13        did you change my shift?           It was wrong.     It was -- it
14        was wrong and I -- when I had a big -- in October, I
15        told him -- I said, you know, I was so upset because
16        it was just killing us.          And then there were a lot of
17        other things, too.         This wasn't the only thing.
18                         It was all these other -- I know you don't
19        want me to get into that --
20                  Q      We're going to get into them.       I just want
21        to close off each thing we're talking about.                And I do
22        have another follow-up with the shift change.                I'm
23        going to share my screen again and show you paragraph
24        57 of the complaint.
25                         And you say here that "Yang, Wangel and Jain

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1         knew the shift change would make it impossible for
2         Kaye to care for her sick son."               And I guess what I
3         want to know is that other than the disruption in
4         having to get up an hour earlier, what type of illness
5         does your son suffer from that made it impossible for
6         you to care for him having to be at work an hour
7         earlier?
8                   A   Because he has -- he has a -- I guess it
9         stems from an immune problem, but he has this -- he
10        had an excoriating rash all over his body that was
11        disfiguring and disabling and they couldn’t figure out
12        what it was.      It was -- you know, of course it was
13        severe eczema, but you know, they thought he had all
14        these immunologic problems driving it and he got all
15        this work up and he had patch testing and all of this.
16        And he ended up, you know, as we honed in on the
17        diagnosis, they were able to hone in on the treatment.
18        He has allergic contact dermatitis where common
19        chemicals in the environment cause just this horrible
20        kind of blistering, excoriating rash.               Fragrance is
21        one of them.      Lanolin, neomycin, this thing called
22        thiourea which is a component of rubber.               I mean, all
23        of these things.       And as we started trying to identify
24        -- we identified those and started trying to eliminate
25        his contact with them, it wasn't completely possible.

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1         But, you know, he wasn't using fragranced soap.                 That
2         was -- you know, that kind of stuff.
3                      And he had been put on these steroids and he
4         was growing black hair on his body.              I mean, it was
5         awful.    And he was having behavior and emotional
6         problems from the high-potency steroids.               It was --
7         and simultaneously, he was -- he had some life-
8         threatening anaphylactic -- anaphylaxis to cashews.
9         And ended up, you know, having to carry EpiPen.                 And
10        so he had these type four just delayed
11        hypersensitivity allergies, then he had these acute
12        mediated food allergies.          So he had all this -- and
13        plus, he had all these developmental delays.                That's
14        why I had -- needed services from the DOE.
15                     And it was just really frustrating dealing
16        with the allopathic medical approach to his illness
17        and the steroids and I -- an allergist referred me to
18        a doctor who specialized in -- she's an M.D.
19        pediatrician, but she's from China and she has a
20        specialty in traditional Chinese medicine treating
21        children with asthma, eczema, food allergies, these --
22        these kind of allergic diseases.              These immunologic,
23        allergic diseases with Chinese medicine protocols that
24        she studied scientifically at the Jaffe Food Center.
25                     And when I started -- and I found her on --

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1         I'm thinking it was like May of 2018.              And she had a
2         protocol that he was supposed to be on and I had to
3         apply all of these potions like they were these things
4         that I would -- she would -- I would buy from her and
5         it was actually her husband's business who I would --
6         he had the business of selling the things that she
7         prescribed.
8                      It wasn't prescribed in a medical sense.                 It
9         was like alternative medicine.
10                     But I had to put it all over his skin and I
11        was supposed to do it in the morning.              And I was like,
12        well, this kid is completely sleep deprived already
13        because of the shift change, so you know, am I going
14        to inflict more sleep deprivation on him to put his
15        medicine on him?       To put the Chinese -- the TCM --
16        standing for traditional Chinese medicine ointments
17        and creams on him?        Or, you know -- and so it kind of
18        -- I was like he had already suffered with this sleep
19        deprivation from the rash itself.             The pain, the
20        itching.     And then the steroids were, like,
21        psychostimulant and he was all revved up from those.
22        So he had these chronic sleep issues and deprivation
23        because of the illness.         And then, you know, this
24        unnecessary shift change was like a nail on the
25        coffin.    It was awful.

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1                           And so sometimes I'm like, okay.             This --
2         and so it made it very difficult for me to comply with
3         this Chinese medicine protocol for him with this --
4         and be at the Bronx in the morning.
5                           It would have been --
6                   Q       So --
7                   A       -- if I had been able to -- to be there --
8                                   THE REPORTER:         I'm sorry.   Repeat
9         everything you said after 8:00 in the morning.
10                                  THE WITNESS:     it would have been doable
11        if I was allowed to go there at 9:00, like they had
12        promised me when I rolled over.                    My shift would have
13        been 9:00 to 5:30.
14        BY MS. CANFIELD:
15                  Q       Okay.     Does your son still apply the -- what
16        you call the Chinese medicine or potions, or have they
17        got the eczema under control?
18                  A       He had a very intense -- you know, there
19        were herbal pills -- capsules he had to take twice a
20        day.          The -- the treatment creams on the skin.                And
21        then these therapeutic baths that he -- and he does
22        take this therapeutic bath still.
23                          I'm waiting to get more of the creams
24        because he's having problems still with his hands
25        because all this washing with the pandemic and him not

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1         -- him -- if he doesn't use fragrance-free soap, and
2         they make -- whatever.              His hands -- but there's --
3         you know, there's been a supply chain issue, so --
4         yes.          I have the herbal bath treatments that he still
5         takes a bath in those.              We've run out right now of the
6         -- of the capsules and some of the creams we've run
7         out of.          And so I'm just waiting till that, you know
8         --
9                   Q       Okay.
10                  A       -- the supply chain -- the supply chain
11        issue around that is resolved.
12                  Q       Okay.     All right.     I'm going to move beyond
13        the shift change unless there's something -- I think
14        you've told me how it's affected your family's life
15        and why you believe it was retaliatory.
16                          Any other reasons why you believe it was
17        retaliatory besides the equal pay complaint, the HIPAA
18        release complaint and the complaint about the private
19        practice policy?
20                                  MS. HAGAN:     Excuse me.      Could you
21        clarify the question?             Retaliatory?         You talking about
22        the shift change being retaliatory or if she explained
23        --
24                                  MS. CANFIELD:         Yes.
25                                  MS. HAGAN:     -- other forms of

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1         retaliation?
2                                MS. CANFIELD:         No, no.   The reasons
3         that she believes the shift change was retaliatory.
4         BY MS. CANFIELD:
5                   Q    I believe you testified because your
6         complaints of pay equity, your complaints about the
7         private practice policy and your complaints about the
8         HIPAA release.          Is there anything else that you
9         believe or things that you did that caused retaliation
10        with respect to the shift change?
11                  A    I believe I was targeted for retaliation
12        because somehow -- and it seems very sexist and -- to
13        me.       Somehow I was scapegoated for the redacted issue
14        -- redacted records issue that CHS got itself into by
15        defying a court order.
16                  Q    Is this the redacted issue that we talked
17        about earlier today -- this morning?
18                  A    It was an ongoing issue.            It probably
19        started -- you know, it periodically rears its head.
20                  Q    Okay.
21                  A    It started I would say for -- for the -- for
22        the incident where I was scapegoated for that, I would
23        say it started maybe in, like, mid-2017 where CHS was
24        very much involved in it because they were custodians
25        of the records at the time.             Even though they hadn't

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1         come -- you know, it'd be another year or so before
2         they took over the court clinics, they were getting
3         court orders from judges in the Bronx.               Senior,
4         experienced judges in the Bronx, multiple court orders
5         from different judges for different defendants.
6                   Q   Right.    Right.
7                   A   And it was -- defying them and handing out
8         redacted records.        And defense counsel was up in arms.
9         They went to Judge Torres, the chief administrative
10        judge, and complained to him.
11                  Q   Okay.    I know, I'm going to stop you.           Other
12        than the redacted records, too.               I'm familiar with the
13        redacted records.        I think that --
14                  A   Yes.
15                  Q   -- we talked about it this morning.
16        Anything else that you believe you did that --
17                  A   I believe that because I was not willing to
18        roll over to the unsound decisions of CHS and its
19        legal advisors, and the Court threatened to hold HHC
20        in contempt, somehow that was turned around to be my
21        fault as if I created that problem.               I -- I kept
22        trying to step back and let it be between the courts
23        who were writing these orders that CHS was defying,
24        and letting them deal with it.             And of course, I'm
25        going to get a little bit caught in the crossfires.                   I

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1         was the medical director.            I had -- I was -- I was an
2         intermediary, but it wasn't my fault and I wasn't
3         doing anything wrong.
4                       But I --
5                   Q   But isn't that issue --
6                               THE REPORTER:         I'm sorry.   Repeat what
7         you said after, "I wasn't doing anything wrong."
8                               THE WITNESS:     I became "the
9         troublemaker."
10        BY MS. CANFIELD:
11                  Q   But isn't that issue still related to the
12        redacted records?         The contempt issue?
13                  A   Well, CHS got itself into that situation
14        because they were not complying with judicial orders
15        in the Bronx.
16                  Q   Concerning unredacted records, correct?
17                  A   Unredacted records.
18                  Q   Okay.     All right.
19                  A   And then I had mentioned to Jain -- Dr.
20        Jain, I told him -- it was all around the same time
21        because I had found out about -- I had found Dr. Lee.
22        I had gotten my kid to see her and I had been told
23        about this protocol that he was going to go on.                  And
24        this was May-ish of 2018.            So I mentioned it to Jain
25        -- Dr. Jain, that I may look into FMLA to -- to deal

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1         with it because I wanted to make sure I complied fully
2         with the protocol.
3                          And so that was another thing I felt like --
4         then they started messing around with me about and
5         denying it, then retroactively denying it.               And then
6         --
7                   Q      All right.   Let's talk about that then.
8         Okay.         You brought up your FMLA leave.
9                          You believe that your FMLA leave was denied
10        or not granted as a result of retaliatory animus,
11        meaning that this was deliberately done to you in
12        retaliation for your complaints?
13                  A      I believe that I started having a lot of
14        repeated difficulties with routine matters.                When I
15        rolled over from Bellevue, I was on a 40 hour a week
16        pay with a 30-minute half hour lunch.              I was denied
17        access to Chronos, the electronic timekeeping system.
18        They didn't install it in the Bronx, so I was
19        dependent on Dr. Jain to enter in my time.               And I told
20        him at the beginning of July that I work a -- you
21        know, that I work an eight-hour day with a 30-minute
22        unpaid lunch, and he lurched at me.             He was, like,
23        sitting in his chair and he got this aggressive
24        posture with his body and he said, "No, you don't.
25        That's not true."         And he leaned forward and he, like

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1         -- and it was like he was attacking me, you know?                  And
2         accusing me of lying about that.
3                         And I said, "It is true."         I said, "Let me
4         get my" -- I had paper copies of all my timesheets I
5         had turned into Bellevue for the last ten years, as
6         did LaKeisha.        They were in her office.         I went and I
7         got a timesheet from Bellevue, a copy, and I said,
8         "Look here."        And I would show him.         And I showed him
9         what -- what it was.        And he proceeded to ignore me.
10        And then I never had access to Chronos until the
11        middle of August.        And when I looked in there, he had
12        been putting my time in wrong.               He had been putting me
13        in for seven hours of work and one hour of unpaid
14        lunch.        So I was getting docked an hour of pay every
15        day for six weeks.        And that's --
16                  Q     Do you believe that he was doing that
17        intentionally, or was it as a result of the decision
18        by Jonathan Wangel to retroactively make you work the
19        nine-hour day that we were just talking about
20        consistent with the work rules at CHS?
21                             MS. HAGAN:    Objection as to form, and
22        assumes facts and --
23                             MS. CANFIELD:         That evidence will bear
24        it out.
25        //

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1         BY MS. CANFIELD:
2                   Q      Do you think that Dr. Jain was deliberately
3         entering in your time?
4                   A      I believe he was deliberately entering it in
5         wrong because he knew I was working a 40-hour work
6         week.         He knew I was -- had a 30-minute lunch.          And it
7         was before Wangel did -- in August, he did
8         retroactively alter my timesheets.              He and Dr. Jain
9         and Patsy Yang.          But at this time, they didn't go back
10        that -- I wish I had -- they kicked me out of my
11        office, so I don't have all these copies of the stuff
12        that I normally would have had if they hadn't kicked
13        me out of my office.
14                         But they're -- these -- we had to meet my
15        union representative, Nate Santamaria [ph], we met
16        with Jonathan Wangel in September -- September 7th.
17        And I remember that day because --
18                  Q      What year?    2018 or 2019?
19                  A      '18.   '18.   I was double booked --
20        intentionally double booked for a meeting in the Bronx
21        when I told Dr. Jain and Andrea Swenson that I wasn't
22        -- be down on Water Street.
23                         But -- so those hours were -- he -- so I was
24        getting docked an hour of pay a week for six weeks,
25        and then --

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1                   Q      And were you ever reimbursed that money or
2         was it hours that you weren't working because you were
3         not working the number of hours that you should have
4         been working?
5                   A      No.     I was working the -- the normal hours I
6         always worked.            I was working eight hours a day with
7         my 30-minute lunch.            There was nothing that I was
8         doing differently, I just was no longer allowed to
9         fill out my timesheets because they denied me access
10        to the electronic timekeeping system.                   And --
11                  Q      Okay.     My question is were you not paid?
12        Okay.         Two things.     One, you said that you were denied
13        access to electronic timekeeping system.                    Was it even
14        installed then when you say that you were denied
15        access?
16                  A      No.     They didn't bother installing it --
17                  Q      Okay.     So you believe -- you believe --
18                                 THE REPORTER:         I'm sorry.   What did you
19        say after "installing it"?
20                                 THE WITNESS:     No.      They did not install
21        it.       They delayed installing it.              They knew they were
22        taking over the clinics in January, but in July, they
23        hadn't even started to consider doing whatever it is
24        they needed to do to install the electronic
25        timekeeping system.

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1         BY MS. CANFIELD:
2                   Q   Okay.     And you believe the fact that they
3         didn't install it until late in the game, that that
4         was deliberately an act of retaliation against you?
5                   A   I believe there was deliberate retaliatory
6         sabotage directed against the Bronx Court Clinic --
7                   Q   Okay.
8                   A   -- in order to make me look bad and to force
9         me to quit.
10                  Q   Okay.     And when you say that you were docked
11        pay, were you -- did you have to take annual leave to
12        cover those hours or you just did not receive that pay
13        in your check?         Or was it corrected eventually by
14        payroll and timekeeping?
15                  A   Well, that's a lot of questions and I want
16        to be succinct.
17                              MS. HAGAN:     Objection to the form.         It
18        is a compound question.
19                              MS. CANFIELD:         It is.   Well, let's take
20        them one at a time.
21                              THE WITNESS:     Thank you.
22        BY MS. CANFIELD:
23                  Q   When you say "docked pay," were you not paid
24        your full paycheck or were you required to take annual
25        leave to cover your full paycheck?

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1                   A   Okay.    To clarify, annual leave is paid
2         because when you separate from service, you can
3         convert annual leave into a cash value.
4                   Q   Correct.    I'm talking about when you were
5         docked though.        I'm not talking about when you left.
6                   A   So when -- so I was unfairly and
7         illegitimately being docked annual leave that I
8         shouldn’t have been.
9                   Q   Okay.
10                  A   And I have never to this day had all of the
11        surreptitious alterations in my pay and my timesheets
12        which have subsequently affected my pension addressed.
13        They have, to this date, not -- to this day, have not
14        been addressed.
15                      We went down -- and when I say "we," I'm
16        talking about Nate Santamaria and myself went down to
17        meet with Mr. Wangel the beginning of September
18        because of this.
19                      I was -- we were told -- Mr. Wangel admitted
20        to me and my union member that Patsy Yang was behind
21        the shift change.        That she was behind this
22        retaliatory shift change.          He admitted that to us in
23        the meeting and he promised that he brought out some
24        sheets that he had and my union was --
25                      And some of this was beyond my

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1         sophistication and skillset.                Like, it was a lot of
2         stuff my -- you know, I wasn't used to scrutinizing
3         this kind of computerized paperwork for -- I'd never
4         had this problem at Bellevue.                So it was --
5                       So all this stuff, and my union -- he went
6         through some of it with my union.                My union had a lot
7         of concerns and questions.            Mr. Wangel had promised us
8         at that meeting on September 7, 2018, that he was
9         going to get documentation from the Axial system, or
10        something like that.         Which was the -- like, the
11        motherboard or the -- the primary central timekeeping
12        system through central office for HHC.                And that my
13        union had wanted this kind of documentation to prove
14        that I wasn't being unfairly docked pay.
15                  Q   And did your union ever receive that
16        information?
17                      Okay.     Was your union --
18                              THE REPORTER:         Please repeat your
19        answer.
20                              THE WITNESS:     No.
21        BY MS. CANFIELD:
22                  Q   Did your union ever -- or was it expressed
23        to you by your union that the issue had been resolved
24        with timekeeping and payroll subsequent to meeting
25        with Mr. Wangel?

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1                   A   No.
2                   Q   Okay.     Did your union then file a grievance
3         on your behalf?
4                               MS. HAGAN:    Okay.       Okay.     I'm going to
5         stop you for a second because there's an hour left to
6         this deposition.         I just want to make sure.            Can you
7         please check your time --
8                               MS. CANFIELD:         I'm going to need more
9         time than an hour.
10                              MS. HAGAN:    Well, it's an hour.             You
11        have seven hours a day.
12                              MS. CANFIELD:         I know.     I'm going to
13        need more time.
14        BY MS. CANFIELD:
15                  Q   Dr. Kaye, did your union file --
16                              MS. HAGAN:    How much time do we have
17        left?
18                              MS. CANFIELD:         Excuse me.     You're
19        wasting time.
20                              MS. HAGAN:    Wait, wait, wait, wait.
21        I'm going to ask him --
22        BY MS. CANFIELD:
23                  Q   Dr. Kaye, did you --
24                              MS. HAGAN:    No.       I'm asking the
25        reporter a question.

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1                                MS. CANFIELD:           Excuse me, Ms. Hagan.
2                                MS. HAGAN:      I have a right to ask a
3         question as far as time management is concerned.
4                                MS. CANFIELD:           Not when I'm still
5         trying to get through the deposition.
6                                MS. HAGAN:      You're cutting me off.             I'm
7         trying --
8                                MS. CANFIELD:           Off the record, please.
9         Off the record.
10                               THE REPORTER:           The time is 5:29 p.m.
11        We're off the record.
12                                     (Off the record.)
13                               THE REPORTER:           The time is 5:30 p.m.
14        We're back on the record.
15                               MS. HAGAN:      And there are 54 minutes
16        left.         Thank you.
17        BY MS. CANFIELD:
18                  Q      Dr. Kaye, did your union file a grievance on
19        your behalf regarding your pay and the docking of your
20        pay?
21                  A      I have --
22                  Q      That's a yes or no question, please.               I'm
23        sorry.         I'm trying to get through this.            Yes or no?
24                  A      No.   I can't -- it's not a yes or no
25        question because I have been after my union from when

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1         I found out about this in August 2018 to February of
2         this year to address all of the payroll and pension
3         irregularities that I have suffered for retaliation by
4         CHS.          And they have chosen to, you know, conspire with
5         Mr. Wangel and politics and they assigned me a union
6         rep who kept going in and out and in and out from a
7         medical problem.           So I'd go -- they'd tell me he was
8         going to help me and then he'd be out for three months
9         with a medical problem.              They didn't give me any
10        replacement.
11                          And I have sent email after email to my
12        union and they have not responsibly followed up with
13        the grievances that should have been filed over -- and
14        this isn't just the first instance of -- of being
15        docked pay.          They reduced my salary.         I --
16                  Q       Okay.   The --
17                  A       Well, no.     I'm sorry, Ms. Canfield, but I
18        got W-2s that showed that my salary had been reduced.
19        I don't know how they did it, if they cut my longevity
20        pay or if they changed me to an attending two, but I
21        was -- I got, like, $28,000 pay cuts from CHS and I
22        got docked for taking off the Jewish holidays after
23        the system told me that I had time, and timekeeping
24        told me that I had time.               And I got emails from Labor
25        Relations that told me I had time.                 And they would

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1         send me these drop-and-run Friday afternoon emails
2         that I was getting docked pay.                And they did it two
3         pay periods in a row.         And the --
4                               THE REPORTER:         Please speak slower.
5                               THE WITNESS:     -- surreptitiously denied
6         my educational leave and changed it -- docked me
7         annual leave without telling me.                And this was just an
8         ongoing assault with --
9         BY MS. CANFIELD:
10                  Q   I'm going to stop you right now, please.
11                      Okay.     Did you file a complaint against your
12        union for breach of duty of their representation?
13                  A   I --
14                              MS. HAGAN:     Objection.
15                              THE WITNESS:     I contacted the NLRB.
16        BY MS. CANFIELD:
17                  Q   Okay.     And did you file a grievance or bring
18        an improper practice claim against your union?
19                  A   I explained the situation --
20                              MS. HAGAN:     Objection.
21                              THE WITNESS:     -- to them and they told
22        me to contact the -- the Manhattan DA's office.
23        BY MS. CANFIELD:
24                  Q   Okay.     And have you contacted the Manhattan
25        DA's office concerning the conduct of Doctors Council?

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1                   A   Not yet.
2                               MS. HAGAN:     Objection.
3         BY MS. CANFIELD:
4                   Q   Okay.     You mentioned your board examination
5         being docked pay.         Were you eventually paid for the
6         time that you spent taking the -- your board
7         examination?
8                               MS. HAGAN:     Objection.
9                               THE WITNESS:     I endured a lot of --
10        BY MS. CANFIELD:
11                  Q   The question is were you eventually paid for
12        that time?      Yes or no?
13                  A   I had -- I had --
14                  Q   Yes or no please.
15                  A   I didn't --
16                  Q   I'm going to have to call you back, Dr.
17        Kaye, if you do not just answer my questions.
18                      Were you eventually paid for that time?
19                              MS. HAGAN:     Objection.
20                              Continue.    Answer the question as you
21        see fit.
22                              MS. CANFIELD:         No.   That's my time --
23        that's my question.
24        BY MS. CANFIELD:
25                  Q   Were you eventually paid for that time --

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1                              MS. HAGAN:    -- how she answers your
2         question.
3                              MS. CANFIELD:         Excuse me, Ms. Hagan.
4         BY MS. CANFIELD:
5                   Q     Were you eventually paid the time?
6                              MS. HAGAN:    Do not harass --
7                              THE REPORTER:         I'm sorry.    I didn't get
8         anything that either of you two just said.
9                              MS. HAGAN:    Ms. Canfield is harassing
10        the witness.        She's cutting -- bullying.
11                             MS. CANFIELD:         I am not.    You keep
12        continuous -- you interrupt me.
13        BY MS. CANFIELD:
14                  Q     Dr. Kaye, were you eventually paid the time
15        that you spent taking your board examination?
16                  A     I was denied the time.         I was harassed and
17        humiliated, and I had to fight and complain and
18        threaten to go to central office and contact Bellevue
19        before I was eventually given part of the time for an
20        all-day board exam.        And I continued to push the
21        issue.        They claimed that my board exam in child and
22        adolescent psychiatry was irrelevant to my job, when
23        in fact we have 16, 17-year-olds rotating through the
24        court clinic who've been waived into Adult Court for
25        violent felonies.        It was not irrelevant to my job.

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1                   Q   Okay.   Let me ask you a question.           Isn't it
2         true that as a result of the fact that you petitioned
3         to have your board examination paid for, that CHS and
4         HHC changed their policies and now everyone can have
5         their board exams paid for?           Isn't that true?
6                   A   I have no idea what their policies are.
7                   Q   All right.      I'm going to talk to you now
8         about taking FMLA leave.          Did you ever, during the
9         time that you were employed by CHS, ever have your
10        FMLA leave denied?
11                  A   Yes.
12                  Q   Okay.   When?
13                  A   I don't remember the timeline.           Initially, I
14        filled out the paperwork -- well, Dr. Lee filled out
15        the paperwork and I submitted it.               And there was --
16        because of the nature of his illness, she had put in
17        dates where we knew he would be out of school and I
18        was going to be taking time off and doing his creams
19        at a more frequent interval.               And then if he had
20        periodic flares, that was unpredictable.
21                      So she had written something in there.             I
22        don't remember that there was these set days, and then
23        there were these unknown days.
24                      And I took some FMLA, and then it was
25        retroactively denied because Dr. Lee didn't define the

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1         -- the days where he was possibly going to have a
2         flare, which is ridiculous.            She --
3                   Q   Let's be careful here.            Was it retroactively
4         denied or did they just simply ask for more
5         information?
6                   A   No.     They --
7                               MS. HAGAN:    Objection -- testifying.
8                               THE REPORTER:         I'm sorry.   What did you
9         say, Ms. Hagan?
10                              MS. HAGAN:    I said objection.
11        Counsel's testifying.           Form of question.        Objection to
12        form.
13        BY MS. CANFIELD:
14                  Q   Go ahead, Dr. Kaye.
15                  A   If I recall, I got an email that said --
16        because I had put in for it I think and it said that
17        -- I think it was denied and it had to be resubmitted.
18                  Q   Okay.
19                  A   I believe that it was retroactively denied
20        is the way I read -- recall reading that email.                  And
21        --
22                  Q   Okay.     Did you eventually -- were you
23        eventually granted FMLA time once you resubmitted the
24        paperwork with more specific dates?
25                              MS. HAGAN:    Objection.       You're

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1         testifying.
2                            MS. CANFIELD:           No.    It's a question.     I
3         said "were you."
4                            THE WITNESS:       Well, I'm sorry.        I can't
5         really answer that yes or no because what happened is
6         that they were then charging me my -- you know, I had
7         eight hours of -- of time a day for FMLA and they were
8         telling me to put in this one code for FMLA and this
9         other code for annual leave.               Because I had annual
10        leave, so it wasn't unpaid time.                 And then they were
11        charging me 18 hours a day instead of 9.
12        BY MS. CANFIELD:
13                  Q   Was that eventually corrected?
14                  A   I have no idea because all these concerns
15        that I brought to everyone's attention were considered
16        me -- you know, I was labeled as being petty and
17        having a litany of complaints and not being a team
18        player, and resistant and overly concerned about
19        benefits.      None of it was taken seriously.             I -- and
20        the payroll --
21                  Q   Was that the same with your union, too?                Did
22        you complain to your union about the FMLA leave?
23                  A   I complained to my union about the reduction
24        in pay as demonstrated by my W-2s in '18 -- I guess it
25        would be '18 and '19.         I complained -- I was supposed

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1         to get the doctors in Doctors Council union after
2         ratification of the contract were supposed to get
3         backpay, which periodically happened over the, you
4         know, 20 years.       You would get some amount of money.
5         And I never got any information about how much I was
6         supposed to get, and if I got it all.              CHS wouldn't
7         give me any information.          My union -- I have slews of
8         emails -- I guess we'll go to the Manhattan DA's
9         office at some point --
10                  Q    Did you turn over those emails to your
11        attorney so they could be turned over to me about your
12        complaints about CHS?
13                            MS. HAGAN:     Objection.
14                            THE WITNESS:      No because we're not
15        suing my union at this point, so I didn't.
16        BY MS. CANFIELD:
17                  Q    But aren't they complaints to your union
18        about CHS?
19                            MS. HAGAN:     Objection.
20                            THE WITNESS:      They're complaints about
21        discrepancies in my pay and wanting to clarify -- I --
22        Jonathan Wangel fiddled around with my full-time
23        status so I would only get two-thirds of my bonus
24        retention.       I was even told that when I called central
25        office.       It was Matthew Camponese's [ph] secretary.

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1         She's like, "Oh, no.         Jonathan Wangel confirmed that
2         you're only part-time."            So --
3         BY MS. CANFIELD:
4                   Q   So let me ask you a question.            Right now,
5         I'm going to call for the production of the emails
6         between you and your union about pay discrepancies.
7                               MS. HAGAN:     Objection.      And I'll take
8         it under advisement.
9                               MS. CANFIELD:         You can take it under
10        advisement.
11        BY MS. CANFIELD:
12                  Q   You can continue.
13                  A   Yeah.     So then I guess, you know, the FMLA
14        -- you know, I don't know if I got double charged.                    I
15        don't -- I -- there was just so much monkey business
16        going -- going on with my time and leave that it was
17        just one thing after another.                The retroactive -- my
18        union said that it was unheard of.                And I spoke to
19        people at Bellevue -- just like gratuitously docking
20        employees' pay.         And this happened two -- two pay
21        periods in a row, docking me for the Jewish holidays,
22        taking off the Jewish holidays with this dump-and-run
23        email Friday afternoon when I'm supposed to get paid
24        and my paycheck is --
25                      And I asked if I could, you know -- well,

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1         this was not an error of mine.                   Chronos said I had
2         time.         I called payroll, they said I had time.                Labor
3         Relations sent me an email and said I had time.                       It
4         wasn't my error.            So if it is an error, I can -- why
5         can't I have code 45 which is advanced annual leave?
6         And --
7                   Q      Did you request advanced annual leave?
8                   A      Yes, I did.     And I --
9                   Q      Okay.     And was it granted?         When you had
10        exhausted all your annual leave, was it granted?
11                  A      I was marginalized and ignored.             No one
12        responded to my email.
13                  Q      Okay.     All right.     The record will reflect
14        what happened because I know there's plenty of emails
15        on that topic.
16                         Why did you request FMLA leave?
17                                 MS. HAGAN:     -- so --
18                                 MS. CANFIELD:         Excuse me.   Why --
19                                 THE REPORTER:         I'm sorry, Ms. Hagan.
20        If you can start over, whatever you just said.
21                                 MS. HAGAN:     First and foremost, how can
22        she say she knows there's so many emails on this topic
23        and didn't produce them?              What are you talking about?
24        BY MS. CANFIELD:
25                  Q      Dr. Kaye, for what reason did you take FMLA

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1         leave?
2                   A   To provide the -- Dr. Lee TCM protocol for
3         my son.
4                   Q   Okay.   Is that the only reason that you took
5         FMLA, or did you take it at any other time for another
6         reason?
7                   A   I think I had taken some annual leave for --
8         for a death in the family, which was the normal thing
9         that always would -- how it was done at Bellevue.                  And
10        if they wanted to do it differently, that was fine.
11        But I came back and there was this big bruhaha that I
12        should have taken FMLA for that.
13                  Q   Were you taking care of your children during
14        that time or was it bereavement leave?
15                  A   Well, it was -- it was partially bereavement
16        leave, but it was also ended up being over what would
17        have been, like, the winter break for -- for the
18        holiday season.       And that was something that I -- that
19        Dr. Lee had put down as a schedule time that I would
20        take off to do the treatments more intensely -- more
21        frequently.
22                  Q   Okay.   Okay.
23                  A   So it was -- so I think I took the four days
24        of bereavement leave and then I think -- I'm -- I'm
25        not really sure, but I remember that they were trying

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1         to act like I had -- was trying to pull a fast one or
2         something because I didn't put in for FMLA because I
3         had a death in my family.            And they started --
4                   Q   Okay.     All right.     Any other time that you
5         took FMLA leave other than the time that you described
6         to take care of your son's medical condition?
7                   A   Well, no.     I had asked for the -- the
8         tabulation that they're supposed to keep for my FMLA.
9         I wanted those documents.            I had asked for those and I
10        was never able to get them.
11                  Q   Okay.     What about --
12                              THE WITNESS:     So I'm getting a text
13        about --
14                              MS. CANFIELD:         Yeah.    Let's take a
15        five-minute break.         I'm getting a call from a client.
16                              THE WITNESS:     Okay.        Thank you.
17                              THE REPORTER:         The time is 5:44 p.m.
18        We're off the record.
19                                   (Off the record.)
20                              THE REPORTER:         The time is 5:51 p.m.
21        We're back on the record.
22                              MS. CANFIELD:         Okay.
23        BY MS. CANFIELD:
24                  Q   Dr. Kaye, we were talking about your FMLA
25        usage and I had asked you what purposes you had taken

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1         FMLA.         If it was for your son's medical condition.
2                          Have you ever taken FMLA -- requested FMLA
3         for your own medical condition while working for CHS?
4                   A      I -- I know I requested reasonable
5         accommodations for my medical condition.
6                   Q      Okay.
7                   A      But I can't recall -- I don't -- I don't
8         recall -- I mean, I went out on FMLA at HHC with the
9         pregnancy stuff, but --
10                  Q      Okay.
11                  A      -- I don't think I -- I don't think I did.
12                  Q      Okay.
13                  A      I know I did request reasonable
14        accommodations for myself.
15                  Q      Okay.     And were those reasonable
16        accommodation requests granted?
17                  A      No.
18                  Q      No?     Okay.   What was your request?
19                  A      To be returned to my previous shift that had
20        been my shift at Bellevue when I was grandfathered in
21        and that I was promised I would be able to keep.
22                  Q      Okay.
23                  A      And also possibly a split shift and some
24        partial remote work.
25                  Q      Okay.     And is it your testimony that your

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1         reasonable accommodation request was flatly denied, or
2         was there some modification given to you for your
3         medical condition?
4                                MS. HAGAN:     Objection to form.
5                                THE WITNESS:     All I recall is that I
6         think they said that -- I think the split shift --
7         they didn't really -- it wasn't like I got to talk to
8         anybody.       I was kind of -- I was called on the phone.
9         I didn’t get to have a discussion.                 This person -- I'm
10        trying to think of his name.                 I think it was Kevin
11        Marazzo [ph] and there was this other person --
12        Gardner [ph] or -- with an R.                 Robert or Randy,
13        Ronald.       Somebody Gardner.        These were the two people
14        I had interacted with over email mostly.                 Maybe one or
15        two phone calls.
16        BY MS. CANFIELD:
17                  Q    Okay.     And what did they tell you in
18        relation to your accommodation request?
19                  A    Well, I didn't really get to interact with
20        management.       They would just give me these, like --
21        these vague kind of -- well, you know -- like, Jain
22        never talked to me about it.                 Ford never talked to me
23        about it.       Yang never talked to me.            Wangel never
24        talked to me.          Macdonald never talked to me.         No one
25        ever talked to me.          They avoided me like I was

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1         radioactive because I had dared to ask for equal pay.
2                        So it -- he just would -- he called me up.
3         He sounded like an old man.           He sounded a little -- I
4         don't know.       Just old.
5                   Q    Who is "he"?    The EEO person?
6                   A    Yeah.   Marazzo I think.
7                   Q    Okay.
8                   A    And he -- he said --
9                   Q    What did he say?
10                  A    That my -- my request for a split shift was
11        denied.       My request for a return to my previous shift,
12        which was, you know, eight and a half hours.
13        Everybody else was working eight hours.              How can you
14        say that I needed to be there nine hours?               That's
15        crazy.
16                  Q    Okay.   So what did he tell you about that --
17        returning to your prior shift?
18                  A    And he said something like -- that because I
19        -- that he was told that because I had an EEOC
20        complaint, they were told to do nothing and that they
21        weren't going to allow me to do anything because
22        something like -- he said something like it was
23        because of my EEOC complaint, that they weren't going
24        to give me my shift back.          And by the way, my -- my
25        union was told the same thing by Wangel, about the

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1         harassment around the educational leave and the shift
2         change.         He told my union member that it was because
3         they were -- about my EEOC complaint and that my union
4         member --
5                   Q      So it's your testimony that your reasonable
6         accommodation was never granted?
7                   A      I never got my shift returned to what it was
8         supposed to be before the retaliatory, harmful shift
9         change.
10                  Q      Did you get any adjustment to your shift as
11        a result of your reasonable accommodation request?
12                  A      Nothing that was reasonable.       They -- they
13        said that I could come in at 9:00 and leave at 6:00,
14        or come in even sometimes at 10:00 and leave at 7:00.
15        That's not reasonable.          That was not -- that doesn't
16        -- that didn't help me because either I had problems
17        on the front end or problems on the back end.                And all
18        they needed to do -- it wasn't going to cost them a
19        dime.         It wasn't going to impact the service in one
20        iota of a way, is to give me back the shift that they
21        promised I was going to have when I rolled over, but
22        they knew that if they kept torturing me with this
23        shift change, that it would force me out the door.
24        And the goal was to force me out the door, and I know
25        that because Dr. Jain in a meeting that I had with him

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1         in October 2018, he didn't want to meet with me.                 He
2         would avoid me like the plague.               I kind of got him to
3         come into my office that day.              I wrangled him into my
4         office.     He reluctant -- he kept saying he had to go
5         to Brooklyn, he had to do this, he had to do that.
6         But I got him into my office and I complained about
7         the shift change and he said something to me that was
8         causing this -- it was like killing me.               And he said
9         something like, you know -- I talked about the
10        hardship of my kids and stuff like that, and he said
11        that childcare issues aren't a concern for CHS.
12        Something like that.
13                     And I did get upset.           I started to cry.      I
14        was like, "I'm going to have to quit.               This is going
15        to -- you know, force me to resign."               And he became,
16        like, so excited when I said that.               He's like, "Well,
17        what's your resignation date?              When are you going to
18        resign?"     I'm going -- I'm going to AAPL, which is the
19        American Academy of Psychiatry and the Law.                And
20        there's job postings there and I -- I can fill your
21        position.     I need to know what -- and he kept
22        pressuring me, like, when I was leaving.               And -- and
23        to give him a resignation date.
24                     And then the other thing that they kept
25        doing to humiliate me was to put me into People Soft

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1         and make Dan Mundy the -- the -- my direct report-to.
2         So he kept getting emails coming --
3                   Q      Okay.   Why do you think that -- okay.         So
4         you're saying that the People Soft and sharing your
5         personal information, I think that's how you
6         characterized it in the complaint, was in retaliation
7         for your complaint?
8                   A      It was just very suspicious.       It kept
9         happening over and over again.
10                  Q      Okay.   And so what reason would they do
11        that?         You had given some things that you believe why
12        they had changed your shift and you said the HIPAA --
13                  A      I --
14                  Q      Hold on.    You said the HIPAA changes, your
15        pay equity -- complaints, pay equity complaints and
16        private practice complaints.
17                         What I want to know is are there any other
18        complaints that you made that you believe caused
19        retaliation, whether denying reasonable accommodation,
20        denying FMLA, any problems with People Soft, any
21        problems with timekeeping in Chronos?              What else did
22        you complain about that you believe caused
23        retaliation?
24                  A      I complained about the private practice to
25        either IG or DOI.           I complained --

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1                   Q   When did you do that?
2                   A   It was -- it came out in July-ish.            I think
3         I did that in September.          Early -- early September,
4         late August.      I don't know.
5                   Q   Of 2018?
6                   A   September -- yeah.
7                   Q   And how did you complain to DOI?
8                   A   I called them from my office.
9                   Q   You called them from your office?            Did you
10        ever follow-up with --
11                  A   Actually -- was --
12                           THE REPORTER:           I'm sorry.   What was the
13        question?
14                           THE WITNESS:       -- from her office, yeah.
15                           MS. CANFIELD:           I asked her how she
16        complained to DOI about the private practice policy.
17        BY MS. CANFIELD:
18                  Q   And you just testified you called them from
19        your phone in your office?
20                  A   I think it might have been in LaKeisha's
21        office that I called them from.               It might have -- my
22        office of LaKeisha's office.
23                  Q   And did --
24                  A   I'm not 100 percent it was DOI.            It was some
25        kind of number, like, report -- you know, concern kind

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1         of public fraud number.            And I believe it was -- I
2         don't know if it was like some number that HHC had on
3         its website to report fraud.                  I'm -- I'm -- I'm -- I
4         don't know if it --
5                   Q       Did you actually speak to a person or did
6         you have to leave a message?
7                   A       No.   I spoke to a person several times.
8                   Q       And what was that person's name?
9                   A       I didn't -- I don't know.
10                  Q       Did you ever have follow-up email
11        conversations with this person?
12                  A       He told me to call back in a month, and I
13        did.          And he told me it was still being investigated.
14                  Q       And you talked to him several times, but you
15        don't know his name?
16                  A       Uh-uh.
17                                THE REPORTER:         Please verbalize your
18        answer.
19                                THE WITNESS:     No, I don't.
20        BY MS. CANFIELD:
21                  Q       Did he ever send you an email?
22                  A       No.
23                  Q       Did he request information from you byway of
24        email?
25                  A       No.

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1                   Q   Did you ever email him information?
2                   A   No.
3                   Q   Okay.     Did you go and sit for an interview
4         with DOI?
5                   A   No.
6                   Q   Okay.     Any other complaints besides the
7         private practice complaint you made to Dr. Jain, DOI,
8         the HIPAA release complaints and the pay equity
9         complaints?
10                  A   I complained to COB.
11                  Q   COIB?
12                  A   Yeah, COIB.
13                  Q   About the private practice policy?
14                  A   Yes.
15                  Q   Okay.     And when did you do that?
16                  A   I did it twice.       The first time I did it not
17        -- not too long.         After I realized that they weren't
18        going to take me seriously and that I was getting
19        information that Dr. Mundy was rigging exams.
20        Elizabeth Owen was rigging exams, in cahoots with
21        attorneys.      I --
22                  Q   Did you complain to anyone that they were
23        rigging exams?         That Dr. Owen and Dr. Ford were
24        rigging exams?
25                  A   Yeah.     No, Dr. Mundy.

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1                   Q   Who'd you complain to?
2                   A   Dr. Ford wasn't doing exams.          It wasn't Dr.
3         Ford.
4                   Q   Who did you complain to about Dr. Owen
5         rigging exams?
6                   A   In that meeting in -- with Dr. Jain, in
7         October of '18, I -- he -- I was complaining that
8         Mundy was being -- that I was being put under Mundy's
9         supervision.      And I think it happened -- I know it
10        happened, like, three or four times over the course of
11        the CHS when I was under the auspice of CHS.
12                  Q   Okay.   Are you talking about the emails that
13        he -- on which he was copied?              Where you claim that
14        your personal information was being shared?
15                  A   Yeah.   He got a copy of the FMLA.           And he --
16        so I -- and I had gotten upset about that, so I was
17        being reprimanded for getting upset about that by Dr.
18        Jain in that meeting.
19                  Q   Okay.
20                  A   And I said, "I do not want" -- you know, "I
21        am not comfortable with Dr. Mundy's behavior and what
22        he does and how he was hired."              And I explained how
23        when I was talking to Dr. Mundy when he was thinking
24        about getting the job for directorship, and Elizabeth
25        Owen had been elevated to this kind of administrative

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1         role in CHS by -- by Patsy Yang.              And she was
2         interviewing people.        I know she interviewed Dr. Jain.
3         She interviewed Dr. Mundy.           She interviewed Dr. Barry.
4         Anybody who she was interviewing -- she was like part
5         of the leadership administrative team.
6                       And Mundy told me -- he's like, "Well, you
7         know, I got interviewed and I had to agree that, you
8         know, if" -- you have to remember, Elizabeth Owen was
9         in charge of that pilot -- the Queens pilot project
10        and they were obsessed with cutting -- cutting the
11        turnaround time and the numbers down and getting,
12        like, manufacturing the statistics about how
13        successful it was.        So any delay in a case was going
14        to mess up their optics.
15                      So he said that he -- Elizabeth Owen said,
16        you know -- that he agreed as part of being hired that
17        he would "cut corners and do a less thorough job" on
18        -- on exams and find people unfit, especially
19        misdemeanors, to get them off the island.               That's what
20        he told --
21                  Q   Who said that?
22                  A   Mundy told me that.          And so --
23                  Q   So he would find people unfit to get them
24        off the island.       And why is that?
25                  A   He -- he told me that part of being hired

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1         was to agree to do a less thorough job to find people
2         unfit and get them off the island because of the
3         loophole in New York City -- well, it's New York
4         State.        If you're found unfit on a misdemeanor, your
5         case is dismissed and --
6                   Q     Okay.     Wait.   Stop there.        So who -- who --
7                                 MS. HAGAN:    No, she has to finish.          She
8         has --
9         BY MS. CANFIELD:
10                  Q     No.     I want to know who told Dr. Mundy --
11                                MS. HAGAN:    No because this goes to her
12        --
13                                THE REPORTER:         I'm sorry.   Please speak
14        one at a time.
15                                MS. HAGAN:    I'm saying she goes to her
16        constitutional claims and you keep interrupting her
17        every time she talks about her first amendment
18        retaliation claims.
19                                MS. CANFIELD:         I'm just trying to
20        figure out the veracity of her testimony.
21        BY MS. CANFIELD:
22                  Q     Who did Dr. Mundy say to him -- that told
23        him that he had to find people fit to get them off
24        Rikers in order to get the director position?
25                  A     No, that's not what I said.

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1                   Q   Okay.
2                   A   He interviewed with Elizabeth Owen for the
3         position as director, and told me that he was informed
4         and had to agree to do a less thorough job and cut
5         corners to find people unfit, not fit.               Unfit.
6         Especially on misdemeanors.            So they're -- to get them
7         off the island.
8                   Q   Okay.    So you're saying that Elizabeth Owen
9         interviewed Dr. Mundy for the Manhattan director
10        position and that he told you that Dr. Owen said, "As
11        a condition of your hiring, you have to find them
12        unfit"?
13                  A   That's not quite what I'm saying, but he was
14        told to do a less thorough job and cut corners to find
15        people unfit to get them off the island.
16                  Q   Okay.    And you're saying --
17                  A   That's almost verbatim quote.           He said, "On
18        misdemeanors."        And the -- the -- the CPL 730 law in
19        New York State has a provision that if an inmate -- if
20        a defendant is found unfit on a misdemeanor, his
21        charges are dropped, his case is dismissed and he's
22        released from custody.         So --
23                  Q   I understand that.           I understand.    I'm not
24        interested in the law.         What I'm more interested in is
25        this conversation between Dr. Mundy and Dr. Owen.

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1                         This was during his job interview?
2                              MS. HAGAN:    But the law impacts -- it's
3         a matter --
4                              MS. CANFIELD:         I understand the law.      I
5         want to know about the complaint.
6                              MS. HAGAN:    Well, it's a matter of
7         public concern and that's part of her first amendment
8         --
9                              MS. CANFIELD:         I understand, Ms.
10        Hagan.        I want to know who said what when.
11                             THE REPORTER:         I missed what you said,
12        Ms. Hagan.        I'm sorry.
13                             MS. HAGAN:    I said this is part of her
14        first amendment retaliation complaint -- claim and
15        that this is a matter of public concern.               And I asked
16        Counsel to stop interrupting her because she's making
17        the record to substantiate her claim.               That's what I
18        said.
19        BY MS. CANFIELD:
20                  Q     I just want to know who said what to whom
21        because as I see it, it's all hearsay.
22                        So who said -- you said Dr. Mundy told you
23        that Dr. Owen told him that he had to do a less
24        thorough job in order to find them unfit to get them
25        off Rikers?

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1                               MS. HAGAN:    How is -- had the
2         conversation with Dr. Kaye?            Stop testifying.
3                               THE REPORTER:         Please repeat what you
4         said, Ms. Hagan.
5                               MS. HAGAN:    I said how is it hearsay if
6         Dr. Kaye --
7                               MS. CANFIELD:         It doesn't matter.     It
8         doesn't matter.         This is evidence --
9                               MS. HAGAN:    -- with Dr. Kaye.
10                              THE REPORTER:         I missed what you said
11        again, Ms. Hagan.         I'm sorry.
12                              MS. HAGAN:    How is it hearsay if Dr.
13        Mundy had the conversation with Dr. Kaye?                This is
14        something that she had a conversation with Dr. Mundy
15        about, that he had a conversation --
16                              MS. CANFIELD:         I'm not going to go into
17        you about the rules of federal evidence.
18                              MS. HAGAN:    Yes.
19        BY MS. CANFIELD:
20                  Q   Dr. Kaye, after Dr. Mundy told you this, did
21        you in turn tell someone else about it?
22                  A   I told Dr. Winkler and --
23                  Q   Okay.
24                  A   -- he said, "That didn't happen during my
25        interview."      And I told -- I told Jeff Bloom.            And I

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1         told --
2                   Q     Okay.
3                   A     -- and I told Dr. Jain.            And when I told Dr.
4         Jain that I -- you know, about my concerns about Dr.
5         Mundy in general and that it was particularly
6         offensive and concerning to be put as his subordinate
7         --
8                   Q     Okay.
9                   A     -- and then I told him about this what I
10        call rigging exams.           He told -- he responded to me --
11        he got this very, like -- starting pursing his lips
12        and furrowing his brow.            And he said to me, "We have
13        to make CHS look good.            We have to make CHS look
14        good."        And then he, you know, kept reverting back to,
15        "When are you going to quit?                  When are you going to
16        resign?"
17                        And then he was very dismissive and callous
18        about my childcare issues, and he had been bragging to
19        me ever since I met him that his wife was a child
20        psychiatrist.           So I -- I asked -- I told him.         I said,
21        "Well, if this is not an issue that, you know, fits
22        into your life experience, why don't you talk to your
23        wife about how difficult it is for a single mother to
24        have her shift changed unnecessarily?"                  And then he
25        got very angry with me and he said, "Don't -- don't

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1         bring my wife into this.           That -- you're being
2         abusive."      And I said, "No.        You know, changing my
3         shift is abusive.         That's what's abusive."
4                       And so that was the last time I met with him
5         and I do not believe he followed up on any of my
6         concerns about Dr. Mundy.            And I think I continue to
7         get put under him as his subordinate.
8                   Q   Okay.     All right.     I'm going to move on now
9         because we're running out of time.
10                              MS. CANFIELD:         Ms. Hagan, I did send
11        you a document.         I sent the court reporter --
12        unfortunately, my comments are on the document, but I
13        don't think it matters much because I'm -- these are
14        comments that I want to ask -- I want to talk to the
15        witness about.
16                              MS. HAGAN:     Let her -- I'd like to look
17        at the document first, too.
18                              MS. CANFIELD:         Okay.   I'm going to
19        share it.      You can look at it at the same time.                 These
20        are the medical records that we received from Dr.
21        Paola Alessio.
22                              MS. HAGAN:     Paola.
23                              MS. CANFIELD:         Paola Alessio.
24                              THE WITNESS:     Paola.       Paola.    It's -- I
25        think it's for Paula in Italian.

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1                            MS. HAGAN:      Yeah.
2                            MS. CANFIELD:           So this is a 67-page
3         document.
4                            MS. HAGAN:      Mm-hmm.
5                            MS. CANFIELD:           It's bearing Bates
6         stamps number D001588 to D001654.                  The front page is a
7         cover letter from Dr. Alessio indicating that the --
8                            MS. HAGAN:      And I'd like to point out
9         that Counsel was supposed to produce all -- all
10        documents that she subpoenaed and got responses to her
11        subpoenas, and she never produced this document.
12                           MS. CANFIELD:           I'm producing them right
13        now.
14                           MS. HAGAN:      -- before the deposition.
15        I didn't --
16                           MS. CANFIELD:           And --
17                           MS. HAGAN:      -- before the deposition.
18                           MS. CANFIELD:           You can make the record,
19        but the same thing happened during your depositions of
20        the defendants.       So --
21                           MS. HAGAN:      Not true.
22                           MS. CANFIELD:           Okay.     You can take it
23        up with the Court.        These are the medical records that
24        were provided by Dr. Alessio --
25                           THE REPORTER:           I'm sorry.     I can't take

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1         the record with you both speaking at the same time.
2                            MS. HAGAN:      There's a combination of
3         documents here because you have I guess some kind of
4         medical record production email, but then on top of
5         that, you have the Amended Complaint in here as well.
6         The First Amended Complaint.               Are you trying to
7         introduce both into evidence here?
8                            MS. CANFIELD:           No.    What I have here --
9         it's a 67-page document.          The first page is a cover
10        letter from Dr. Alessio indicating that they received
11        a request for authorizations and that this is the
12        material that's being disclosed.                 And close record
13        contains 63 pages.        And there's the -- a note that
14        says 75 cents per page at 42.25.
15                           The next document is a cover letter
16        from my office requesting the information from Dr.
17        Alessio.     And after that is the HIPAA release that Dr.
18        Kaye signed and filled out for the release of the
19        records.
20                           And here's the invoice that Dr. Alessio
21        charged the Law Department for the records.
22                           MS. HAGAN:      Mm-hmm.
23                           MS. CANFIELD:           The records begin on
24        Bates stamped page D001592.
25        //

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1         BY MS. CANFIELD:
2                   Q    Now, Dr. Kaye, if you look at this document,
3         it's dated what appears to be a email to Dr. Alessio
4         from Psychology Today dated January 19, 2019, where
5         you say, "Hi, Dr. Paola Alessio.              This email comes to
6         you via your profile at Psychology Today."               From
7         Melissa, email melissakayemd@gmail.com, and your phone
8         number.       The subject is "Possible session."
9                        "Hi, I got your name from Marina R.           I'm
10        going through a lot and looking for therapy.                Thanks,
11        Melissa."
12                       Dr. Kaye, do you recognize this email?
13                  A    I don't, but I sent out of requests
14        beginning in December because I was looking for a
15        therapist since the beginning of -- of December.                   So
16        --
17                  Q    Okay.
18                  A    -- I'm not surprised to -- to see this
19        because it was --
20                  Q    Okay.
21                  A    -- I was looking for someone to talk to.
22                  Q    Okay.   And then there's some correspondence
23        between you and Dr. Alessio about scheduling an
24        appointment.
25                       You described her earlier as a bio-energetic

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1         therapist.        What exactly does that mean?
2                                 MS. HAGAN:    No, she didn't.       You're
3         mischaracterizing her testimony.
4                                 MS. CANFIELD:         Then I'll withdraw the
5         question.
6         BY MS. CANFIELD:
7                   Q     It looks here that there's a handwritten
8         note that's dated January 28th, it looks like 2019,
9         where there's some notes perhaps reflecting a
10        conversation that you had with Dr. Alessio about the
11        death of your brother.            And you have two children.
12        You have a boy with health problems and that you're
13        suing your employer.           Does that -- are those three
14        things that you may have shared with Dr. Alessio?
15                  A     Yeah.     I was going through a lot of stress.
16        Like I said -- I mean, before my brother died.                    And
17        then of course during and after.                  So those were
18        stressors in my life, yes.
19                  Q     Okay.     I'm going to just turn you to Bates
20        stamped page number D001598.                  And it's an email from
21        you to Dr. Alessio dated March 11, 2019, in which
22        you're asking for additional times for therapy because
23        you're meeting with your union.
24                        You say, "The reason is that I have time
25        today.        And Thursday, my union is having a seminar

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1         about the retirement process, which I will be doing in
2         five months.      So I wanted to attend, if possible."
3                            MS. HAGAN:      Objection.
4                            THE WITNESS:       Yeah.
5         BY MS. CANFIELD:
6                   Q   Were you, in March, planning on retiring in
7         five months, which would have been August 2019?
8                   A   If things didn't get better at work and I
9         had to, I was going to look in -- I wanted to look
10        into it because it was pretty unbearable.               And this
11        was March 19th.       I had -- I had been going through --
12        it was one thing after another.               The shift change, the
13        -- the mucking around with my time, the non-
14        transparency with my timesheets, the -- being
15        excluded.      I was being harassed and -- and teased by
16        administrative staff.         Andrea Swenson was basically
17        ridiculing me and mocking me and turning her report-
18        tos against me, including LaKeisha.               I mean, people --
19        I'd have a nice conversation with them and then two
20        weeks later, they'd come up to cover in Bronx Court
21        Clinic -- this woman, Anansa Gail [ph] from the --
22        from the Manhattan Court Clinic would come up to cover
23        for -- for LaKeisha.        And she would, like, glare at me
24        and wouldn't even, like, talk to me.               And it was
25        insane.

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1                        And I'd ask for help with the Chronos
2         timekeeping program and -- and I would get made fun
3         of.       I would ask that people --
4                   Q    Sorry to interrupt.            Did you share any of
5         this with Dr. Alessio?
6                   A    Well, she basically said, "It sounds like
7         it's a snake pit.          You know, you should get out of
8         there."       That was always her -- her position on what
9         was happening to me at work.                 That these people sound
10        like --
11                  Q    Okay.
12                  A    -- horrible and you should -- it's a snake
13        pit and you should get out of there.                 I mean, she --
14        she was of the opinion that the work environment was
15        very harmful and negative for me, and I should -- I
16        should get out.
17                  Q    Okay.
18                  A    -- talked about --
19                               THE REPORTER:         What did you say after
20        "I should get out"?
21                               THE WITNESS:     We talked about that in
22        my sessions.
23                               MS. CANFIELD:         Okay.
24                               MS. HAGAN:     And for purposes of the
25        record, this is Exhibit D and it bears the Bates stamp

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1         D1588 to I think it's D1654.
2                               (Exhibit D was marked for
3                               identification.)
4                               MS. CANFIELD:         Yes.   Thank you, Ms.
5         Hagan.
6         BY MS. CANFIELD:
7                   Q   I'm going to direct you to another email.
8         It's Bates stamped D001604.            And it looks like on
9         April 30th of 2019, you informed your therapist that
10        you officially sued --
11                  A   Mm-hmm.
12                  Q   -- HHC?
13                  A   Mm-hmm.
14                  Q   Okay.
15                              THE REPORTER:         Please verbalize your
16        answer.
17                              THE WITNESS:     Yes.
18        BY MS. CANFIELD:
19                  Q   Okay.     Then -- I'm sorry?
20                  A   Yes.     Your -- yes.         Go ahead.
21                              THE REPORTER:         Ms. Hagan, did you say
22        something?
23                              MS. HAGAN:     I asked if there was a
24        question that Ms. Canfield had.
25                              MS. CANFIELD:         I haven't asked it yet.

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1         BY MS. CANFIELD:
2                   Q   In the email -- document Bates stamped
3         number D001606, you again -- you say that you didn't
4         have a chance to review the complaint that was filed,
5         but it looks pretty good.          And that you also send your
6         therapist a copy of the complaint.
7                       For what reason did you send your therapist
8         a copy of the complaint?
9                   A   Because suing my employer, especially when
10        my employer is New York City, was incredibly stressful
11        and I needed support around it.
12                  Q   Okay.   Now you also discuss that you learned
13        on May 6th of 2019 -- and this document's Bates
14        stamped D001608 -- that you learn some information
15        about your family related -- and you -- and related to
16        wishing that your brother was there to process it with
17        you.
18                      When did your brother die?
19                  A   December 15th or 16th of 2018.
20                  Q   Okay.   And was part of the reason that you
21        were seeking therapy was to process the death of your
22        brother?
23                  A   It added to my problems.         I started looking
24        for therapy before my brother died, but I started
25        sending out and requesting to find a therapist in

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1         December before my brother died.                And then after my
2         brother died, it was -- I -- you know, there was as
3         much or more of a need.             I needed support around my
4         being what I felt was being bullied and harassed and
5         pushed out of my job, and then the death of my brother
6         unexpectedly.          And so I was looking for a therapist to
7         talk to.
8                   Q    Okay.     And then it appears, too, that you
9         share with your therapist that you -- someone had
10        notified you that you had a half-brother; is that
11        true?
12                  A    Yeah.
13                               MS. HAGAN:     Objection.
14                               THE WITNESS:     Well, I had gotten an
15        email from this woman, Gaye [ph], who is a third
16        cousin.       You can read the email.           And apparently, you
17        know, shortly after my brother died -- my brother died
18        in December.       This is May.        She told me that through
19        some kind of ancestry.com or 123 DNA or whatever those
20        sites are, that she had gotten this close match with
21        -- with this person.          And it turned out that the
22        person was my father's son, who my father never knew.
23        We didn't know that he had fathered this person,
24        Jonathan, before he left Brooklyn, before he left New
25        York, before he met my mom, before he married her,

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1         before I was born.
2                              He was -- I guess Jonathan was -- I
3         don't remember.        I think it turned out that he was
4         maybe five years older than me.               And so it was pretty
5         shocking and, you know, it would -- he would have also
6         been -- my brother who died, he would have also been
7         -- Jonathan would have been my brother's half-brother,
8         too.
9                              So it was shocking news, and then my
10        brother was gone so I didn't really -- the one person
11        that, you know, it would have impacted the most was my
12        -- my brother who had died.
13                             And so I had to -- so I started
14        communicating with this person, Jonathan, who is my
15        unknown half-brother through my father.
16        BY MS. CANFIELD:
17                  Q     And do you have a relationship with this
18        individual now?
19                  A     I was in touch with him.         I met him.    He had
20        -- ironically, he had ties to Manhattan and the
21        Pentagon, just like my brother who passed away did.
22                        And I did meet Jonathan and I was scheduled
23        to meet him and his daughter, Rebecca, who would be my
24        niece.        And then Jonathan had some kind of incident
25        where he fell and had hurt his -- got a head injury

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1         and he was going to reschedule, and then the pandemic
2         hit.          And I don't know, I just -- I never heard from
3         him after the pandemic.              And I've thought about
4         reaching out to him, but my life has been -- like
5         everybody's -- you know, turned upside down.                And the
6         lawsuit continues to drag on and I'm having employment
7         issues because of the retaliatory disciplinary
8         actions.
9                           So I have a very full plate and I did not
10        reach out to him since the pandemic hit, and he did
11        not reach out to me.             So --
12                  Q       Okay.
13                  A       -- I would say prior to the pandemic, yes,
14        we were in touch and we were communicating, and we had
15        met on one occasion.
16                  Q       Okay.     I also want to point you to an email
17        Bates stamped D001621.              Which you -- before you sent a
18        picture of Dr. Ford in what looks like an article
19        concerning a book that Dr. Ford has written?
20                  A       Mm-hmm.
21                  Q       And you refer to her as -- you state as the
22        subject matter of the email, "She's as much politician
23        as a doctor.          Very power-hungry."
24                          It sounds like that you dislike Dr. Ford
25        very strongly; is that fair to say?

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1                            MS. HAGAN:      Objection.
2                            THE WITNESS:       I wouldn't categorize
3         that.     I -- I don't respect Dr. Ford.            She engages in
4         a lot of forensic and clinical practice violations
5         that are harmful to the courts, that are harmful to
6         patients.     She behaves inappropriately with patients.
7         She puts herself -- she says that she's in love with
8         her patients and allow -- allows them to use her as a
9         masturbatory tool.        She doesn't believe in record
10        review, that's why Nicolas Feliciano is braindead.
11        She tried to ruin my career because I wanted to use
12        unredacted records.        She lied and said that's the
13        standard, and it's not the standard.
14                           So I don't respect her.           I don't think
15        she's a nice person.        She didn't give -- when my -- in
16        2012 and I sent her an email that my father had died
17        and I was going back to Colorado for the funeral, she
18        never even responded to the email.               And I just thought
19        that was pretty telling and pretty cold.
20                           And then similarly, when my brother
21        died in 2018, she was -- she never offered any
22        condolences and she never acknowledged it.               And --
23        went through the -- I mean, sorry.               Dr. Jain went
24        through the motions and sent me an email asking if
25        there was anything he could do.               It was kind of

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1         proforma.     And then when I actually asked him -- I
2         said, "Yes.      There's something you can do.           You can
3         restore my shift to what it was before," because
4         things were bad and really hard for my kids and -- and
5         me before my brother died.           And they're even worse
6         now.
7                            I have two grieving children.            I have a
8         grieving mother.       I'm grieving.          Please give me my
9         shift back.      And then he forwarded that to Dr. Ford
10        who writes back, "Ignore this."               I mean, who acts like
11        that?     And then she puts -- and then she puts herself
12        out as being concerned about her staff and staff
13        trauma, and being transparent and being supportive and
14        -- and talking to people and talking things out.                  She
15        never spoke to me.        She -- she had one meeting with me
16        that I forced her to have in November 2018.                And she
17        cut the meeting short.
18                           So I don't -- I don't appreciate the
19        hypocrisy.     I don't appreciate the boundary
20        violations.      I don't appreciate the -- being sloppy in
21        the way she practices medicine and then putting
22        herself out there as some kind of -- some kind of
23        social justice reformer when it's all about selling
24        her books and -- and -- and giving talking points.
25        //

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1         BY MS. CANFIELD:
2                   Q      Okay.
3                   A      And she discriminated against me and she
4         didn't -- she's married to a very wealthy man who
5         comes from old money in Texas, hobnobbing with the
6         Bush family.         I mean, she doesn't have to worry about
7         supporting her kids, and yet she couldn't -- she could
8         care less about me getting paid less than my male
9         colleagues, and she didn't -- and then she retaliates
10        against me and tells me, you know, she doesn't let me
11        come to the work group.               She tries to whip up a storm
12        against me because I want to use unredacted records,
13        and the Court's in agreement, and Winkler's in
14        agreement, and Jain's in agreement.                  I mean not Jain,
15        and Colley's in agreement, and Ciric's in agreement.
16        And then she turns everybody against me?                  I mean, it's
17        mean.         She's mean.
18                  Q      Can I ask you a question?           Was the issue
19        with the redacted medical records in 2015, was it so
20        much the redacted records or the fact that was
21        upsetting, or the fact that you refused to conduct the
22        evaluation at all?
23                                 MS. HAGAN:     Objection.     Objection.
24        Mischaracterizes the -- that actually does -- it
25        mischaracterizes Dr. Kaye's testimony, assumes facts

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1         that were not discussed.
2                            MS. CANFIELD:           It's just a question.
3         She can deny it.       Just a question.
4                            MS. HAGAN:      The best she understands
5         the question.
6         BY MS. CANFIELD:
7                   Q   Did you refuse to conduct the competency
8         examination without the unredacted records?
9                   A   Dr. Winkler and I both informed the courts,
10        and Dr. Ciric and Dr. Colley were in agreement, that
11        we cannot discharge our duty and do a full competency
12        exam with redacted medical records.               And that using
13        redacted medical records does not inform -- properly
14        inform the Court about some -- we are unable to inform
15        the Court about someone's capacity with -- for me,
16        with a reasonable degree of medical certainty.                 And --
17                  Q   So now when Judge Torres was going to hold
18        HHC in contempt, was that because we would not turn
19        over the redacted records -- unredacted records or is
20        that because we weren't conducting the competency
21        exam?
22                  A   Well, that's a misstatement and that speaks
23        to all the rumor mill that these people base their
24        hatred and retaliation on.           And it's all rumors.
25                      Judge Torres was never going to hold HHC or

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1         CHS in contempt.         That is misinformation and if
2         anybody had spoken to me and asked me about the
3         situation in a professional and appropriate manner,
4         they would know the facts and not be basing the
5         decision to manage me out on rumor.
6                       No.     Judge Torres was the chief
7         administrative judge in the Bronx.                He was not going
8         to hold CHS in contempt.            It was Judge John S. Moore
9         who had ordered records, who was in Treatment Court,
10        in Youth Court, in Sex Offender Court, and had
11        previously been a bureau chief under Morgenthau.                   He
12        was a very seasoned and experienced judge who
13        understood criminal mental -- criminal law and mental
14        health issues.         And he ordered records for a certain
15        case because obviously, if there's HIV-related
16        information, that is -- you know, psychiatry is a
17        medical subspecialty.            People get cognitive -- the
18        cognitive difficulties.            They can become psychotic.
19        They can develop mood symptoms.                They can have all
20        kinds of problems related to HIV that directly have a
21        bearing on their capacity.            And similarly with
22        substance abuse.         So --
23                  Q   Okay.     And --
24                  A   -- I refuse -- no, I need to finish because
25        I did not refuse to do anything other than I told the

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1         courts I could not render an opinion with a reasonable
2         degree of medical certainty because it -- and Dr.
3         Winkler supported this opinion.
4                      The argument was I couldn't know what was
5         redacted and say that it didn't matter.              She wants --
6         Ford wanted us to do this illogical thing where you
7         say, oh, you tell the courts that this is our opinion
8         and what -- you know, and so -- and we are going to
9         say this opinion because -- and we don't know what's
10        redacted, but because we're going to mention that it
11        doesn't affect the opinion.           Well, how can you say it
12        doesn't affect the opinion if you don't know what's
13        redacted?     It's an illogical argument.           And I opposed
14        violating a defendant's constitutional right to a fair
15        trial and due process by rigging these competency
16        exams because CHS chose to not address their concerns
17        with the Court directly.
18                     If Judge Moore ordered unredacted records,
19        it was the obligation of HHC/CHS to challenge that in
20        court.    And that's what Judge Moore pushed them to do.
21                     He said, "You do not defy it."            It is
22        unheard of for an agency to receive a judicial
23        subpoena for unredacted records and to turn over
24        redacted records.       It's unheard of.        And he wanted
25        Deandra Newton [ph], who was HHC counsel involved in

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1         this -- and it was also Lucy Calterjeroni [ph] or
2         something.        She was involved in this -- an HHC lawyer.
3         She wanted them -- he wanted them in their court room.
4         And legal aid was up in arms because this was
5         happening -- this had happened on six cases.                     And
6         under no circumstance were they going to allow this to
7         happen.
8                         And Judge -- and they went to Judge Torres
9         to tell him this was happening in multiple court
10        rooms.        It was Judge Moore, Judge Lieb.               And I -- yes.
11        I'm not going to violate a defendant's constitutional
12        rights because CHS thinks that they can just
13        "wantingly" be in contempt of court.                  No.
14                  Q     Okay.     Okay.   Okay.        I'm going to stop you
15        there.        Thank you very much.            Let's go back to this
16        document because I want to get through it.
17                        So on August 14th -- and the document's
18        Bates stamped number D001627 -- you notified Dr.
19        Alessio that you have to cancel your appointment
20        because you need to get your son into therapy.
21                        What type of therapy did you need to get
22        your son into?
23                                MS. HAGAN:    Objection.       Relevance.       And
24        we're not going to -- she's not going to answer that
25        question.

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1         BY MS. CANFIELD:
2                   Q    Let me ask you this.            Do you believe your
3         son needed to get into therapy because of the -- your
4         work situation?
5                   A    It was stressing both of my children out
6         excessively, that's for sure.
7                   Q    Okay.     Then it's relevant to litigation.
8                        So what type of therapy were you --
9                   A    May I read this?        Because I --
10                  Q    Yes.
11                  A    -- I'm not sure.        I'm not sure.      This is
12        August 2019.
13                               MS. HAGAN:     Can you enlarge this so
14        that I can see this?
15                               THE WITNESS:     Yeah.      I'm literally
16        squinting here.          Oh, I'm sorry.         Now it's like I can't
17        see it.       Can you -- please, Counselor, can -- oh, I
18        can't see it.
19                               MS. CANFIELD:         Is that too big?   It's
20        off my screen.
21                               THE WITNESS:     Yeah.      It -- that's --
22        yeah, just let me try to read it.                 If we could just --
23        I -- I'm trying to think.             I had -- it's just I'm
24        trying to think back to August.                 It's hard because my
25        son had services and I guess I was getting him --

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1                               I mean, the stress of all this was --
2         was not nothing.         So yeah, I was -- I had my kids in
3         therapy.      So, yeah.     I mean, I'm remembering I had my
4         kids in therapy.
5                               I was hoping that, you know --
6         BY MS. CANFIELD:
7                   Q   What type of therapy were your children
8         involved in?
9                               MS. HAGAN:     Objection.
10                              THE WITNESS:     I -- whatever -- just the
11        -- it was not a specialized therapy.              It was just
12        typical, supportive psychotherapy for -- for them.                    It
13        wasn't -- are you asking was it -- what type of
14        modality of therapy was being used for -- for the
15        treatment?
16        BY MS. CANFIELD:
17                  Q   I guess what I'm asking is are you seeking
18        damages related to what you claim is harm against your
19        children as a result of the actions of HNH and the
20        individually named defendants?              Are you claiming that
21        your children were harmed as a result?
22                  A   Well, absolutely unequivocally my children
23        were harmed, and they're still being harmed.
24                  Q   Okay.
25                  A   But, you know, the damages as they're stated

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1         in the complaint written in 2019 are -- are very
2         different than -- and less than the damages now.                     I
3         mean, I -- I'm -- I suffered retaliatory disciplinary
4         actions that have seriously impacted my professional
5         career and my ability to be gainfully employed.
6                       So, yeah.     My children were hurt and they --
7         they've suffered and there's no question about that.
8         So -- yeah.
9                   Q   Okay.     So let me ask you, how have -- how
10        has your son been impacted by your employment
11        situation with CHS?
12                              MS. HAGAN:     I'm going to object.        I
13        mean, are you asking if Dr. Kaye is seeking monetary
14        damages for the impact of these -- of her employment
15        on her children?
16                              MS. CANFIELD:         Yes.
17                              MS. HAGAN:     Because --
18                              MS. CANFIELD:         She just said yes.
19                              MS. HAGAN:     No, she didn't say that
20        she's seeking monetary damages for that.
21                              Did you testify to that, Dr. Kaye?
22                              THE WITNESS:     I was asked if my
23        children have been harmed by the -- all the
24        retaliation that I suffered.                The -- the lawsuit, the
25        stress, the --

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1                            I mean, this is -- I have to turn this
2         -- now I'm getting calls about them.              I'm getting
3         calls about the children.
4                            Now let me just state --
5                            MS. HAGAN:      I think we've reached seven
6         hours at this point.
7                            THE WITNESS:       What I said was that the
8         stress of -- of the viciousness and targeting of me
9         because I was unwilling to stand by and allow the
10        criminal justice system to be corrupted and perverted
11        by CHS so they could manufacture optics and statistics
12        that they're reforming in court.              You know, justice --
13        criminal justice reformers.
14                           You know, I mean I think that I was
15        targeted and pushed out of my job.              Now I'm unemployed
16        and I'm having trouble, and I will continue to have
17        trouble for the rest of my career because of the --
18        being falsely accused of violating HIPAA in the course
19        of practicing forensic psychiatry, which makes no
20        sense.
21        BY MS. CANFIELD:
22                  Q   But, Dr. Kaye, you're going off the topic.
23        I'm going to ask you about that.              What I want to know
24        is you said that your children have been affected --
25        negatively affected by your employment situation at

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1         CHS.          What I want to know is are you seeking
2         compensatory damages on behalf of your children
3         because they suffered?
4                   A       I -- I mean, I don't know how my
5         compensatory damages would be calculated and what goes
6         into it.          I know that they've been harmed.            I know
7         that they continue to be harmed.                    I know that my
8         career has been ended.
9                   Q       Okay.     Hold on about your career.         I just
10        want to know about your children.                    If that's what
11        you're claiming, then I'm going to call for HIPAA
12        releases so I can get the therapy records of your son
13        and your daughter --
14                                  MS. HAGAN:    She's not claiming --
15        BY MS. CANFIELD:
16                  Q       -- because we are -- Magistrate Judge Codd
17        [ph] said that this is something I could pursue if
18        that was in fact --
19                                  MS. HAGAN:    She didn't say she was.
20        She didn't say she was seeking --
21                                  MS. CANFIELD:         She just did say that.
22        So unless -- so, Ms. Hagan, we can take this off the
23        record.
24                                  Unless there's a stipulation that she's
25        not seeking damages related to their harm, then I'm

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1         entitled to those records.
2                            MS. HAGAN:       Uh-huh.       Well, we'll have
3         --
4                            MS. CANFIELD:            Maybe this is something
5         that I can -- we can write to the Court and I can call
6         the witness back.         And I can ask her about her son and
7         daughter's therapy.         I mean, she clearly says that her
8         daughter's in therapy, and her son, she's trying to
9         get him into therapy.         So why don't we put that --
10        we'll mark this for --
11                           MS. HAGAN:       -- medical license --
12                           MS. CANFIELD:            Excuse me.   We'll mark
13        this --
14                           THE REPORTER:            I'm sorry, Ms. Hagan.
15        I'm missing almost everything --
16                           MS. CANFIELD:            Ms. Hagan, let me make
17        the record please.         You can make it after I've
18        finished.
19                           MS. HAGAN:       -- asked her about the harm
20        to her medical license and her ability to practice --
21                           MS. CANFIELD:            I haven't gotten there
22        yet.      Please, stop.
23                           THE REPORTER:            I'm sorry.   I'm sorry.
24        I'm sorry.
25                           Ms. Hagan, please, what did you just

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1         say?
2                            MS. HAGAN:      I said Ms. Canfield needs
3         to ask her about the -- about the harm to Dr. Kaye's
4         medical license and her ability to pursue a medical
5         license in New Mexico.         Because those are the things
6         that she has been complaining about, and Ms. Canfield
7         has known about those things as recently as when we --
8         the parties met for the settlement conference.
9                            So I don't believe that Ms. Canfield's
10        asking these questions in good faith.                  In fact, I
11        believe that she's trying to intimidate and harass Dr.
12        Kaye because Dr. -- we are at the seven-hour mark.
13        And Ms. Canfield has not in good faith asked questions
14        about the damages that Dr. Kaye has sustained.
15        Instead, she's trying to harass Dr. Kaye instead of
16        using the time wisely and judiciously.
17                           MS. CANFIELD:           Are you finished, Ms.
18        Hagan?
19                           MS. HAGAN:      Yes, ma'am.
20                           MS. CANFIELD:           I am not.     I am just
21        trying to clarify because if you are seeking damages
22        on behalf of the harm that you claim your children
23        have suffered, then we are entitled to see what that
24        alleged harm is.
25                           MS. HAGAN:      And she's never said she

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1         has.
2                               MS. CANFIELD:         She --
3                               MS. HAGAN:    -- had this discussion on
4         multiple --
5                               MS. CANFIELD:         Okay.     So we're going to
6         mark this and we're going to write to the Court about
7         it.
8                               MS. HAGAN:    Yes.
9                               MS. CANFIELD:         We will write to the
10        Court.
11                              MS. HAGAN:    Yes.
12        BY MS. CANFIELD:
13                  Q   All right.     So you also, Dr. Kaye, in the
14        second paragraph say that, you know, the City answered
15        the complaint instead of trying to get it dismissed.
16        Special says this is a good sign.                   We are waiting for
17        an assigned mediator.         And then you say here in the
18        fifth sentence, "Against my lawyer's advice, I am
19        going to resign soon."
20                  A   Mm-hmm.
21                  Q   Okay?
22                  A   Mm-hmm.
23                  Q   So had you decided at that point that you
24        were going to resign from your position at CHS?
25                  A   Well, I --

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1                            MS. HAGAN:      Objection.
2                            THE WITNESS:       -- I had decided that it
3         was such a hostile and abusive work environment, and I
4         was having cardiac palpitations.               I was having my IBS
5         -- my irritable bowel syndrome.               All of these stress-
6         related symptoms were going through the roof.                I was
7         just -- I was -- I was under attack.               Every day it was
8         something.      Every day I would -- I would ask the
9         clerical staff and Ms. Swenson not to -- to run the --
10        the coffee maker and the microwave at the same time
11        because it caused the circuits to blow and I'd be --
12        my -- my lights would go out.              My computer would go
13        out.      And I just made that simple request and they
14        were mocking me and -- and acting like it was just
15        this most ridiculous thing.           And then they would go
16        deliberately do it to make my -- so I couldn’t work.
17        I mean, it was just sabotage.              It was awful.
18                           And I loved my job.           I was very good at
19        my job.      I had strong relationships with --
20        professional relationships with all the stakeholders.
21        The judges, the -- the defense, prosecution.                I was --
22        I was -- I was trusted and I was respected and I took
23        my work very seriously.         And I -- I believed that my
24        work was important.
25                           And I stepped outside of my job because

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1         I saw how CHS was intentionally cutting corners and
2         altering the results of the exams in conjunction with
3         MOCJ, so -- so they could empty Rikers through the
4         back door.        This was all pre-bail reform.
5                                 And -- and Ford was abusive and Jain --
6         Dr. Jain had stopped speaking to me.                 He would come up
7         to the Bronx and he wouldn't even knock on my door and
8         tell me he was there.              And he would --
9         BY MS. CANFIELD:
10                  Q     Okay.     Okay.     I'm going to stop you right
11        there.        You already testified to that, so I'm going to
12        move on, okay?
13                        I'm going to share the screen again.            This
14        next email to Dr. Alessio, it's Bates stamped D001635.
15        And you say, "Sorry.              Now they're coming up to monitor
16        me.       I may have to take 4:00 p.m. on Thursday if it's
17        still available."
18                        Who is "they" and why did you believe that
19        they were monitoring you?              This is dated September 10,
20        2019.
21                  A     September 10th --
22                                MS. HAGAN:     And objection to form.
23        It's a compound question.
24                                THE WITNESS:     2019.     Well, they were
25        definitely tracking me.              They had --

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1         BY MS. CANFIELD:
2                   Q      Who's "they"?
3                   A      Well, CHS leadership.         Yang, Wangel, Jain,
4         Ford.         They had this -- this psychologist that they
5         had hired tracking me.            They -- I'd hear them talking
6         about me.         "Is she here?     What is she doing?"
7                          They -- they -- the office that I had --
8                   Q      Well, excuse me.     Let me stop you.        You said
9         they hired a psychologist to track you?
10                  A      No, I didn't say that.         I said they had a
11        psychologist up there and I caught her -- she had --
12        she got off at 5:00.
13                  Q      What was her name?
14                  A      Anansa Brayton.     And I also had in my office
15        as I said, the circuits kept blowing and it was dark
16        and I couldn't use my computer and there was a bad
17        cell phone reception there to start with.                 So we had
18        an -- defendant office down the hall and across the
19        little -- like, down the hall and around the corner.
20        And I would go in there to work and Anansa Brayton
21        would come in and she -- to see if I was there, and
22        then she would make up this excuse.                "Oh.   Oh, I'm
23        here looking for my shredder."              Just these completely
24        implausible excuses.
25                         One time when I had taken the shift from

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1         9:00 to 6:00 --
2                   Q      Let me ask you.     You said --
3                   A      But I want to finish --
4                   Q      But I'm confused.     You said that Dr. Brayton
5         came into your office to see if you were there, to spy
6         on you?         But you're saying -- sorry.         Now they are
7         coming up to monitor me            Wasn't Dr. Brayton assigned
8         to the Bronx Court Clinic?
9                   A      Right, right.     But I'm just saying that --
10        then I --
11                              THE REPORTER:         Assigned to the Bronx
12        what?
13                              MS. CANFIELD:         Court clinic.
14                              THE WITNESS:     So I -- I would get --
15        and this one day I was getting off at 6:00, she got
16        off at 5:00.         And I had been in the out-defendant
17        office and I -- I was coming back to my other -- my
18        main office.         It was like ten of 6:00 -- quarter of
19        6:00.         And she was there walking around looking for
20        me.       And she got caught red-handed.           And I asked her
21        point blank if she was spying on me and she was -- she
22        was hemming and hawing and she got very nervous and
23        started making excuses that didn't make any sense
24        about why she was there at almost 6:00, an hour after
25        she was --

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1         BY MS. CANFIELD:
2                   Q     But why would she want to spy on you?
3                   A     She was being asked to track me.
4                   Q     By whom?
5                   A     Jain, Ford.
6                   Q     Okay.     Do you have any evidence of that
7         other than your own speculations?
8                   A     I know I was under surveillance on my emails
9         --
10                                THE REPORTER:         I'm sorry.   Please
11        repeat the question.
12                                MS. CANFIELD:         I said do you have any
13        evidence of that other than your own speculation.
14                                MS. HAGAN:     Objection.      Argumentative.
15                                THE WITNESS:     I -- I'm a forensic
16        psychiatrist and I can connect the dots.                   It was very
17        obvious that they were doing -- that Anansa was making
18        notes.        And when I would -- she would be in my office
19        and I would just be talking normal, she'd be writing
20        everything down.           And when she -- when I -- I asked
21        her if she was spying on me, she couldn't give me a
22        straight answer.           And she didn't say no and she made
23        excuses about -- brought up Dr. Jain and was kind of
24        rambling about --
25        //

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1         BY MS. CANFIELD:
2                   Q   Okay.     So other than Dr. Brayton, was anyone
3         else monitoring you?
4                   A   I think they were all watching me and asking
5         if I was in my office, and if I wasn't in my office.
6         I felt like they were -- and I know they were
7         monitoring my emails.           And --
8                   Q   Okay.     Okay.    I'm going to move on because I
9         want to make sure that we get through everything.
10                      So --
11                              MS. HAGAN:    We're actually at the
12        seven-hour mark.         We're over seven hours, so I'm going
13        to have to -- we're going to have to call this to a
14        close.
15                              MS. CANFIELD:         I would like to finish
16        this document and then I will petition the Court for
17        an additional hour, hour and a half.
18                              MS. HAGAN:    Mm-hmm.       Okay.
19        BY MS. CANFIELD:
20                  Q   So, Dr. Kaye, if you take a look at this
21        document -- it's Bates stamped D001638.                   And the
22        subject is "Fwd: case management plan."                   And it looks
23        like for some reason, Jeff Bloom sends you the case
24        management plan.
25                      How is it that Mr. Bloom had a copy of the

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1         case management plan?
2                   A     What is a case management plan?
3                   Q     That's what I want to know.           Why would Mr.
4         Bloom send you a case management plan that you in turn
5         forwarded to your therapist?
6                              MS. HAGAN:    Objection.         Could you
7         scroll down further so she can see --
8                              MS. CANFIELD:         I can.    And I can show
9         you that the attachment is actually the civil case
10        management plan and scheduling order in this case.
11                             MS. HAGAN:    Well, that's a public
12        document.        So --
13                             MS. CANFIELD:         I know.    I just have a
14        question.
15        BY MS. CANFIELD:
16                  Q     Why you sent it to Jeff Bloom?
17                             MS. HAGAN:    She didn't send it to Jeff
18        Bloom.        Jeff Bloom sent it to her.
19                             MS. CANFIELD:         Okay.
20        BY MS. CANFIELD:
21                  Q     Why did Jeff Bloom send this to you, if you
22        know?
23                             MS. HAGAN:    She can't speak for Jeff
24        Bloom.
25                             MS. CANFIELD:         But she can answer my

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1         questions and not you.         Thank you.
2                            MS. HAGAN:      She can't --
3         BY MS. CANFIELD:
4                   Q   Dr. Kaye, why did Jeff Bloom send you this
5         case management plan?
6                   A   I don't know.
7                   Q   Is it because your attorney didn't send it
8         to you?
9                   A   I -- I don't know.
10                           MS. HAGAN:      I sent her everything.
11        What are you talking about?
12                           THE REPORTER:           I'm sorry, Ms. Hagan.
13        Repeat what you said.
14                           MS. HAGAN:      First off, I sent Dr. Kaye
15        everything.      So I'm not sure what she's trying to --
16        record because Dr. Kaye --
17                           THE REPORTER:           I'm sorry, Ms. Hagan.
18        You're breaking up.        Please start over.
19                           MS. HAGAN:      First and foremost, I'm not
20        sure if Ms. Canfield is on some kind of vendetta, but
21        I talk to Dr. Kaye probably several times a week.                  And
22        on top of that, the things that I submitted to the
23        Court I always give to Dr. Kaye.               So I'm not sure what
24        this exercise is about.
25                           I mean, you need to use this time

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1         better.     I mean, are you trying to harass --
2                            MS. CANFIELD:           Okay.    So let's move on
3         then.     Dr. Kaye --
4                            I'm going to move to another --
5                            THE REPORTER:           I'm sorry.    You're both
6         speaking at the same time.
7                            MS. HAGAN:      No, no.         So this isn't
8         going --
9                            Dr. Kaye, do I or do I not share the
10        documents that I submit to the Court --
11                           MS. CANFIELD:           Excuse me?    You're
12        burning into my time.
13                           MS. HAGAN:      No, no, no --
14                           MS. CANFIELD:           You have your own time,
15        Ms. Hagan.     Ms. Hagan, you have your own time.
16                           MS. HAGAN:      No, no, no.
17                           MS. CANFIELD:           This is improper.
18                           THE REPORTER:           Just a second.    Just a
19        second.
20                           MS. HAGAN:      Dr. Kaye, I have a
21        question.
22                           THE REPORTER:           Just a second.
23                           MS. CANFIELD:           Please go off the
24        record.     Please go off the record.
25                           MS. HAGAN:      No, don't go off the

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1         record.
2                            THE REPORTER:           Just a second.
3                            The time is 6:55 p.m.           We're off the
4         record.
5                                   (Off the record.)
6                            THE REPORTER:           The time is 7:06 p.m.
7         and we're back on the record.
8                            MS. HAGAN:      And we've used 7 hours and
9         24 minutes.
10                           MS. CANFIELD:           The stenographer has
11        just notified the parties that this deposition of Dr.
12        Kaye has lasted 7 hours and 24 minutes.
13                           Counsel for the defendants does have
14        some more questioning.         I am requesting an additional
15        hour, an additional hour and a half to get through
16        some of the damages.        There were a lot of allegations
17        in this complaint.        There was also a lot of very
18        length responses from the witness.
19                           It seems based on my conversations with
20        Ms. Hagan that she will not consent to the additional
21        time.     That's fine.     But I do plan on making an
22        application to the Court requesting the additional
23        time so that this case is decided on its merits and
24        not on a technicality.
25                           So we're going to close the deposition

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1         now.      Dr. Kaye, I apologize for not completing the
2         deposition.      I appreciate your time.           I also
3         appreciate the efforts that you have had to take for,
4         you know, childcare.        I understand the difficulties.
5         But I am -- I haven't finished and I am going to write
6         to the Court to request an additional hour and a half.
7                            So thank you very much.
8                            THE WITNESS:       Thank you.
9                            MS. HAGAN:      Thank you.
10                           MS. CANFIELD:           All right.   We're
11        closed.
12                           THE REPORTER:           The time is 7:08 p.m.
13        We're off the record.
14                           (Signature Reserved.)
15                           (Whereupon, at 7:08 p.m., the
16                           proceeding was concluded.)
17
18
19
20
21
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23
24
25

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1                        CERTIFICATE OF NOTARY PUBLIC

2                     I, EMMANUEL SABATINO, the officer before

3         whom the foregoing proceedings were taken, do hereby

4         certify that any witness(es) in the foregoing

5         proceedings, prior to testifying, were duly sworn;

6         that the proceedings were recorded by me and

7         thereafter reduced to typewriting by a qualified

8         transcriptionist; that said digital audio recording of

9         said proceedings are a true and accurate record to the

10        best of my knowledge, skills, and ability; that I am

11        neither counsel for, related to, nor employed by any

12        of the parties to the action in which this was taken;

13        and, further, that I am not a relative or employee of

14        any counsel or attorney employed by the parties

15        hereto, nor financially or otherwise interested in the

16        outcome of this action.

17

                                             <%22220,Signature%>

18

19                                                      EMMANUEL SABATINO

20                                        Notary Public in and for the

21                                                      State of New York

22

23        [X] Review of the transcript was requested.

24

25

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12        otherwise interested in the outcome of this action.

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2       Melissa Kaye (#4897710)

3                         ACKNOWLEDGEMENT OF DEPONENT

4            I, Melissa Kaye, do hereby declare that I

5       have read the foregoing transcript, I have made any

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